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            EXHIBIT A
                       IPR No. 2018-00298
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             UNITED STATES PATENT AND TRADEMARK OFFICE



              BEFORE THE PATENT TRIAL AND APPEAL BOARD

                             _____________________

                            Agilent Technologies, Inc.,
                                    Petitioner

                                        v.

                         Thermo Fisher Scientific Inc. and
                     Thermo Fisher Scientific (Bremen) GmbH,
                                  Patent Owner.

                             _____________________

                               Case No. Unassigned

                             U.S. Patent No. RE45,386

                             _____________________

           Petition for Inter Partes Review of U.S. Patent No. RE45,386




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                                                        Petition for Inter Partes Review
                                                           of U.S. Patent No. RE45,386

   I.    INTRODUCTION

         Pursuant to 35 U.S.C. § 311, Agilent Technologies, Inc. (“Agilent” or

   “Petitioner”) submits this petition for inter partes review (“IPR”), seeking

   cancellation of claims 1-8, 10, 12-20, 22-23, and 25-50 of U.S. Patent No.

   RE45,386 (“the ’386 Patent,” Ex. 1001). These claims are unpatentable under 35

   U.S.C. §§ 102 and 103 over the prior art references identified in this petition.


   II.   MANDATORY NOTICES

         Pursuant to 37 C.F.R. § 42.8, Petitioner provides the following mandatory

   disclosures:

         A.       Real Parties-in-Interest

         Agilent Technologies, Inc. (“Agilent”) is the real party-in-interest.

         B.       Related Matters

         Pursuant to 37 C.F.R. § 42.8(b)(2), the ’386 Patent is the subject of a patent

   litigation suit brought by Patent-Owner (Ex. 1005). Petitioner is concurrently

   filing another petition for IPR of the ’386 Patent; and two petitions for IPR of two

   other patents asserted in that litigation: related U.S. Patent No. 7,230,232 and U.S.

   Patent No. RE45,553, respectively.




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                                                      Petition for Inter Partes Review
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         C.    Lead and Back-Up Counsel

        Petitioner provides the following designation of counsel:

         Lead Counsel                              Back-up Counsel

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        A Power of Attorney accompanies this petition in accordance with 37 C.F.R.

   § 42.10(b). Service via hand delivery or postal mail may be made at the addresses

   of the lead and back-up counsel above. Petitioner hereby consents to electronic

   service, and service via electronic mail may be made at the email addresses

   provided above for the lead and back-up counsel.




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   III.   PAYMENT OF FEES

          Pursuant to 37 C.F.R. §§ 42.103 and 42.15(a), $40,600 is being paid via

   deposit account 501408. Any additional fees due in connection with this petition

   may be charged to the foregoing account.

   IV.    STANDING

          Pursuant to 37 C.F.R. § 42.104(a), Petitioner certifies that the ’386 Patent is

   available for IPR and that Petitioner is not barred or estopped from requesting IPR

   of the claims on the grounds identified herein.

   V.     IDENTIFICATION OF CHALLENGE AND STATEMENT OF
          PRECISE RELIEF REQUESTED
          Pursuant to 37 C.F.R. § 42.104(b), Petitioner requests that the Board institute

   inter partes review of claims 1-8, 10, 12-20, 22-23, and 25-50 of the ’386 Patent

   on one or more grounds under pre-AIA 35 U.S.C. §§ 102 and/or 103.

   VI.    THRESHOLD REQUIREMENT FOR INTER PARTES REVIEW

          Under 35 U.S.C. § 314(a), institution of inter partes review requires “a

   reasonable likelihood that the petitioner would prevail with respect to at least one

   of the claims challenged in the petition.” This petition meets this threshold for

   each of the asserted grounds of unpatentability.



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   VII. STATEMENT OF REASONS FOR THE RELIEF REQUESTED

        Petitioner requests institution on the five grounds:

         A.     Grounds

                 Ground 1:      King Anticipates Claims 13, 16-17, 28, 41, and 46-
                                50 under § 102(b)

                 Ground 2:      King in Combination with Douglas-1989 Renders
                                Obvious Claims 13, 15-17, 28-32, 34, 37-38, 40-41,
                                44, and 47-49 under § 103

                 Ground 3:      King in Combination with Douglas-1989 and Eiden
                                Renders Obvious Claims 43, 46, and 50 under § 103

                 Ground 4:      King in Combination with Douglas-1989 and
                                Speakman Renders Obvious Claims 1-3, 6-8, 10, 12,
                                18-20, 22-23, 33, 35-36, 39, 42-43, and 45-46 under
                                § 103

                 Ground 5:      King in Combination with Douglas-1989, Speakman,
                                and Yost Renders Obvious Claims 4, 5, 14, 25-27,
                                39, 42, and 45 under § 103


        The Declaration of Richard Yost, Ph.D., a world-renowned expert in mass

   spectrometry, accompanies this petition. Ex. 1004.

         B.     Priority Date of the ’386 Patent

        For purposes of this petition, Agilent assumes that the claims of the ’386

   Patent are entitled to a priority date of September 16, 1998.


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   VIII. STATE OF THE ART

         A.     Person of Ordinary Skill in the Art

        A person of ordinary skill in the art in September 1998 would have a Ph.D. or

   a Master’s degree, or an equivalent education or practical experience, in chemistry,

   physics, or a related field, and at least two-to-three years of experience in

   developing the instrumentation and/or the applications of plasma ionization mass

   spectrometry and/or tandem mass spectrometry (hereinafter, “POSA”). Ex. 1004

   ¶¶20-22.

         B.     Scope and Content of the Art Before September 1998

                1.     Mass Spectrometry
        Mass spectrometry (“MS”) is an analytical technique used to identify and

   quantify chemical elements and compounds (i.e., atoms and molecules,

   respectively) in a sample based on the atomic mass and charge state of the

   constituents in the composition. Ex. 1014, 281-282; Ex. 1004 ¶32.

        Typically, a sample containing atoms or molecules of interest is introduced

   into the ion source of a mass spectrometer. Id.; Ex. 1015, 6-9; Ex. 1004 ¶¶33-34.

   The ion source induces either a positive or a negative charge in the neutral atoms

   and molecules, generating positive or negative ions. Ex. 1014, 281-282; Ex. 1015,


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   6-9; Ex. 1004 ¶¶33-34. In most instruments, only the positive ions are

   electrostatically guided by ion optics into a portion of the mass spectrometer called

   a “mass analyzer.” Ex. 1014, 281-282; Ex. 1015, 9; Ex. 1004 ¶¶33-34. The mass

   analyzer allows ions of a specific mass-to-charge ratio (m/z) to pass through to a

   detector apparatus while preventing all other ions from reaching the detector when

   the detector is measuring ions of a set m/z value. Ex. 1015, 16; Ex. 1004 ¶¶33-34.

                2.     Quadrupole Mass Analyzer

        A quadrupole is the most common mass analyzer used in modern mass

   spectrometry. Ex. 1016, 617; Ex. 1004 ¶35. It comprises four parallel rods

   arranged in a radial array at 90° intervals, with opposite pairs of rods electrically

   connected. Id., 618; Ex. 1004 ¶35. There are two main modes of operating a

   quadrupole: RF-only and RF-DC mode. Id., 621-622; Ex. 1004 ¶35. In the RF-

   only mode, the quadrupole would transmit all ions above a certain m/z cutoff

   (“total ion mode”). Id.; Ex. 1004 ¶35. When a combination of RF and DC

   voltages is applied between the rod pairs, the quadrupole transmits ions between

   upper and lower m/z cutoffs. Id.; Ex. 1004 ¶35. As the DC-to-RF ratio increases,

   the quadrupole’s transmission band narrows. Id.; Ex. 1004 ¶35. At a certain DC-

   to-RF ratio, this transmission band would be so narrow as to allow only ions of a

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   specific integer m/z to pass through (“unit mass resolution”). Id.; Ex. 1004 ¶35. If

   the magnitude of the DC and RF voltages is continuously increased over time

   while keeping the DC/RF ratio constant, the mass filter will scan over a range of

   m/z values and generate a mass spectrum (“full-scan mode”). Ex. 1016, 621; Ex.

   1004 ¶35.

                3.     Tandem Mass Spectometry

        Quadrupole mass spectrometers may have two or more quadrupoles arranged

   in tandem. Exs. 1018-1020; Ex. 1004 ¶36. Each of the quadrupoles can be

   designed to operate independently and/or with one another. Exs. 1018-1020; Ex.

   1004 ¶36.

        Dr. Yost and his colleagues were the first to introduce a RF-driven collision

   cell in a triple-quadrupole instrument. Ex. 1019; Ex. 1004 ¶37. This instrument

   comprised a first quadrupole, an enclosed RF-only quadrupole used as a

   collision/reaction cell, and a third quadrupole. Id., Figure 2; Ex. 1004 ¶37. In that

   device, the first quadrupole mass filters the selected ions of interest. Id., 9:14-20;

   10:12-17; Ex. 1004 ¶37. The second RF-only quadruple is part of a

   collision/reaction cell pressurized with a gas, where fragmentation and/or reactions

   of the ions may take place. Id., 5:51-64; 9:27-61; Ex. 1004 ¶37. The third

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   quadrupole mass analyzes the resulting ions transmitted from the collision cell. Id.

   at 9:14-20; 10:12-17; Ex. 1004 ¶37. Such triple-quadrupole instruments are also

   known as tandem mass or MS/MS spectrometers. Exs. 1014-1016; Ex. 1004 ¶37.

        There are a few fundamental control parameters in the triple-quadrupole

   instrument. Exs. 1014-1015, 1016, 1021-1022; Ex. 1004 ¶38. For instance, each

   of the first and third quadrupoles can be individually set to pass only ions of a

   single m/z, ions within a range of m/z ratios, or all ions (above a lower m/z limit

   inherent in the quadrupole). Ex. 1015, 3-5; Ex. 1021, 207-211; Ex. 1022, 1; Ex.

   1004 ¶38. Where either a range of ions or all ions are passed by a quadrupole, that

   may be accomplished by either (i) allowing all ions in the selected range of m/z

   values to pass at once, or (ii) incrementally scanning over a range of m/z values

   such that at any given time only those ions having an m/z value within the open

   “window” will pass through the quadrupole. Ex. 1004 ¶38. The middle

   quadrupole can be pressurized with a target gas (acting as a collision/reaction cell)

   or not pressurized. Ex. 1015, 3-5; Ex. 1004 ¶38. These user-selectable parameters

   provide a variety of operational modes in a triple-quadrupole instrument. Exs.

   1014-1015, 1016, 1021-1022; Ex. 1004 ¶¶39-49.



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        Figure 2 below depicts tandem MS (MS/MS) modes commonly used on a

   triple-quadrupole instrument. Ex. 1004 ¶42. In each of the four schemes of Figure

   2, collision/reaction gas is introduced into the central quadrupole Q2, which is

   operating in RF-only mode. Id. Interaction with the collision/reaction gas might

   cause: fragmentation of polyatomic species, energy transfer, charge transfer, and/or

   ion-molecule reactions between the affected ions and the collision/reaction gas.

   Exs. 1028-1029; Exs. 1032-1033; Ex. 1004 ¶42. Fragmentation results in new ions

   with lower m/z values, sometimes referred to as a neutral loss; energy transfer may

   result in ions with less kinetic energy, charge transfer may neutralize an interfering

   ion; and ion-molecule reactions may as result in new ions with new, often higher,

   m/z values, sometimes referred to as a neutral gain. Exs. 1028-1029; Exs. 1032-

   1033; Ex. 1004 ¶42.




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        Figure 2. MS/MS scan modes on a triple-quadrupole mass spectrometer.

        Daughter Scan: In the top scheme of Figure 2, Q1 is set to pass only ions

   with a specific m/z value, often referred to as “parent ions.” Ex. 1015, 3; Ex. 1017,

   1252; Ex. 1004 ¶43. Q3 incrementally scans over a user-specified range of m/z

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   values from low to high. Ex. 1004 ¶43. This mode may be used to identify all the

   “daughter ions” formed in Q2 by either collisional fragmentation of the selected

   parent ion, or reaction of the collision/reaction gas with the selected parent ion. Id.

   If no reaction with the parent ion occurs, Q3 would pass the parent ion when Q3

   scans over the m/z value of the parent ion. Id. Notably, when interrogating

   elemental samples, collisional fragmentation of selected ions would not be

   expected to occur because the elements are already reduced to atomic ions from the

   previous ionization process. Id.

        Parent Scan: In the second scheme of Figure 2, Q1 incrementally scans a

   user-specified range of m/z values from low to high, and Q3 is set at a fixed m/z

   value to pass only daughter ions with that specific m/z value. Ex. 1004 ¶44. This

   type of scan may be used to identify all the parent ions from the ion source that

   form the selected daughter ion by collision or reaction in Q2. Ex. 1015, 3; Ex.

   1017, 1252; Ex. 1004 ¶44. If the daughter ion is initially present in the sample and

   no reaction occurs in Q2, then the parent ion m/z value is the same as the daughter

   ion m/z value. Ex. 1004 ¶44.

        Neutral Loss [or Gain] Scan: In the third scheme of Figure 2, Q1 and Q3 are

   both set to scan synchronously over an equivalent user-selected range of m/z

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   values with a fixed difference in m/z values (e.g, scanning of Q1 over a m/z value

   range of 80 to 100 with Q3 scanning a set m/z value range of 60 to 80). Ex. 1004

   ¶45. The scheme depicts a neutral loss; i.e., a mass shift from a parent ion with a

   higher m/z value to a daughter ion having a lower m/z value as a result of

   collisions/reactions. Id. This scan may be used to identify all the daughter ions

   which arise from a specific neutral loss known or hypothesized by the researcher

   during collision or reaction in Q2. Ex. 1015, 3; Ex. 1017, 1252; Ex. 1004 ¶45.

   Also, using a reaction gas, ions transmitted by Q1 could react in Q2 to form

   product ions of higher m/z. These could be monitored by a neutral gain scan, with

   Q3 synchronously scanning with a positive mass offset from Q1. Ex. 1004 ¶45.

         Neutral Loss of Zero Scan. Where ions of interest that pass through Q1 do

   not fragment or react in the collision cell and thus retain their initial m/z value, the

   neutral offset is zero. Ex. 1004 ¶¶46-48. If there are interfering ions that also pass

   through Q1, they may fragment to form lower m/z ions or react to form higher m/z

   ions in Q2. Id. Under these circumstances, Q1 and Q3 are synchronously scanned

   with no offset. Id. That is, both Q1 and Q3 are set to transmit ions having the same

   m/z value. Ex. 1022, Figs. 2 and 4; Ex. 1030, 2924; Ex. 1004 ¶¶46-48. Neutral



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   loss of zero scan modes were known and routinely used since the 1980’s. Ex.

   1030, 2919, 2924; Ex. 1022, 1-3; Ex. 1040; Ex. 1004 ¶¶46-48.

        Selected Reaction Monitoring (SRM): In the last scheme of Figure 2, each of

   Q1 and Q3 are set to filter out all but either a single parent ion and single daughter

   ion at selected m/z values, or a series of selected parent ion/daughter ion pairs. Ex.

   1015, 3-5; Ex. 1017, 1252; Ex. 1004 ¶49. In an SRM experiment, a researcher

   typically knows the m/z value of the parent ions and can predict the m/z value of

   the daughter ions resulting from collision/reaction in Q2. Ex. 1029, 47-49

   (describing an SRM experiment in which the parent ion resulted in a 16 amu mass

   shift after reacting with a target gas in Q2); Ex. 1004 ¶49.

        A schematic of a triple-quadrupole instrument available in the 1980s is

   shown below. Ex. 1015, 21; Figure 5. This instrument offered automatic control

   and data handling by a computer system. Id.; Ex. 1004 ¶50.




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        Moreover, the quadrupoles may be placed in separate chambers with one or

   more vacuum pumps. Exs. 1020, 1025; Ex. 1004 ¶¶50-51. The use of differential

   pumping in mass spectrometers has been implemented by researchers and on

   commercial instruments for over 40 years. Exs. 1018, 1020, 1025; Ex. 1004 ¶¶50-

   51. The introduction of ion sources that operate at pressures higher than those at

   which mass analyzers and detectors can efficiently operate has made differential

   pumping a common element of most modern mass spectrometers. Ex. 1004 ¶¶50-

   51. High vacuum is required in the mass analysis and detection region of the mass

   spectrometer system for two primary reasons—first, to increase the mean-free-path

   of ions (i.e., how far ions travel between collisions with background gas

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   molecules) to prevent collisions from diverting ions, and second, to prevent arcing

   of the high voltages generally employed in mass analyzers and detectors. Id.

   Since the primary source of gas into the vacuum system arises from the ion source,

   the pressures in successive stage of vacuum pumping generally are highest in the

   first stage (by the ion source) and are lowest in the last stage (mass analyzer and

   detector). Ex. 1035, 18-19; Ex. 1004 ¶¶50-51.

                4.    Plasma Ion Source

        All ion sources serve the same purpose—to convert atoms and/or molecules

   in a sample into ions that can be conveyed into a mass analyzer. Ex. 1015, 6-9;

   Exs. 1026-1028; Ex. 1004 ¶¶52-53. A number of ion sources have been developed

   for analyzing the elemental species (atoms) in a sample. Ex. 1026; Ex. 1004 ¶¶52-

   53. Classic ion sources for ionizing atoms include a DC arc and an AC spark.

   Exs. 1026, 1029; Ex. 1004 ¶¶52-53. The preferred ionization source for the past

   twenty years is the inductively coupled plasma (“ICP”). Ex. 1031, 333; Ex. 1032,

   1431-1444; Ex. 1004 ¶¶52-53. The ICP ion source typically uses argon gas to

   form a plasma and converts the sample into atomic ions. Ex. 1031, 333; Ex. 1004

   ¶¶52-53. Other common types of plasma ion sources for elemental analysis are




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   microwave-induced plasma (“MIP”) and glow discharge plasma (“GD”). Ex.

   1026, 322-326; Exs. 1028-1029; Ex. 1004 ¶¶52-53.

                5.     Spectroscopic Interferences

        In elemental mass spectrometry, only certain atomic ions from the ion source

   are of interest. Ex. 1026, 321; Ex. 1004 ¶54. However, one significant problem

   with plasma ion sources remains to be other atomic or molecular ions from the ion

   source that have m/z ratios similar to those of the atomic ions of interest. Ex.

   1024, 1:7-32; Ex. 1004 ¶54. They would interfere with the detection of the atomic

   ions of interest. Id. For example, the polyatomic ion 40Ar16O+ can interfere with

   the detection of 56Fe+. Ex. 1033, 976; Ex. 1004 ¶54. These interfering ions come

   from the plasma gas, the sample matrix, and/or the vacuum background gases,

   alone or in combination. Ex. 1029, 47; Ex. 1012, 3:34–4:10; Ex. 1004 ¶54.

        Researchers have used a collision/reaction cell to reduce the number of

   interfering ions that reach the detector, and thereby reduce their impact on

   elemental analysis. Exs. 1006; 1012; 1023-1024; 1028-1029; 1032-1033; Ex. 1004

   ¶¶55-57. As a result of the collisions/reactions with a target gas, interfering ions

   from the ion source may form new ions with m/z ratios different from that of the




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   atomic ion of interest and thereby no longer interfere with the detection. Exs.

   1028-1029; Exs. 1032-1033; Ex. 1033, 979-980; Ex. 1004 ¶¶55-57.

         However, there may also be other ions in the ion beam with m/z ratios

   different from that of the atomic ion of interest. Ex. 1033, 979-980; Ex. 1004

   ¶¶55-57. These ions may form new product ions in the collision/reaction cell with

   an m/z ratio similar to that of the atomic ion of interest (i.e., new interfering ions).

   Id.; Ex. 1004 ¶¶55-57. Consequently, researchers suggested using a mass selective

   device to filter out these ions before the collision cell. Id.; Ex. 1004 ¶¶55-57. By

   allowing only ions with the m/z of interest to enter into the collision cell, any new

   product ions formed in the cell would probably not have that m/z of interest. Id.;

   Ex. 1004 ¶¶55-57. Thus, the formation of new interfering ions is reduced by mass

   selecting the ions prior to the collision cell. Id.; Ex. 1004 ¶¶55-57.

                6.     Photons and Neutral Species

         Many ion sources inevitably generate some amount of neutral species and

   photons, including ICP and GD sources. Ex. 1012, 3:34–4:10; Ex. 1018, 2:1-19;

   Ex. 1004 ¶58. In the absence of other means to divert their path (e.g., vacuum

   systems), these neutral species and photons are assumed to travel in a straight line

   from the ion source to the detector, increasing the background noise. Ex. 1018,

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   2:57-3:20; Ex. 1004 ¶58. To reduce such background noise, many instruments use

   ion optics to bend the path of the ions so that the ions would either travel around a

   photon stop or be sent off-axis towards a detector mounted off-axis. Ex. 1034, 2-3;

   Ex. 1004 ¶58. In contrast, the neutral species and the photons would still travel in

   a straight line and strike the photon stop or not be bent towards an off-axis

   detector. Id.; Ex. 1018, 2:57-3:20; Ex. 1004 ¶58.

   IX.   THE ’386 PATENT

         The ’386 Patent is a reissue from U.S. Patent No. 7,202,470. The ’470 patent

   claimed priority to a GB patent application 98202104, filed on September 16,

   1998. The reissue application was filed on September 19, 2013 (Application

   Number 14/032,096).

         A.     Patent-Owner’s Admissions to European Patent Office

         During the European prosecution of substantially similar claims to those

   challenged in this petition, Thermo admitted that Douglas-1989 (Ex. 1029)

   disclosed an ICP triple-quadrupole instrument that could be operated such that the

   same range of mass-to-charge ratio is selected at the first and third quadrupoles.

   Ex. 1041, 1-3 (discussing “D3,” which is Ex. 1029 (“Douglas-1989”)). According

   to Thermo, the novelty of the claimed invention is the configuration of prior art


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   instrumentation in a mode that was “not routinely used.” Id., 1. In other words,

   Thermo only argued that the distinguishing feature is the configuration of the prior

   art instrument such that the same range of mass-to-charge ratio is selected at the

   first and third quadrupoles. Id., 2. Moreover, as acknowledged by Thermo,

   Douglas-1989’s experiment disclosed synchronous scanning of the first and third

   quadrupoles at a constant offset of 16 (neutral gain scan). Id.

         B.     The ’386 Patent Claims

        The ’386 Patent has three independent claims—Claim 1, 13, and 28. Claim 1

   is an apparatus claim for a mass spectrometer with three evacuated chambers, three

   pumps, a collision cell, and multiple apertures between chambers.

        Claim 13 is a method claim for operating a mass spectrometer where there is

   mass selection before the collision cell and mass analyzing after the collision cell.

        Claim 28 is an apparatus claim for a mass spectrometer which includes a

   plasma ion source, an ion optical device, a collision cell, and a mass analyzer. The

   originally issued claim 28 recites a plasma ion source, whereas the reissued claim

   28 requires an ICP source.

        The full text of all the claims can be found in the chart below. In the

   following discussion, brackets are used to identify claim elements (e.g., “[1E]”).

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                                    ’386 Patent Claims
    [1Pre.] A mass spectrometer comprising:
    [1A.] means (1) for generating ions from a sample introduced into a plasma;
    [1B.] a sampling aperture (2) for transmitting some of the ions into an evacuated
    expansion chamber (3) along a first axis (9) to form an ion beam;
    [1C.] a second aperture (5) for transmitting some of the ion beam into a first
    evacuated chamber (6);
    [1D.] a first pump (7) for maintaining the first evacuated chamber (6) at high
    vacuum;
    [1E.] a first ion optical device (17) located in the first evacuated chamber (6) for
    containing the ion beam wherein the first ion optical device (17) is a mass
    selective device;
    [1F.] a third aperture (19) for transmitting the ion beam into a second evacuated
    chamber (20);
    [1G.] a second pump (21) for maintaining the second evacuated chamber (20) at
    a lower pressure than the first evacuated chamber (6);
    [1H.] a collision cell (24) having an entrance aperture (27) and an exit aperture
    (28) and pressurized with a target gas (26), the collision cell (24) being disposed
    in the second evacuated chamber (20);
    [1I.] a second ion optical device (25) located in the collision cell (24) for
    containing the ion beam;
    [1J.] a fourth aperture (32) for transmitting the ion beam into a third evacuated
    chamber (33) containing mass-to-charge ratio analyzing means (37) disposed
    along a second axis (36), wherein the mass-to-charge analyzing means is
    configured to mass analyze the ion beam to produce a mass spectrum of the ion
    beam such that both the first ion optical device (17) and the mass-to-charge ratio
    analyzing means (37) operate at the same mass to charge ratio, so as substantially
    to minimize the formation in the collision cell of interfering ions having the said
    mass to charge ratio; and

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    [1K.] a third pump (39) for maintaining the third evacuated chamber (33) at
    lower pressure than the second evacuated chamber (20).
    2. A mass spectrometer according to claim 1, wherein the first evacuated
    chamber (6) is maintained at a pressure of approximately 10−2 to 10−4 mbar.
    3. A mass spectrometer according to claim 1, wherein the first evacuated
    chamber (6) is maintained at a pressure of approximately 1-2×10−3 mbar.
    4. A mass spectrometer according to claim 1, including a gap of at least 2 cm
    between the third aperture (19) and the entrance aperture (27) of the collision cell
    (24).
    5. A mass spectrometer according to claim 1, wherein the distance between the
    ion source (1) and the entrance aperture (27) of the collision cell (24) is 90 to 200
    mm.
    6. A mass spectrometer according to claim 1, wherein the mass-to-charge ratio
    analyzing means (37) includes a main mass filter which preferably is an RF
    quadrupole.
    7. A mass spectrometer according to claim 1, wherein the first ion optical device
    (17) is an RF quadrupole.
    8. A mass spectrometer according to claim 1, wherein the second ion optical
    device (25) is an RF quadrupole.
    9. A mass spectrometer according to claim 1, wherein the second ion optical
    device (25) is mass selective.
    10. A mass spectrometer according to claim 1, wherein the second axis (36) of
    the mass to charge ratio analyzing means (37) is offset from the first axis (9).
    11. A mass spectrometer according to claim 1, wherein the first evacuated
    chamber (6) is divided into a first region (14) adjacent to the expansion chamber
    containing an extractor lens (8) driven at a negative potential, and a second
    region (15) adjacent to the collision cell (24) in which the ion optical device (17)
    is located, by a large diameter aperture (11) and the aperture is sealable by means
    of a flat plate (12) on an O-ring seal (13).


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    12. A mass spectrometer according to claim 1, wherein the first ion optical
    device and the mass-to-charge analyzing means are configured to scan
    synchronously.
    [13Pre] A method of operating a mass spectrometer that incorporates a collision
    cell pressurized with a target gas, the method comprising:
    [13A.] generating an ion beam by introducing a sample into a plasma, the ion
    beam including analyte ions having an analyte mass to charge ratio and
    unwanted ions;
    [13B.] mass selecting at least a portion of the ion beam at the analyte mass to
    charge ratio;
    [13C.] transmitting at least a portion of the mass selected ion beam into the
    collision cell, the mass selecting step being effective substantially to minimize
    the formation in the collision cell of interfering ions having the analyte mass to
    charge ratio;
    [13D.] receiving at least a portion of the ion beam from the collision cell at a
    mass analyzer; and
    [13E.] mass analyzing the received ion beam at the same analyte mass to charge
    ratio as in the mass selecting step.
    14. A method according to claim 13, wherein a distance of 90 to 200 mm is
    maintained between the ion source and an entrance aperture of the collision cell.
    15. A method according to claim 13, wherein mass selecting and mass analyzing
    comprise scanning synchronously.
    16. A method according to claim 13, wherein the mass selecting is achieved by
    passing the ion beam through a first mass selective ion optical device.
    17. A method according to claim 16, wherein the first mass selective ion optical
    device is an RF quadrupole.
    18. A method according to claim 16, wherein the first mass selective ion optical
    device is located in a first evacuated chamber maintained at high vacuum.


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    19. A method according to claim 18, wherein the first evacuated chamber is
    maintained at a pressure of approximately 10-2 to 10-4 mbar.
    20. A method according to claim 18, wherein the first evacuated chamber is
    maintained at a pressure of approximately 1-2×10−3 mbar.
    21. A method according to claim 18, wherein the first evacuated chamber is
    divided into a first region adjacent to the expansion chamber containing an
    extractor lens driven at a negative potential, and a second region adjacent to the
    collision cell, by a large diameter aperture and the aperture is sealable by means
    of a flat plate on an O-ring seal.
    22. A method according to claim 18, wherein the collision cell is located in a
    second evacuated chamber operated at lower pressure than the first evacuated
    chamber, the ion beam being contained in the second evacuated chamber by a
    second ion optical device.
    23. A method according to claim 22, wherein the second ion optical device is an
    RF quadrupole.
    24. A method according to claim 22, wherein the second ion optical device is
    mass selective.
    25. A method according to claim 22, further comprising transmitting at least a
    portion of the ion beam from the ion source through a sampling aperture into an
    evacuated expansion chamber along a first axis, into the first evacuated chamber
    through a second aperture; wherein transmitting at least a portion of the mass
    selected ion beam into the collision cell includes transmitting at least a portion of
    the ion beam into the second evacuated chamber through a third aperture,
    wherein a gap of at least 2 cm is maintained between the third aperture and an
    entrance aperture of the collision cell.
    26. A method according to claim 25, wherein the mass analyzer is located in a
    third evacuated chamber operated at lower pressure than the second evacuated
    chamber, the mass analyzer being disposed along a second axis.
    27. A method according to claim 26, wherein the second axis is offset from the
    first axis.


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    28. A mass spectrometer comprising:
    [28A.] an inductively coupled plasma ion source for generating ions from a
    sample, the generated ions including first atomic ions having a first mass-to-
    charge ratio and artefact ions having a mass-to-charge ratio that interferes with
    the first mass-to-charge ratio;
    [28B.] an ion optical device disposed to receive at least a portion of an ion beam
    generated by the ion source, the ion optical device being configured to mass
    select at least a portion of the ion beam generated by the ion source at the first
    mass-to-charge ratio, thereby removing, from the ion beam, ions not having the
    first mass-to-charge ratio;
    [28C.] a collision cell disposed to receive at least a portion of a mass selected ion
    beam from the ion optical device and configured to remove, from the mass
    selected ion beam, artefact ions having a mass-to-charge ratio that interferes with
    the first mass-to-charge ratio, the ion optical device being configured
    substantially to minimize the formation in the collision cell of interfering artefact
    ions having the said first mass-to-charge ratio; and
    [28D.] a mass analyzer disposed to receive at least a portion of the mass selected
    ion beam from the collision cell, the mass analyzer being configured to mass
    analyze the received ion beam at the same mass-to-charge ratio as the ion optical
    device, wherein the mass analyzer is configured to detect the first atomic ions
    when the same mass-to-charge ratio is the first mass-to-charge ratio.
    29. A mass spectrometer according to claim 28, wherein the ion optical device
    and the mass analyzer are configured to scan synchronously.
    30. A mass spectrometer according to claim 28, wherein the mass analyzer is
    configured to mass select the ion beam received from the collision cell at the
    mass-to-charge ratio.
    31. A mass spectrometer according to claim 28, wherein the ion optical device
    comprises a first RF quadrupole.
    32. A mass spectrometer according to claim 31, wherein the mass analyzer
    comprises a second RF quadrupole.


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    33. A mass spectrometer according to claim 28, wherein the ion optical device is
    disposed in a first evacuated chamber, the collision cell is disposed in a second
    evacuated chamber, and the mass analyzer is disposed in a third evacuated
    chamber.
    34. A mass spectrometer according to claim 28, further comprising a second ion
    optical device located in the collision cell for containing the ion beam.
    35. A mass spectrometer according to claim 1, wherein the means (1) for
    generating ions from a sample introduced into a plasma uses argon, and wherein
    the collision cell does not contain a significant partial pressure of argon.
    36. A mass spectrometer according to claim 1, wherein the operation of the first
    ion optical device (17) and the mass-to-charge ratio analyzing means (37) at the
    same mass to charge ratio to produce the mass spectrum of mass-to-charge ratios
    includes synchronously scanning the first ion optical device (17) and the mass-
    to-charge ratio analyzing means (37) over a spectrum of mass-to-charge ratios.
    37. The method according to claim 13, wherein mass analyzing the received ion
    beam at the same analyte mass to charge ratio as in the mass selecting step is
    performed at a plurality of analyte mass to charge ratios.
    38. The method according to claim 37, further comprising:
    obtaining a mass spectrum of the ion beam by a synchronous scan that mass
    analyzes the received ion beam at the same analyte mass to charge ratio as in the
    mass selecting step at the plurality of analyte mass to charge ratios.
    39. The method according to claim 13, wherein the collision cell does not
    contain a significant partial pressure of argon.
    40. The method according to claim 13, wherein the collision cell is pressurized
    with a target gas that is not argon.
    41. The method according to claim 13, wherein the plasma is an inductively
    coupled plasma.




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    42. The method according to claim 41, wherein the inductively coupled plasma
    includes argon, and wherein the collision cell does not contain a significant
    partial pressure of argon.
    43. The method according to claim 42, wherein the collision cell is pressurized
    with helium or hydrogen.
    44. A mass spectrometer according to claim 28, wherein the generated ions
    further include second atomic ions having a second mass-to-charge ratio and
    artefact ions having a mass-to-charge ratio that interferes with the second mass-
    to-charge ratio, wherein the ion optical device is further configured to mass
    select at least a portion of the ion beam generated by the ion source at the second
    mass-to-charge ratio, and wherein the mass analyzer is configured to detect the
    second atomic ions when the same mass-to-charge ratio is the second mass-to-
    charge ratio.
    45. A mass spectrometer according to claim 28, wherein the inductively coupled
    plasma includes argon, and wherein the collision cell does not contain a
    significant partial pressure of argon.
    46. A mass spectrometer according to claim 45, wherein the collision cell is
    pressurized with helium or hydrogen.
    47. A mass spectrometer according to claim 28, wherein the artefact ion include
    molecular ions.
    48. A mass spectrometer according to claim 28, wherein the artefact ions are
    reacted or collided with a collision gas in the collision cell to form ions having
    mass-to-charge ratios that do not interfere with the first mass-to-charge ratio,
    thereby removing artefact ions.
    49. A mass spectrometer according to claim 48, wherein at least some of the
    artefact ions are collided with the collision gas to form ions that have lower
    mass-to-charge ratios than the first mass-to-charge ratio.
    50. A mass spectrometer according to claim 48, wherein at least some of the
    artefact ions are reacted with the collision gas to form ions that have higher
    mass-to-charge ratios than the first mass-to-charge ratio.


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   X.    CLAIM CONSTRUCTION

        A claim in inter partes review is given the broadest reasonable interpretation

   (“BRI”) in light of the specification. 37 C.F.R. § 42.100(b); Cuozzo Speed Techs.,

   LLC v. Lee, 136 S. Ct. 2131 (2016). Petitioner proposes the following BRIs:

         A.    “means (1) for generating ions from a sample introduced into a
               plasma” (Claim 1)

        The function for this means-plus-function term is “generating ions from a

   sample introduced into a plasma.” The corresponding structure includes: (1) an

   ICP ion source based on 6:26-27; and (2) other plasma ion sources based on 1:15-

   23, and claims 13 and 41.

         B.    “mass-to-charge ratio analyzing means (37)” (Claim 1)

        The function for this means-plus-function term is “analyzing ions based on

   their mass-to-charge ratios.” The corresponding structure includes: an RF

   quadrupole, a magnetic sector, and a time-of-flight (“TOF”) mass analyzer based

   on the disclosures at 4:60-64 and claim 6.

         C.    “configured to” (Claim 28)

        Claim 28 uses the phrase “configured to” three times, each in reference to a

   mode of operation of the mass spectrometer. While an instrument that is

   configured to operate in a certain mode must be capable of operating in that mode,

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   courts have rejected the narrow interpretation that the claimed mode has to be the

   default setting. Riverbed Tech., Inc. v. Silver Peak Sys., Inc. No. 11–484–RGA,

   2013 WL 3830416, at *1 (D. Del. July 23, 2013) (holding that a system is

   “configured to” perform a function “[i]f the system is expressly created so that the

   user may take advantage of” that function, “[e]ven if the enablement of the

   function is not the default setting”). There is nothing in the prosecution history or

   specification here that suggests that “configured to” must be the sole or even

   default setting. According, the BRI of “configured to” is “enabled for use by the

   user to.”

         D.     “at the same mass-to-charge ratio”; “at the same analyte mass-to-
                charge ratio” (Claims 1, 13, and 28)

         Claims 1 and 28 describe that the mass analyzer operates “at the same mass-

   to-charge ratio” as the ion optical device. Claim 13 describes that the step of mass

   analyzing to be “at the same analyte mass-to-charge ratio” as the mass selecting

   step. The BRI of this term is “at one or more mass-to-charge ratios, one of which

   is the mass-to-charge ratio of an analyte ion.”

         The claim language and the other claims support this BRI. Claim 13

   describes a method of operating a mass spectrometer using the transitional phrase



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   “comprising” in an open-ended manner. Claims 37 and 38 depend on Claim 13,

   and further describe that the step of mass analyzing is performed at a plurality of

   analyte m/z ratios. These claim elements do not explicitly exclude mass analyzing

   at m/z ratios other than the analyte m/z ratios. In other words, these claims’ scope

   encompass a method in which the mass analysis step is performed at many m/z

   ratios, so long as one of the m/z ratios is the analyte m/z ratio. In that case, the

   step of mass analyzing would still be “at the same mass-to-charge ratio” as the

   mass selecting step.

   XI.   GROUNDS FOR UNPATENTABILITY

         A.     General Principles

         Under 35 U.S.C. § 102, if a single prior art reference discloses each

   limitation of the claimed invention, a patent claim is anticipated and invalid.

   Schering Corp. v. Geneva Pharms., 339 F.3d 1373, 1377 (Fed. Cir. 2003).

   Moreover, “a reference can anticipate a claim even if it ‘d[oes] not expressly spell

   out’ all the limitations arranged or combined as in the claim, if a person of skill in

   the art, reading the reference, would ‘at once envisage’ the claimed arrangement or

   combination.” Kennametal, Inc. v. Ingersoll Cutting Tool Co., 780 F.3d 1376,

   1381 (Fed. Cir. 2015).


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         Under 35 U.S.C. § 103, a patent claim is obvious and invalid “if the

   differences between the subject matter sought to be patented and the prior art are

   such that the subject matter as a whole would have been obvious at the time the

   invention was made to a person having ordinary skill in the art to which said

   subject matter pertains.”

         B.     Apparatus Claims Reciting Manners of Operation

         “[A]pparatus claims cover what a device is, not what a device does.”

   Hewlett-Packard Co. v. Bausch & Lomb Inc., 909 F.2d 1464, 1469 (Fed. Cir.

   1990) (emphasis in original). “[T]he patentability of apparatus or composition

   claims depends on the claimed structure, not on the use or purpose of that

   structure.” Catalina Marketing Intern. v. Coolsavings.Com, 289 F.3d 801, 809

   (Fed. Cir. 2002). Thus, a claim containing a “recitation with respect to the manner

   in which a claimed apparatus is intended to be employed does not differentiate the

   claimed apparatus from a prior art apparatus” if the prior art apparatus teaches all

   the structural limitations of the apparatus claim. Ex parte Masham, 2 U.S.P.Q.2d

   1647 (Bd. Pat. App. & Inter. 1987).




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         C.      Method Claims Reciting Operations of an Apparatus

         When a prior art apparatus is the same as the apparatus described in a claim

   for carrying out a claimed method, the prior art apparatus presumably will perform

   the claimed method in its normal and usual operation. In re King, 801 F.2d 1324

   (Fed. Cir. 1986). Moreover, when a prior art reference describes using a prior art

   apparatus towards a particular purpose, a claimed method is anticipated if the claim

   merely recites newly discovered results of using the same apparatus for the same

   purpose. Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc., 246 F.3d 1368 (Fed.

   Cir. 2001).

         D.      Claim Elements Directed to the Intended Use of a Component

         Statements of an intended use or purpose of a component in a claimed

   structure or composition are not included in invalidity analysis under Sections 102

   and 103. Boehringer Ingelheim Vetmedica, Inc. v. Schering-Plough Corp., 320

   F.3d 1339, 1345 (Fed. Cir. 2003).

         Claims 46-50: Claims 46-50 ultimately depend from the apparatus Claim

   28. These claims only state the intended results of using certain plasma gas,

   sample, collision gas, and/or pressures. These claims do not add any further

   structural limitations to the claimed apparatus. Accordingly, prior art that discloses


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   the apparatus of Claim 28 anticipates (or render obvious) Claims 46-50 regardless

   of whether the prior art discloses the results of using these gases and samples.

         E.     Ground 1: King Anticipates Claims 13, 16-17, 28, 41, and 46-50
                under § 102(b)

         King (Ex. 1037) was published in 1989 and thus qualifies as prior art under

   35 U.S.C. § 102(b). Ex. 1008 ¶24. King was not cited or considered during the

   prosecution of the original ’470 Patent. During the reissue proceeding, King was

   cited in an Information Disclosure Statement, but its substance was not discussed

   in any of the communications between the examiner and the patent owner.

         King discloses the use of plasma triple-quadrupole mass spectrometers for

   elemental analysis. Ex. 1037, 173-174; Ex. 1004 ¶59. Specifically, King discloses

   a glow-discharge triple-quadrupole mass spectrometer. Ex. 1037, 173-174; Ex.

   1004 ¶59. King describes that the first and third quadrupoles can be operated in

   RF-only mode (passing ions above an m/z cutoff) or in a mass selective mode. Ex.

   1037, 173-174; Ex. 1004 ¶59. The second quadrupole in the collision cell operates

   in RF-only mode and has a non-linear geometry. Ex. 1037, 173-174; Ex. 1004

   ¶59. The non-linear geometry of the collision cell allows the axis of the ion




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   source and the first quadrupole to be offset from the axis of the third quadrupole.

   Ex. 1004 ¶59.

         King discloses the use of its mass spectrometer to perform the method

   described in Claim 13. Ex. 1037, 182-183; Ex. 1004 ¶60. In one experiment, King

   analyzes the daughter spectrum of a parent ion with an m/z of 81 from ionization

   of a brass sample with a glow discharge plasma source. Ex. 1037, 182-183; Ex.

   1004 ¶60. Each disclosure cited below is from this experiment unless otherwise

   stated.

                1.      King Anticipates Claim 13

         As explained in Section XI.C, claim 13 is a method claim reciting a normal

   operation of a prior art apparatus. King discloses this prior art apparatus and the

   claimed operation.

         [13Pre]: King discloses “[a] method of operating a [plasma] mass

   spectrometer that incorporates a collision cell pressurized with a target gas [1 mtorr

   of argon].” Ex. 1037, 182-183; Ex. 1004 ¶61.

         Element [13A]: King discloses “generating an ion beam by introducing a

   sample [an NBS C1109 brass sample] into a plasma [the glow discharge plasma].”

   Ex. 1037, 182-83; Ex. 1004 ¶62. The ion beam from the glow discharge plasma

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   including analyte ions having an analyte mass-to-charge ratio and unwanted ions

   contains ions of analytical interest [atomic ions having an m/z of 81] and unwanted

   ions [the polyatomic ions, Ar2H+ and CuH2O+ (both have an approximate m/z of

   81) among other ions resulting from the plasma gas, the sample matrix, and the

   vacuum gas components]. Ex. 1037, 182-83; Ex. 1004 ¶62.

         Element [13B]: King discloses “mass selecting at least a portion of the ion

   beam [first quadrupole mass-selects the ion beam at the analyte mass-to-charge

   ratio of 81] at the analyte mass-to-charge ratio.” Ex. 1037, 182-183; Ex. 1004

   ¶¶63-64. As illustrated below, only ions having an m/z of 81 pass through the first

   quadrupole, resulting in a mass selected ion beam. Ex. 1004 ¶¶63-64.




         Element [13C]: King discloses “transmitting at least a portion of the ion

   beam into the collision cell” because only ions having an m/z of 81 from the ion

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   beam enter into the collision cell. Ex. 1037, 182-183; Ex. 1004 ¶65. As explained

   above in Section VIII.B.5, any new product ions formed inside the collision cell

   through reactions or dissociations would not have the m/z of 81. Ex. 1004 ¶65.

   For example, Cu and H2O would not enter into the collision cell to form new

   interfering CuH2O+ ions at m/z = 81. Id. Thus, King’s mass selecting step is

   “effective substantially to minimize the formation in the collision cell of interfering

   ions having the analyte mass to charge ratio” of 81. Id. As shown in the

   illustration above, ions having m/z values of 41 and 63 (corresponding to the ions

   ArH+ and Cu+, respectively) exit the collision cell following exposure to the

   collision/reaction gas in the collision cell.

         Element [13D]: King discloses “receiving at least a portion of the ion beam

   from the collision cell at a mass analyzer” because ions exiting the collision cell

   are received by the third quadrupole mass analyzer. Ex. 1037, 174; Ex. 1004 ¶66.

         Element [13E]: King discloses “mass analyzing the received ion beam at the

   same analyte mass-to-charge ratio [m/z = 81] as in the mass selecting step [m/z =

   81 (Element [13B])].” Ex. 1037, 182-183; Ex. 1004 ¶¶67-68. As illustrated

   below, King seeks to obtain a mass spectrum of the ion beam received from the

   collision cell (i.e., “a daughter spectrum” of the parent ion m/z 81). Ex. 1037, 182-

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   183; Ex. 1004 ¶¶67-68. To do so, King configures the first quadrupole to mass

   select at m/z of 81, and configures the third quadrupole to mass analyze the

   received ion beam across a selected range of m/z ratios that includes the analyte

   mass-to-charge ratio of 81. Ex. 1037, 182-183; Ex. 1004 ¶¶67-68. When the third

   quadrupole is mass analyzing at the analyte mass-to-charge ratio of 81, it is mass

   analyzing at the same mass-to-charge ratio as that of the first quadrupole. Ex.

   1004 ¶¶67-68.




        As discussed in Section X.D. regarding the BRI of the phrase “at the same

   analyte mass-to-charge ratio,” claim 13 uses an open transitional phrase

   “comprising.” The scope of claim 13 thus encompasses a method in which the

   mass analysis step is performed at many m/z ratios, so long as one of the m/z ratios

   is the analyte m/z ratio, just like King’s method.

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                2.    King Anticipates Independent Claim 28

         [28Pre]: As explained in Section XI.B, claim 28 is an apparatus claim with

   an open claim language reciting a manner of operating a prior art apparatus. King

   teaches a mass spectrometer with all the structural limitations of claim 28 and the

   recited operation. Ex. 1004 ¶71.

         Element [28A]: King discloses “an inductively coupled plasma ion source

   [ICP-MS] for generating ions from a sample.” Ex. 1037, 172; Ex. 1004 ¶¶72-73.

   Specifically, King discloses “ICP-MS, which employs quadrupole mass analyzers

   exclusively,” encounters the same spectroscopic interference problems observed

   with a glow discharge plasma. Id. King describes the purpose of its experiments

   as showing the removal of spectroscopic interferences by collision-induced

   dissociation. Id., 171-172. A POSA would have understood as of 1998 that an

   ICP source can be used in any of the experimental methods in King. Ex. 1004

   ¶¶72-73. As explained in Section XI.A, a POSA would have “at once envisage[d]”

   that an ICP source can be used on a triple-quadrupole instrument to remove

   interfering ions by collision-induced dissociation. Ex. 1004 ¶¶72-73.

         King also discloses that “the generated ions including first atomic ions

   having a first mass-to-charge ratio and artefact ions having a mass-to-charge ratio

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   that interferes with the first mass-to-charge ratio” because a POSA would have

   understood as of 1998 that ions generated from an ICP source include analyte ions

   and artefact ions having the same mass-to-charge ratio. Ex. 1004 ¶¶72-73.

         Element [28B]: As explained above in [13B], King discloses “an ion

   optical device [the first quadrupole] disposed to receive at least a portion of an ion

   beam generated by the ion source, the ion optical device [the first quadrupole]

   being configured to mass select at least a portion of the ion beam generated by the

   ion source at the first mass-to-charge ratio [m/z = 81], thereby removing, from the

   ion beam, ions not having the first mass-to-charge ratio [m/z = 81].” Ex. 1037,

   182-183; Ex. 1004 ¶74.

         Element [28C]: As explained in [13C], King discloses “a collision cell

   disposed to receive at least a portion of a mass selected ion beam from the ion

   optical device” because the collision cell is receiving the ion beam after the first

   quadrupole mass selects ions of m/z 81. Ex. 1037, 174, 182-83; Ex. 1004 ¶75.

   Upon entering the collision cell, the mass selected ion beam still has artefact ions

   that have a mass-to-charge ratio that interferes with the first mass-to-charge ratio.

   Id. at 182-83. King also discloses that the collision cell is “configured to remove,

   from the mass selected ion beam, artefact ions having a mass-to-charge ratio that

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   interferes with the first mass-to-charge ratio” because the collision cell is

   pressurized with argon that dissociates polyatomic ions having m/z of 81. Ex.

   1037, 182-83; Ex. 1004 ¶75.

         King further discloses “the ion optical device [first quadrupole] being

   configured substantially to minimize the formation in the collision cell of

   interfering artefact ions having the said first mass-to-charge ratio [m/z =81],”

   because a POSA would have understood that because the first quadrupole selects

   only ions of m/z of 81 to enter into the collision cell, any new ions formed from

   ions having m/z of 81 would not have m/z of 81, thereby substantially minimizing

   the formation of new interfering ions having m/z of 81. Ex. 1037, 174, 182-83;

   Ex. 1004 ¶75. This change is demonstrated by King’s reported detection of signals

   at m/z = 41 and m/z = 63.

         Element [28D]: As explained above in [13D]-[13E], King discloses “a

   mass analyzer [third quadrupole] disposed to receive at least a portion of the mass

   selected ion beam from the collision cell.” King also discloses “the mass analyzer

   [third quadrupole] being configured to mass analyze the received ion beam at the

   same mass-to-charge ratio [m/z = 81] as the ion optical device [first quadrupole],

   wherein the mass analyzer [third quadrupole] is configured to detect the first

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   atomic ions when the same mass-to-charge ratio [m/z = 81] is the first mass-to-

   charge ratio [m/z = 81].” Ex. 1037, 182-183; Ex. 1004 ¶76. Specifically, King

   configures the first quadrupole to mass select at m/z 81, and configures the third

   quadrupole to mass analyze the received ion beam at each m/z ratio within a range

   of m/z ratios that includes the first mass-to-charge ratio of 81. Ex. 1004 ¶76.

   When the third quadrupole is mass analyzing at the first mass-to-charge ratio of 81,

   it is mass analyzing at the same mass-to-charge ratio as that of the first quadrupole.

   Id.

                3.    King Anticipates Many Dependent Claims

         Claim 16: King discloses that “the mass selecting [at m/z of 81] is achieved

   by passing the ion beam through a first mass selective ion optical device [by

   configuring the first quadrupole to select at m/z = 81].” Ex. 1037, 174, 182-183;

   Ex. 1004 ¶69.

         Claim 17: King discloses “the first mass selective ion optical device is an

   RF quadrupole.” Id. at 174 (“the first quadrupole, Q1, which can be operated in an

   r.f.-only mode … or in a mass filtering mode”); Ex. 1004 ¶70. The ’386 Patent

   identifies a quadrupole as a ion optical device. Ex. 1001, 4:64-5:2; 5:30-33; Ex.

   1004 ¶70.

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         Claim 41: King discloses “an inductively coupled plasma” for the same

   reasons as Element [28A]. Ex. 1004 ¶77.

         Claims 46-50: As explained above in Section XI.D, these dependent claims

   merely recite the intended results of operating a mass spectrometer with certain

   plasma gas, samples, collision gas. Ex. 1004 ¶78. Nevertheless, each limitation

   was well known as of 1998 as explained in Grounds 2-4. Ex. 1004 ¶78.

         F.     Ground 2: King in Combination with Douglas-1989 Renders
                Obvious Claims 13, 15-17, 28-32, 34, 37-38, 40-41, 44, and 47-49

         Douglas-1989 (Ex. 1029) was published in 1989 and thus qualifies as prior

   art under 35 U.S.C. § 102(b). Ex. 1008 ¶23. Douglas-1989 is cited in the

   specification of the ’386 Patent as admitted prior art. Ex. 1001, 2:22-24. But it

   was not discussed during the prosecution or reissue proceeding.

         Douglas-1989 is a review article looking back over “the first decade of ICP-

   MS development.” Ex. 1029, 38; Ex. 1004 ¶79. In particular, Douglas-1989

   discloses a triple-quadrupole instrument using an ICP ion source, which is capable

   of operating in the modes specified by claims 13 and 28 of the ’386 Patent, and

   other dependent claims. Id., 47-49; Ex. 1004 ¶79.




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                1.    Motivation to Combine King and Douglas-1989

        A POSA would have been motivated to combine the teachings of Douglas-

   1989 with King, as Douglas-1989 is a detailed review of the use of the ICP-MS,

   which is one of the instruments referred to in King. Ex. 1037, 172; Ex. 1004 ¶80.

   In particular, King notes that users of ICP-MS had achieved varying degrees of

   success in eliminating interferences, and Douglas-1989 contains an extended

   discussion of eliminating interference in ICP-MS experiments. Id.; Ex. 1029, 47-

   49; Ex. 1004 ¶80. The applicant for the ’386 Patent noted that the alleged

   invention could be used with a variety of sources and was not limited to ICP-MS.

   Ex. 1001, 1:15-23. In 1998, a POSA would have consulted mass spectrometry

   references relating to a variety of ion sources, and would certainly be inclined to

   combine the ICP-MS disclosures of Douglas-1989 with the GD-MS disclosures of

   King. Ex. 1004 ¶80. In fact, King and co-authors were following the work of

   Douglas in 1989, having cited Douglas papers from 1982 and 1985. Ex. 1037,

   185; Ex. 1004 ¶80. Thus, both articles attempt to address the problem of

   interferences in elemental analysis performed by mass spectrometry with plasma

   sources. Ex. 1004 ¶80.




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               2.     King and Douglas-1989 Render Obvious Independent
                      Claim 28

         [28Pre]: King discloses “a mass spectrometer” as follows. Ex. 1004 ¶85.

         Element [28A]: King discloses all of the elements of claim 28 for the

   reasons set forth in Ground 1 for claim 28. But, if Patent-Owner argues that King

   does not disclose “an inductively coupled plasma ion source,” then Douglas-1989

   discloses an ICP source and it would have been obvious to modify King in view of

   Douglas-1989. Ex. 1004 ¶86.

         King describes the purpose of its investigations as showing “the removal of

   molecular interferences by CID, the identification of ion composition from

   daughter spectra, and the prediction of interfered m/z from parent spectra.” Ex.

   1037, 173; Ex. 1004 ¶¶72-73, 86. The embodiments in King use a glow discharge

   source, but King teaches that the same interference problems need to be addressed

   for ICP sources as well. Ex. 1004 ¶¶72-73, 86. A POSA would have understood

   that the ICP source in Douglas-1989 can be used for the experiments in King. Ex.

   1004 ¶¶72-73, 86. To the extent that King does not sufficiently disclose the use of

   an ICP source, King in combination with Douglas-1989 teaches this limitation.

   Ex. 1004 ¶¶72-73, 86.



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         The subject of Douglas-1989 is the ICP-MS instrument. Ex. 1004 ¶86. And

   as explained in Section IX.A, Thermo admitted during prosecution of the European

   counterpart to the ’386 Patent that Douglas-1989 discloses an ICP triple-

   quadrupole mass spectrometer instrument that can operate in the mode claimed

   here, where the first and third quadrupoles mass select at the same mass-to-charge

   ratio. Ex. 1041; Ex. 1029, 47. Thus, Douglas-1989’s ICP triple-quadrupole

   instrument meets all the structural limitations of claim 28 as explained in Section

   XI.B. To the extent that Patent Owner argues that the recited mode of operation is

   a claim limitation, King discloses this mode of operation and Douglas-1989

   discloses the use of an ICP source. Ex. 1004 ¶¶86-89. Thus, King in combination

   with Douglas-1989 renders claim 28 obvious.

         Elements [28B] and [28C]: King discloses [28B] and [28C] as discussed

   above. Ex. 1004 ¶¶87-88.

         Element [28D]: King discloses [28D] as discussed above. To the extent

   that Patent-Owner argues that King does not disclose that the first and third

   quadrupoles mass select “at the same mass-to-charge ratio,” King in view of

   Douglas-1989 teaches this element. Ex. 1004 ¶89. King discloses a first

   quadrupole as “the ion optical device” mass selecting at the first mass-to-charge

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   ratio of atomic ions of interest in a collision-induced dissociation experiment. Ex.

   1037, 182-183; Ex. 1004 ¶89.

         Douglas-1989 discloses a collision-induced dissociation experiment in

   which the third quadrupole is the “mass analyzer” at the first mass-to-charge ratio

   of atomic ions of interest. Ex. 1029, 47-48; Ex. 1004 ¶89. Douglas-1989 also

   discloses an ion-molecule reaction experiment where the third quadrupole is

   scanned synchronously with the first quadrupole. Id., 48; Ex. 1004 ¶89. In that

   experiment, the synchronous scanning is done at 16 amu offset (neutral gain scan),

   obtaining the mass spectrum shown in Figure 2A and 2B. Id. A POSA would

   have been motivated to use the synchronous scanning method of Douglas-1989 at

   the same analyte mass-to-charge ratio on King’s instrument (neutral loss of zero

   scan) to detect one or more atomic ions in a sample. Ex. 1004 ¶89. Thus, King in

   combination with Douglas-1989 renders claim 13 obvious.

                3.    King and Douglas-1989 Render Obvious Independent
                      Claim 13

        Elements [13Pre]-[13C]: King discloses [13Pre]-[13C] as discussed above.

   Ex. 1004 ¶81.




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        Elements [13D]-[13E]: King discloses [13D] and [13E]; but if Patent-

   Owner argues otherwise, it would have been obvious to modify King in view of

   Douglas-1989 for the same reasons as Element [28D]. Ex. 1004 ¶82.

                4.    King and Douglas-1989 Render Obvious Dependent Claims

         Claim 15: Douglas-1989 discloses an ICP-MS-MS experiment where “mass

   selecting and mass analyzing comprise scanning synchronously” because the third

   quadrupole, which is part of the mass analyzer, is scanned synchronously with the

   first quadrupole, which is an ion optical device. Ex. 1029, 48; Ex. 1004 ¶83. In

   Douglas-1989, the synchronous scanning is done at 16 amu offset. Id. (“The third

   quad was scanned synchronously with the first quad 16 mass units higher…”); Ex.

   1004 ¶83. As described above for Claims 13 and 28, King discloses using the

   triple-quad mass spectrometer to mass analyze the received ion beam at the same

   analyte mass-to-charge ratio as the source ion selected at Q1, meaning the offset

   between Q1 and Q3 is zero. Ex. 1037, 182-183. Using the synchronous scanning

   method of Douglas-1989 with the zero offset disclosed in King would have been

   obvious, because if a POSA would have been applying King’s method on a sample

   containing two or more analyte ions with first and second m/z ratios, respectively,

   a POSA would have been motivated to configure the first and third quadrupoles to

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   scan at the first m/z ratio at the same time, and then to scan at the second m/z ratio

   at the same time (synchronous scanning). Ex. 1004 ¶83.

         Claims 16-17: King discloses these claims for the same reasons as Element

   [13B] and claims 16-17 in Ground 1. Ex. 1004 ¶84.

         Claim 29: The King/Douglas-1989 combination teaches claim 29 for the

   same reasons as claim 15 discussed above. Ex. 1004 ¶90.

         Claim 30: As explained above in Elements [13D]-[13E], King discloses a

   mass analyzer that can be configured to mass select the ion beam from the collision

   cell at the first mass-to-charge ratio. Ex. 1037, 182-183; Ex. 1004 ¶91.

         Claims 31-32: As explained above in claims 16-17, King discloses an RF

   quadrupole as a mass selective first ion optical device. Ex. 1004 ¶¶92-93.

         Claim 34: King discloses a middle “r.f.-only quadrupole, Q2, of non-linear

   geometry” as the second ion optical device in the collision cell for containing the

   ion beam. Ex. 1037, 174; Ex. 1004 ¶94.

         Claim 37: Douglas-1989 discloses an ICP-MS-MS experiment that

   includes “mass analyzing the received ion beam at [each of the m/z ratios of CeO+

   and TbO+, which is 16 amu higher than] the mass selecting step [of Ce+ and Tb+,

   respectively].” Ex. 1029, 48, Figure 11(B); Ex. 1004 ¶95. Douglas-1989’s

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   experiment “is performed at a plurality of analyte mass to charge ratios [each Ce+

   and Tb+ has its own m/z ratio].” Id.; Ex. 1004 ¶95.

          For the same reasons as Element [28D] and claim 15, King discloses mass

   analyzing and mass selecting “at the same analyte mass to charge ratio.” A POSA

   would be motivated to applying King’s method of scanning at the same analyte

   mass-to-charge ratio (neutral loss of zero scan) when looking at a sample with

   multiple source ions such as that disclosed by Douglas-1989. Ex. 1004 ¶95.

          Claim 38: Douglas-1989 discloses “obtaining a mass spectrum of the ion

   beam [the mass spectrum in Figure 11(B)] by a synchronous scan [the third

   quadrupole was scanned synchronously with the first quadrupole] that mass

   analyzes the received ion beam at [each of the m/z ratios of CeO+ and TbO+ which

   is 16 amu higher than] the mass selecting step [of Ce+ and Tb+, respectively] at the

   plurality of analyte mass to charge ratios.” Ex. 1029, 48, Figure 11(B); Ex. 1004

   ¶96.

          For the same reasons as Element [28D] and claim 15, King discloses mass

   analyzing and mass selecting “at the same analyte mass to charge ratio.”




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          Claim 40: Douglas-1989 discloses using air instead of argon “as the

   collision gas,” which is the target gas in the collision cell. Ex. 1029, 48; Ex. 1004

   ¶97.

          Claim 41: For the same reasons as Elements [28Pre] and [28A], King in

   view of Douglas-1989 teaches “an inductively coupled plasma source.” Ex. 1004

   ¶98.

          Claim 44: As explained for claim 37, Douglas-1989 discloses an ICP-MS-

   MS experiment using cerium and terbium in the source, producing initially ions of

   Ce+, CeO+ and Tb+. Douglas-1989 discloses that the ion optical device (Q1) mass

   selects at the mass-to-charge ratio for each of the Ce+ ion [first mass-to-charge

   ratio] and the Tb+ ion [second mass-to-charge ratio]. Ex. 1029, 48. Douglas-1989

   further discloses that the mass analyzer is configured to detect at each of the m/z

   ratios of CeO+ and TbO+, which is 16 amu higher. Id.

          For the same reasons as Element [28D] and claim 15, King discloses mass

   analyzing and mass selecting “at the same mass to charge ratio,” when the same

   mass-to-charge ratio is the “second mass-to-charge ratio.” A POSA would be

   motivated to applying King’s method of scanning at the same analyte mass-to-



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   charge ratio (neutral loss of zero scan) when looking at a sample with multiple

   source ions such as that disclosed by Douglas-1989. Ex. 1004 ¶99.

         Claim 47: King discloses “the artefact ion include molecular ions [Ar2H+

   and CuH2O+].” Ex. 1037, 175, 183; Ex. 1004 ¶100.

         Claim 48: King discloses collision-induced dissociations in which “the

   artefact ions [Ar2H+ and CuH2O+] are reacted or collided with a collision gas

   [argon] in the collision cell to form ions having mass-to-charge ratios that do not

   interfere with the first mass-to-charge ratio [m/z 81], thereby removing artefact

   ions.” Ex. 1037, 183; Ex. 1004 ¶101.

         Claim 49: King discloses collision-induced dissociations in which “some of

   the artefact ions [Ar2H+ and CuH2O+] are collided with the collision gas [argon] to

   form ions that have lower mass-to-charge ratios than the first mass-to-charge

   ratio.” Id.; Ex. 1004 ¶102.

         G.     Ground 3: King in Combination with Douglas-1989 and Eiden
                Renders Obvious Claims 43, 46, and 50

        Eiden (Ex. 1023) was published in January 1997 and thus qualifies as prior

   art under 35 U.S.C. § 102(b). Ex. 1008 ¶22. Eiden is listed in the “Reference

   Cited” section of the ’386 Patent. The ’386 Patent cites to another paper by the



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   same first author and describes the research as teaching reactive collisions that use

   hydrogen to remove interfering ions. Ex. 1001, 2:24-28.

        Eiden discloses an ICP mass spectrometer with a lens stack, a collision cell,

   and an ion trap as a mass analyzer. Ex. 1023, 38, Figure 1; Ex. 1004 ¶103. Eiden

   also discloses several beneficial ion-molecule reactions for removing interfering

   ions in ICP-MS. Id., 37; Ex. 1004 ¶103.

        A POSA would have been motivated to combine the teachings of Eiden,

   Douglas-1989, and King because they all relate to the use of a collision cell to

   remove interfering ions encountered in plasma mass spectrometry. Ex. 1004 ¶104.

   King discusses using a collision cell to remove interfering ions. Ex. 1037, 171.

   Douglas-1989 discusses “ICP-MS-MS combined with ion molecule chemistry may

   provide a way around persistent interferences.” Ex. 1029, 48. Eiden reports “a

   different and novel application of ion/molecule reactions, namely, to simplify or

   otherwise alter elemental mass spectra.” Ex. 1023, 37. Eiden improves the

   combined teachings of King and Douglas-1989 by teaching new, beneficial ion-

   molecule reactions that can be used on triple-quadrupole instruments to remove

   interfering ions. Id.; Ex. 1004 ¶104.



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        Claims 43 and 46: Eiden specifically discloses pressurizing the collision

   cell with hydrogen. Ex. 1023, 38-39; Ex. 1004 ¶¶105-106.

        Claim 50: Eiden discloses certain ion-molecule reactions in which “some of

   the artefact ions [89Y+ and 90Zr+] are reacted with the collision gas [oxygen] to form

   ions [YO+ and ZrO+] that have higher mass-to-charge ratios than the first mass-to-

   charge ratio [88Sr+ ion].” Ex. 1023, 41. A POSA would have been motivated to

   perform Eiden’s ion-molecule reactions on King’s and/or Douglas-1989’s

   instruments to achieve these higher m/z ratios. Ex. 1004 ¶107.

         H.     Ground 4: King in Combination with Douglas-1989 and
                Speakman Render Obvious Claims 1-3, 6-8, 10, 12, 18-20, 22-23,
                33, 35-36, 39, 42-43 and 45-46
        Speakman qualifies as prior art under 35 U.S.C. § 102(e) because the non-

   provisional patent application that led to the issuance of Speakman on April 24,

   2001 was filed on May 30, 1997. Speakman discloses a mass spectrometer with an

   ICP source, an ion optical device, an enclosed hexapole as a collision cell (in

   Figure 1), and a mass analyzer (e.g., in Figure 3). Ex. 1024, 8:42-9:35. Speakman

   further discloses methods of using inert gases as a collision gas to remove

   interfering ions to improve the detection of the instrument. Id., 6:18-44.




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        The ’386 Patent acknowledges that a European counterpart of Speakman, EP

   Patent Application No. 0813228A1 (“Micromass”), discloses the use of a collision

   cell to remove unwanted artefact ions. Ex. 1001, 1:53–56. During the prosecution

   of the ’470 Patent, the examiner rejected the originally filed claim 1 as obvious in

   view of Micromass and two other prior art references. Ex. 1002, 2-3. In response,

   the applicant amended claim 1 to require that the first ion optical device is a mass

   selective device. Ex. 1003, 8. The applicant argued that Micromass does not

   disclose that the first ion optical device is a mass selective device, and does not

   teach that pre-collision mass filtering and post-collision mass analyzing are

   operating at the same m/z value. Ex. 1003, 10-11. The examiner did not mention

   Micromass again during prosecution or reissue proceeding.

        As discussed above, King and Douglas-1989 both disclose a first quadrupole

   as the first mass selective ion optical device. The combination of King and

   Douglas-1989 with Speakman – namely, combining King’s and Douglas-1989’s

   first mass selective device with Speakman’s instrument – was not considered by

   the examiners during the prosecution or reissue proceeding.

        Moreover, a POSA would have been motivated to combine the teachings of

   Speakman, Douglas-1989, and King because they all relate to the use of a collision

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   cell to remove interfering ions encountered in plasma mass spectrometry. Ex.

   1004 ¶¶109-110. In fact, Speakman explicitly mentions King and Douglas-1989.

   Ex. 1024, 1:57–2:20. It discusses that in Douglas-1989’s work “a triple

   quadrupole spectrometer was fitted with an ICP source with the aim of dissociating

   unwanted polyatomic ions in the centre quadrupole.” Id. It also discusses that

   King “described the use of collision-induced dissociation to remove polyatomic

   ion interferences in glow-discharge mass spectrometry. Like Douglas-1989, they

   employed a triple-quadrupole mass spectrometer and used the centre quadrupole as

   a collision cell.” Id.

        Speakman improves the combined teaching of King and Douglas-1989 by

   teaching the use of inert gases like helium to remove interfering ions. Ex. 1024,

   4:16-17, 8:14-21; Ex. 1004 ¶110. Moreover, while King describes differential

   pumping, it does not explicitly discuss the evacuated chambers, their respective

   apertures, pumps, and relative pressures of the triple-quadrupole instrument,

   whereas Speakman does. Id. Speakman thus further improves King and Douglas-

   1989 by teaching the use of multiple vacuum pumping stages for the first mass

   selective device, the collision cell, and the mass analyzer, respectively, to remove

   background gas. Id. Thus, a POSA would have been motivated to combine the

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   instrument specifics in Speakman with King’s and Douglas-1989’s instruments and

   pre-collision mass filtering modes of operation because all concern plasma mass

   spectrometers and removal of interfering ions. Id.

               1.        King in view of Douglas-1989 and Speakman Render
                         Obvious Independent Claim 1
        [1Pre]: King discloses a glow-discharge mass spectrometer. Ex. 1037, 173-

   174. Ex. 1004 ¶111.

        Element [1A]: King discloses performing the function for this element by

   disclosing “generating ions from a sample introduced into a plasma [the glow

   discharge of an NBS C1109].” Id., 182-183; Ex. 1004 ¶113. King also discloses

   the structure for performing this function as a glow discharge plasma ion source.

   Id.; Ex. 1004 ¶113.

        But if Patent Owner argues that this means-plus-function term covers only

   the structure of an ICP source, Douglas-1989 and Speakman disclose this element.

   Douglas-1989 discloses performing the function for this element by disclosing

   “generating ions [Ce+, Tb+, and CeO+] from a sample [cerium and terbium]

   introduced into a plasma”; and the structure for performing this function as an ICP

   source. Ex. 1029, 47-48; Ex. 1004 ¶113. Speakman also discloses a plasma



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   (inductively-coupled or microwave-induced) ion source to generate ions from a

   sample. Ex. 1024, 1:3–6; 8:42–47; Ex. 1004 ¶113. Thus, King in view of

   Douglas-1989 and Speakman teaches this element.

        Element [1B]: King in Figure 1 discloses “a sampling aperture (2) [a 0.5-

   mm ion exit orifice into the ion optics assembly] for transmitting some of the ions

   into an evacuated expansion chamber (3) [i.e., the chamber that contains the ion

   optics assembly and pumped by the turbomolecular pump] along a first axis (9)

   [the axis of the ion source] to form an ion beam.” Ex. 1037, 173-174, Figure 1

   (shown below); Ex. 1004 ¶¶114-115.




        Speakman in Figure 1 also discloses a sampling aperture (in a sampling cone

   3) for transmitting ions into an evacuated expansion chamber (evacuated region 6)




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   along the first axis (the axis of the nozzle-interface). Ex. 1024, 8:47-53; Figure 1

   (shown below); Ex. 1004 ¶¶116-117.




        Element [1C]: King discloses “a second aperture (5) [final lens of the ion

   optics assembly (ca. 2.5-mm aperture)] for transmitting some of the ion beam into

   a first evacuated chamber (6) [the analyzing chamber region pumped by a 170 l s-1

   turbomolecular pump].” Ex. 1037, 173-174; Ex. 1004 ¶118.

        But if Patent-Owner argues that King does not disclose “a first evacuated

   chamber,” Speakman in Figure 1 discloses a second aperture (in a skimmer 5) for

   transmitting some of the ion beam into the first evacuated chamber (evacuated

   region 8). Ex. 1024, 8:49-59; Ex. 1004 ¶118.


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        Element [1D]: Speakman in Figure 1 discloses a first pump (a

   turbomolecular pump) for maintaining the first evacuated chamber (evacuated

   region 8) at a high vacuum (approximately 10-2 torr). Ex. 1024, 8:54-59. The ’386

   Patent teaches that pressures in these ranges as “high vacuum.” Ex. 1001, 6:36-41;

   Ex. 1004 ¶119.

        Element [1E]: King discloses “a first ion optical device (17) [first

   quadrupole] located in the first evacuated chamber (6) for containing the ion beam

   wherein the first ion optical device (17) [first quadrupole] is a mass selective

   device [in a mass filter mode (selecting a mass window)].” Ex. 1037, 173-174; Ex.

   1004 ¶120. Speakman in Figure 1 discloses an ion optical device (electrostatic

   lens element 10) in the first evacuated chamber evacuated chamber (evacuated

   region 8). Ex. 1024, 8:54-65; Ex. 1004 ¶120. A POSA would have been

   motivated to put King’s first quadrupole in a first evacuated chamber as taught by

   Speakman to reduce background gas. Ex. 1004 ¶120.

        Element [1F]: Speakman in Figure 1 discloses a third aperture (in the

   electrostatic lens element 10) for transmitting the ion beam into a second evacuated

   chamber (evacuated chamber 11). Ex. 1024, 8:54-65; Ex. 1004 ¶121.



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           Element [1G]: Speakman also discloses a second pump (another

   turbomolecular pump) for maintaining the second evacuated chamber (evacuated

   region 8) at a pressure of about 10-3 torr, which is lower than the pressure

   (approximately 10-2 torr) of the first evacuated chamber (region 6). Id.; Ex. 1004

   ¶121.

           Element [1H]: King discloses “a collision cell (24) [an r.f.-only quadrupole,

   Q2, of nonlinear geometry which serves as a collision cell] having an entrance

   aperture (27) and an exit aperture (28) and pressurized with a target gas (26)

   [argon], (20).” Ex. 1037, 173-174; Ex. 1004 ¶122. Speakman in Figure 1

   discloses a hexapole collision cell comprised of six electrodes at 13-15 enclosed by

   a tube 21 pressurized with an inert gas. Ex. 1024, 11:37-41; Ex. 1004 ¶122.

           Element [1I]: King discloses “a second ion optical device (25) [an r.f.-only

   quadrupole, Q2, of nonlinear geometry] located in the collision cell (24) for

   containing the ion beam.” Ex. 1037, 173-174; Ex. 1004 ¶123. Speakman in Figure

   1 discloses a hexapole collision cell comprised of six electrodes at 13-15 enclosed

   by a tube (21). Ex. 1024, 11:37-41; Ex. 1004 ¶123. The hexapole is the second

   ion optical device for containing the ion beam. Ex. 1004 ¶123.



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        Element [1J]: As discussed above in Grounds 1 and 2, King discloses

   performing the function for the element “the mass-to-charge analyzing means” by

   disclosing experiments analyzing ions based on their m/z ratios; and the structure

   for this element as the third quadrupole. Ex. 1037, 173-174, 182-183.

        King further discloses that the “[third quadrupole] is configured to mass

   analyze the ion beam to produce a mass spectrum of the ion beam such that both

   the first ion optical device (17) [first quadrupole] and the mass-to-charge ratio

   analyzing means (37) [third quadrupole] operate at the same mass to charge ratio

   [m/z of 81].” Id., 182-183. This configuration substantially minimizes “the

   formation in the collision cell of interfering ions having the said mass to charge

   ratio,” for the same reasons set forth in Element [28C]. King also discloses “a

   second axis” because the ions exiting the nonlinear collision cell travel along a

   second axis of the mass analyzer. Ex. 1037, 174; Ex. 1004 ¶¶125-127.

        Similarly, Speakman in Figures 1 and 3 discloses a fourth aperture (19) for

   transmitting the ion beam into a third evacuated chamber (evacuated chamber 20)

   containing a mass-to-charge analyzing means (a conventional quadrupole mass

   analyzer) disposed along a second axis (the entrance axis 32 of the mass analyzer).

   Ex. 1024, 9:14-31; Figure 3 (shown below); Ex. 1004 ¶¶125-127.

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        Element [1K]: King’s instrument uses a non-linear collision cell such that

   the ion beam from the collision cell is transmitted along the “second axis,” and a

   third RF quadrupole as the “mass-to-charge ratio analyzing means.” Ex. 1037,

   174; Ex. 1004 ¶¶128-130. As discussed above in Grounds 1 and 2 for claim [13],

   King alone or in combination with Douglas-1989 teaches operating the first optical

   ion device and the mass analyzer at the same mass-to-charge ratio, and producing a

   mass spectrum of the resulting ion beam.



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          Moreover, a POSA viewing Figure 3 of Speakman would have known that

   Speakman discloses a third pump connected to port 28 for maintaining the third

   evacuated chamber at a high vacuum. Ex. 1004 ¶¶128-130. A POSA also would

   have understood that a mass analyzer and the detector would typically be operated

   at a pressure lower than the previous chamber. Id. King discloses the operating

   pressure of its quadrupole mass analyzer as 10-5 torr. Ex. 1037, 173. Speakman

   teaches maintaining the second evacuated chamber (evacuated region 8) at a

   pressure of about 10-3 torr. Ex. 1024, 8:54-65. Therefore, King in view of

   Speakman teaches using a pressure at the mass analyzer chamber at least one order

   of magnitude lower than the pressures of the previous chambers. Ex. 1004 ¶¶128-

   130.

                2.    King in view of Douglas-1989 and Speakman Render
                      Obvious Many Dependent Claims

          Claim 2: Speakman discloses the pressure of the first evacuated chamber

   (region 6) is approximately 10-2 torr, which is about 10-2 mbar. Ex. 1024, 8:54-65;

   Ex. 1004 ¶131.

          Claim 3: Determining the optimal pressure for each vacuum pumping stage

   was routine and known in the art as of 1998. Ex. 1004 ¶131. For example,



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   Speakman discloses the pressure of the first evacuated chamber (region 6) is

   approximately 10-2 torr, which is about 10-2 mbar. Ex. 1024, 8:54-65; Ex. 1004

   ¶131. A POSA would have recognized that there is nothing significant about the

   narrow range of 1-2x10-3 mbar. Ex. 1004 ¶131; In re Aller, 220 F.2d 454, 456

   (C.C.P.A. 1955). (“[W]here the general conditions of a claim are disclosed in the

   prior art, it is not inventive to discover the optimum or workable ranges by routine

   experimentation.”). As such, King in view of Speakman teaches the features of

   claims 2-3.

         Claim 6: King discloses “the mass-to-charge ratio analyzing means (37)

   [the third quadrupole … (r.f. only or mass filtering)] includes a main mass filter

   which preferably is an RF quadrupole.” Ex. 1037, 174; Ex. 1004 ¶132.

         Claim 7: King’s instrument has a mass selective RF quadrupole as the “first

   ion optical device.” Ex. 1037, 174; Ex. 1044 ¶133.

         Claims 8 and 23: King discloses “the second ion optical device (25) [an

   r.f.-only quadrupole, Q2, of nonlinear geometry] is an RF quadrupole.” Id.; Ex.

   1004 ¶¶134, 143.

         Claim 10: King discloses “the second axis (36) of the mass to charge ratio

   analyzing means (37) is offset from the first axis (9)” because the ion beam travels

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   along the first axis into the second quadrupole of nonlinear geometry as a collision

   cell, and exits the collision cell along the second axis. Id.; Ex. 1004 ¶¶135-136.

         Speakman in Figure 1 discloses a first axis (the axis of the nozzle-interface)

   that is offset from a second axis (the entrance axis 32 of the mass analyzer). Ex.

   1024, 9:14-31; Ex. 1004 ¶¶135-136.

         Claim 12: King/Douglas-1989/Speakman teach “the first ion optical device

   and the mass-to-charge analyzing means are configured to scan synchronously” for

   the same reasons as claim 15 in Ground 2. Ex. 1004 ¶137.

         Claim 18: King/Douglas-1989/Speakman teach “the first mass selective ion

   optical device is located in a first evacuated chamber maintained at high vacuum”

   for the same reasons as Elements [1D] and [1E]. Ex. 1004 ¶138.

         Claim 19: Speakman discloses “the first evacuated chamber [region 6] is

   maintained at a pressure of approximately 10-2 to 10-4 mbar [approximately 10-2

   torr].” Ex. 1024, 8:54-65; Ex. 1004 ¶139.

         Claim 20: The King/Speakman combination teaches this claim for the same

   reason as claim 3. Ex. 1004 ¶140.

         Claim 22: King discloses “the collision cell [an r.f.-only quadrupole, Q2, of

   nonlinear geometry which serves as a collision cell]” and “the ion beam being

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   contained … by a second ion optical device [r.f. only quadrupole Q2].” Ex. 1037,

   173-174; Ex. 1004 ¶¶141-142.

         Speakman in Figure 1 discloses a hexapole collision cell comprised of six

   electrodes at 13-15 enclosed by a tube (21). Ex. 1024, 11:37-41; Ex. 1004 ¶¶141-

   142. The hexapole is the second ion optical device for containing the ion beam.

   Id., 8:54-65; Ex. 1004 ¶¶141-142. Speakman also discloses maintaining the

   second evacuated chamber (evacuated region 8) at a pressure of about 10-3 torr,

   which is lower than the pressure (approximately 10-2 torr) of the first evacuated

   chamber (region 6). Id.; Ex. 1004 ¶¶141-142.

         Claim 33: King/Douglas-1989/Speakman teaches claim 33 for the same

   reasons as Elements [1E], [1H], and [1J]. Ex. 1004 ¶144.

         Claims 35, 39, 42, and 45: King discloses that the glow discharge source

   operates at a pressure of 1 mtorr argon. Ex. 1037 at 182. Douglas-1989 discloses

   an ICP source, which typically uses argon as the plasma gas. Ex. 1029 at 47

   (discussing argon-based interfering ions).

         Speakman discloses a first vacuum pump for maintaining a first evacuated

   chamber (evacuated region 8) at a high vacuum (approximately 10-2 torr) before

   the collision cell. Ex. 1024, 8:54-59. This vacuum pump of the first evacuated

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   chamber removes the general background gas load, e.g., the plasma argon gas,

   preventing it from entering into the collision cell, as explained in the ’386 Patent.

   Ex. 1001, 3:49-60. Consequently, the collision does not contain a significant

   partial pressure of argon. Ex. 1004 ¶¶145-146, 148-149, 150, 152.

         Claim 36: The King/Douglas-1989/Speakman combination teaches claim

   36 for the same reasons as claim 38. Ex. 1004 ¶147.

         Claims 43 and 46: Speakman discloses “the collision cell [hexapole ion

   guide (12) enclosed by a tube (21) in Figure 1] is pressurized with helium

   [helium].” Ex. 1024, 3:37–40; 4:10–15; 11:37-46. In view of Speakman, a POSA

   would have been motivated to use helium as a collision gas in King’s and/or

   Douglas-1989’s instruments. Ex. 1004 ¶¶151, 153. Thus, King in view of

   Douglas-1989 and Speakman teaches the limitations of claims 43 and 46.

         I.     Ground 5: King in Combination with Douglas-1989, Speakman,
                and Yost Renders Obvious Claims 4, 5, 14, 25-27, 39, 42, and 45

        Yost (Ex. 1015) was published in 1983 and thus qualifies as prior art under

   35 U.S.C. § 102(b). Ex. 1008 ¶21. Yost is a review paper on the instrumentation

   of tandem mass spectrometry, particularly triple-quadrupole instruments, as of

   1983. Ex. 1004 ¶154.



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        A POSA would have motivated to combine the teachings in King, Douglas-

   1989, Speakman, and Yost. King and Douglas-1989 both discuss the use of triple-

   quadrupole instrument to remove interfering ions in elemental analysis. Ex. 1037,

   171-173; Ex. 1029, 47-48; Ex. 1004 ¶155. Speakman teaches the use of multiple

   vacuum pumping stages and offset axes for ICP-MS to reduce the background gas

   loading. Ex 1024, 5:10-30; Ex. 1004 ¶155. Yost provides a review of the triple-

   quadrupole instruments and other tandem mass spectrometers, their components,

   and operations as of 1983. Ex. 1004 ¶155. Yost improves King/Douglas-

   1989/Speakman by teaching various structural components, arrangements, and

   operations of tandem mass spectrometers to improve detection for elemental

   analysis. Ex. 1004 ¶155. Particularly, King uses a modified Finnigan MAT series

   4500 triple-quadrupole instrument, and Yost discusses a Finnigan MAT TSQ

   triple-quadrupole instrument. Ex. 1037, 173; Ex. 1015, Figure 5; Ex. 1004 ¶155.

        Claim 4: Figure 5 of Yost shows a Finnigan MAT TSQ triple-stage

   quadrupole instrument drawn to scale. Ex. 1015, Figure 5.




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        In this Finnigan MAT TSQ instrument, “a gap of [close to] 2 cm between the

   third aperture (19) and the entrance aperture (27) of the collision cell (24).” Ex.

   1015, Figure 5; Ex. 1004 ¶¶156-157. In view of Speakman and Yost, a POSA

   would have been motivated to try a gap of at least 2 cm between the third aperture

   and the entrance of the collision cell to reduce background gas loading on the

   collision cell in King’s or Douglas-1989’s instruments. Ex. 1004 ¶¶156-157; In re

   Aller, 220 F.2d at 456 (“[W]here the general conditions of a claim are disclosed in

   the prior art, it is not inventive to discover the optimum or workable ranges by

   routine experimentation.”).




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        Claims 5 and 14: Yost discloses that in the Finnigan MAT TSQ instrument,

   “a distance of 90 to 200 mm is maintained between the ion source and an entrance

   aperture of the collision cell.” Ex. 1015, Figure 5; Ex. 1004 ¶158. In view of

   Yost, a POSA would have been motivated to put a distance of 90 to 200 mm

   between the ion source and the collision cell to reduce background gas loading on

   the collision cell in King’s instrument. Ex. 1004 ¶158.

        Claim 25: King in view of Speakman teaches “transmitting at least a portion

   of the ion beam from the ion source through a sampling aperture into an evacuated

   expansion chamber along a first axis, into the first evacuated chamber through a

   second aperture” for the same reasons as Elements [1B] and [1C].

        King in view of Speakman also teaches “transmitting at least a portion of the

   mass selected ion beam into the collision cell includes transmitting at least a

   portion of the ion beam into the second evacuated chamber through a third

   aperture” for the same reasons as Elements [1F]-[1H].

        The King/Douglas-1989/Speakman/Yost combination teaches that “a gap of

   [close to] 2 cm is maintained between the third aperture and an entrance aperture

   of the collision cell,” for the same reasons as claim 4. Ex. 1004 ¶159.



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           Claim 26: King in view of Speakman teaches this claim for the same

   reasons as Elements [1J] and [1K]. Ex. 1004 ¶160.

           Claim 27: King in view of Speakman teaches this claim for the same

   reasons as claim 10. Ex. 1004 ¶161.

           Claims 39, 42, and 45: King discloses that the glow discharge source

   operates at a pressure of 1 mtorr argon. Ex. 1037, 182; Ex. 1004 ¶162.

           Douglas-1989 discloses an ICP source, which typically uses argon as the

   plasma gas. Ex. 1029, 47 (discussing argon-based interfering ions); Ex. 1004

   ¶162.

           Speakman discloses a first vacuum pump for maintaining a first evacuated

   chamber (evacuated region 8) at a high vacuum (approximately 10-2 torr) before

   the collision cell. Ex. 1024, 8:54-59; Ex. 1004 ¶163. This vacuum pump of the

   first evacuated chamber removes the general background gas load, e.g., the plasma

   argon gas, preventing it from entering into the collision cell, as explained in the

   ’386 Patent. Ex. 1001, 3:49-60; Ex. 1004 ¶163.

           Moreover, in the Finnigan instrument of Yost Figure 5, the distance between

   the ion source and the entrance aperture of the collision cell is 90 to 200 mm. Ex.

   1015, Figure 5; Ex. 1004 ¶164. This distance allows the flow of the background

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   gas to diverge from the ion beam and reduces the gas load on the collision cell, as

   explained in the ’386 Patent. Ex. 1001, 4:8-59; Ex. 1004 ¶164. Consequently, the

   collision cell does not contain a significant partial pressure of argon. Ex. 1004

   ¶164.

   XII. CONCLUSION

           Petitioner respectfully requests that this petition be granted, that inter partes

   review be instituted, and that claims 1-8, 10, 12-20, 22-23, and 25-50 of the ’386

   Patent be found unpatentable and cancelled.

   XIII. CERTIFICATE OF WORD COUNT

           Pursuant to 37 C.F.R. § 42.24, the undersigned attorney for the Petitioner

   declares that the argument section of this Petition (Sections I, III-XII) has a total of

   13,978 words, according to the word count tool in Microsoft Word™.

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                            CERTIFICATE OF SERVICE

         The undersigned certifies service pursuant to 37 C.F.R. §§ 42.6(e) and

   42.105(a), (b) on the Patent-Owner via UPS overnight mail of a copy of this

   Petition for Inter Partes Review and supporting materials at the Patent-Owner at

   the correspondence address of record for the ’386 Patent:

     David B. Raczkowski, or To Whom It May Concern
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     Two Embarcadero Center, Suite 1900
     San Francisco, CA 94111.




   DATED: December 13, 2017              By: /Brian M. Buroker/
                                         (Reg. No. 39125)

                                         Attorney for Petitioner




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                                     Petitioner

                                         v.

                          Thermo Fisher Scientific Inc. and
                      Thermo Fisher Scientific (Bremen) GmbH,
                                   Patent Owner.

                             _____________________

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                        (1997): 72-79. (“Kishi”)
    1035                Montaser, Akbar et al., An Introduction to ICP
                        Spectrometries for Elemental Analysis 1 in Inductively
                        Coupled Plasma Mass Spectrometry (Akbar Montaser, ed.
                        1998).
    1036                U.S. Patent No. 6,140,638 (“Tanner-Patent”)

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                        TABLE OF EXHIBITS (continued)

    Exhibit Number      Document
    1037                King, F.L., et al., “Collision-Induced Dissociation of
                        Polyatomic Ions in Glow Discharge Mass Spectrometry,”
                        International Journal of Mass Spectrometry and Ion
                        Processes, 1989, vol. 89, pp. 171-185.
    1038                Turner, Patrick, et al., “Instrumentation For Low and High-
                        Resolution ICP/MS”: Inductively Coupled Plasma Mass
                        Spectrometry, Publication Wiley-VCH, edited by A.
                        Montaser, 1998, p. 421-501. (“Turner”)
    1039                Terzić, I., and D. Ćirić. “The double cylindrical
                        electrostatic sector as an ion energy analyzer.” Nuclear
                        Instruments and Methods 166, no. 3 (1979): 419-423.
                        (“Terzic”)
    1040                1992 Pittcon (The Pittsburgh Conference on Analytical
                        Chemistry and Applied Spectroscopy) “Practical MS/MS
                        Analysis” Short Course, Lecture 7
    1041                May 12, 2015 Response Regarding European Patent
                        Application No. 14175305.3




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                                                          Petition for Inter Partes Review
                                                             of U.S. Patent No. RE45,386

   I.    INTRODUCTION

         Pursuant to 35 U.S.C. § 311, Agilent Technologies, Inc. (“Agilent” or

   “Petitioner”) submits this petition for inter partes review (“IPR”), seeking

   cancellation of Claims 1-50 of U.S. Patent No. RE45,386 (“the ’386 Patent,” Ex.

   1001). These claims are unpatentable under 35 U.S.C. §§ 102 and 103 over the

   prior art references identified and applied in this petition.


   II.   MANDATORY NOTICES

         Pursuant to 37 C.F.R. § 42.8, Petitioner provides the following mandatory

   disclosures:

         A.       Real Parties-in-Interest

         Agilent Technologies, Inc. (“Agilent”) is the real party-in-interest.

         B.       Related Matters

         Pursuant to 37 C.F.R. § 42.8(b)(2), the ’386 Patent is the subject of a patent

   litigation suit brought by Patent Owner (see Ex. 1004). Petitioner is concurrently

   filing another petition for IPR of the ’386 Patent; and two petitions for IPR of two

   other patents asserted in that litigation: related U.S. Patent No. 7,230,232 and U.S.

   Patent No. RE45,553, respectively.




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         C.    Lead and Back-Up Counsel

        Petitioner provides the following designation of counsel:


         Lead Counsel                              Back-up Counsel

    Brian M. Buroker                           Anne Y. Brody
    (Reg. No. 39125)                           (Reg. No. 54612)
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        A Power of Attorney accompanies this petition in accordance with 37 C.F.R.

   § 42.10(b). Service via hand delivery or postal mail may be made at the addresses

   of the lead and back-up counsel above. Petitioner hereby consents to electronic

   service, and service via electronic mail may be made at the email addresses

   provided above for the lead and back-up counsel.




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   III.   PAYMENT OF FEES

          Pursuant to 37 C.F.R. §§ 42.103 and 42.15(a), $37600 is being paid via

   deposit account 501408. Any additional fees due in connection with this petition

   may be charged to the foregoing account.

   IV.    STANDING

          Pursuant to 37 C.F.R. § 42.104(a), Petitioner certifies that the ’386 Patent is

   available for IPR and that Petitioner is not barred or estopped from requesting IPR

   of the claims on the grounds identified herein.

   V.     IDENTIFICATION OF CHALLENGE AND STATEMENT OF
          PRECISE RELIEF REQUESTED
          Pursuant to 37 C.F.R. § 42.104(b), Petitioner requests that the Board institute

   inter partes review of claims 1, 5-11, 13-21, 23-24, 28-35, 37-50 of the ’386 Patent

   on one or more grounds under pre-AIA 35 U.S.C. §§ 102 and/or 103.

   VI.    THRESHOLD REQUIREMENT FOR INTER PARTES REVIEW

          Under 35 U.S.C. § 314(a), institution of inter partes review requires “a

   reasonable likelihood that the petitioner would prevail with respect to at least 1 of

   the claims challenged in the petition.” This petition meets this threshold for each

   of the asserted grounds of unpatentability.



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   VII. STATEMENT OF REASONS FOR THE RELIEF REQUESTED

        Petitioner requests institution on the seven grounds:

         A.    Grounds

                Ground 1:      Douglas-1989 in Combination with Johnston
                               Renders Obvious Claims 13, 15-17, 28-32, 34, 37-
                               38, 40-41, 47-50 under § 103

                Ground 2:      Douglas-1989 in Combination with Johnston and
                               Whitehouse Renders Obvious Claims 18-20 and 33
                               under § 103

                Ground 3:      Douglas-1989 in Combination with Louris Renders
                               Obvious Claims 13, 15-17, 28-32, 34, 37-38, 40-41,
                               47-50 under § 103

                Ground 4:      Douglas-1989 in Combination with Louris and
                               Whitehouse Renders Obvious Claims 18-20 and 33
                               under § 103

                Ground 5:      Tanner-Patent in Combination with Rowan Renders
                               Obvious Claims 13 and 28 under § 103

                Ground 6:      Tanner-Patent in Combination with Rowan and
                               Kishi Renders Obvious Claims 1, 5-10, 14, 16-17,
                               23-24, 31-34, 35, 39-50 under § 103

                Ground 7:      Tanner-Patent in Combination with Rowan, Kishi,
                               and Turner Renders Obvious Claims 11 and 21
                               under § 103

        The Declaration of Richard Yost, Ph.D., a world-renowned expert in mass

   spectrometry, accompanies this petition. Ex. 1004.


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        B.     Priority Date of the ’386 Patent

       For purposes of this petition, Agilent assumes that the claims of the ’386

  Patent are entitled to a priority date of September 16, 1998.

  VIII. STATE OF THE ART

        A.     Person of Ordinary Skill in the Art
       A person of ordinary skill in the art in September 1998 would have a Ph.D. or

  a Master’s degree, or an equivalent education or practical experience, in chemistry,

  physics, or a related field, and at least two-to-three years of experience in

  developing the instrumentation and/or the applications of plasma ionization mass

  spectrometry and/or tandem mass spectrometry (hereinafter, “POSA”). Ex. 1004

  ¶¶20-22.

        B.     Scope and Content of the Art Before September 1998

               1.     Mass Spectrometry
       Mass spectrometry (“MS”) is an analytical technique used to identify and

  quantify chemical elements and compounds (i.e., atoms and molecules,

  respectively) in a sample based on the atomic mass and charge state of the

  constituents in the composition. Ex. 1014, 281-282; Ex. 1004 ¶32.




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       Typically, a sample containing atoms or molecules of interest is introduced

  into the ion source of a mass spectrometer. Id.; Ex. 1015, 6-9; Ex. 1004 ¶¶33-34.

  The ion source induces either a positive or a negative charge in the neutral atoms

  and molecules, generating positive or negative ions. Ex. 1014, 281-282; Ex. 1015,

  6-9; Ex. 1004 ¶¶33-34. In most instruments, only the positive ions are

  electrostatically guided by ion optics into a portion of the mass spectrometer called

  a “mass analyzer.” Ex. 1014, 281-282; Ex. 1015, 9; Ex. 1004 ¶¶33-34. The mass

  analyzer allows ions of a specific mass-to-charge ratio (m/z) to pass through to a

  detector apparatus while preventing all other ions from reaching the detector when

  the detector is measuring ions of a set m/z value. Ex. 1015, 16; Ex. 1004 ¶¶33-34.

               2.     Quadrupole Mass Analyzer

       A quadrupole is the most common mass analyzer used in modern mass

  spectrometry. Ex. 1016, 617; Ex. 1004 ¶35. It comprises four parallel rods

  arranged in a radial array at 90° intervals, with opposite pairs of rods electrically

  connected. Id., 618; Ex. 1004 ¶35. There are two main modes of operating a

  quadrupole: RF-only and RF-DC mode. Id., 621-622; Ex. 1004 ¶35. In the RF-

  only mode, the quadrupole would transmit all ions above a certain m/z cutoff

  (“total ion mode”). Id.; Ex. 1004 ¶35. When a combination of RF and DC

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  voltages is applied between the rod pairs, the quadrupole transmits ions between

  upper and lower m/z cutoffs. Id.; Ex. 1004 ¶35. As the DC-to-RF ratio increases,

  the quadrupole’s transmission band narrows. Id.; Ex. 1004 ¶35. At a certain DC-

  to-RF ratio, this transmission band would be so narrow as to allow only ions of a

  specific integer m/z to pass through (“unit mass resolution”). Id.; Ex. 1004 ¶35. If

  the magnitude of the DC and RF voltages is continuously increased over time

  while keeping the DC/RF ratio constant, the mass filter will scan over a range of

  m/z values and generate a mass spectrum (“full-scan mode”). Ex. 1016, 621; Ex.

  1004 ¶35.

               3.    Tandem Mass Spectrometry

       Quadrupole mass spectrometers may have two or more quadrupoles arranged

  in tandem. Exs. 1018-1020; Ex. 1004 ¶36. Each of the quadrupoles can be

  designed to operate independently and/or with one another. Exs. 1018-1020; Ex.

  1004 ¶36.


       Dr. Yost and his colleagues were the first to introduce a RF-driven collision

  cell in a triple-quadrupole instrument. Ex. 1019; Ex. 1004 ¶37. This instrument

  comprised a first quadrupole, an enclosed RF-only quadrupole used as a

  collision/reaction cell, and a third quadrupole. Id., Figure 2; Ex. 1004 ¶37. In that

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  device, the first quadrupole mass filters the selected ions of interest. Id., 9:14-20;

  10:12-17; Ex. 1004 ¶37. The second RF-only quadrupole is part of a

  collision/reaction cell pressurized with a gas, where fragmentation and/or reactions

  of the ions may take place. Id., 5:51-64; 9:27-61; Ex. 1004 ¶37. The third

  quadrupole mass analyzes the resulting ions transmitted from the collision cell. Id.

  at 9:14-20; 10:12-17; Ex. 1004 ¶37. Such triple-quadrupole instruments are also

  known as tandem mass or MS/MS spectrometers. Exs. 1014-1016; Ex. 1004 ¶37.


       There are a few fundamental control parameters in the triple-quadrupole

  instrument. Exs. 1014-1015, 1016, 1021-1022; Ex. 1004 ¶38. For instance, each

  of the first and third quadrupoles can be individually set to pass only ions of a

  single m/z, ions within a range of m/z ratios, or all ions (above a lower m/z limit

  inherent in the quadrupole). Ex. 1015, 3-5; Ex. 1021, 207-211; Ex. 1022, 1; Ex.

  1004 ¶38. Where either a range of ions or all ions are passed by a quadrupole, that

  may be accomplished by either (i) allowing all ions in the selected range of m/z

  values to pass at once, or (ii) incrementally scanning over a range of m/z values

  such that at any given time only those ions having an m/z value within the open

  “window” will pass through the quadrupole. Ex. 1004 ¶38. The middle



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  quadrupole can be pressurized with a target gas (acting as a collision/reaction cell)

  or not pressurized. Ex. 1015, 3-5; Ex. 1004 ¶38. These user-selectable parameters

  provide a variety of operational modes in a triple-quadrupole instrument. Exs.

  1014-1015, 1016, 1021-1022; Ex. 1004 ¶¶39-49.


       Figure 2 below depicts tandem MS (MS/MS) modes commonly used on a

  triple-quadrupole instrument. Ex. 1004 ¶42. In each of the four schemes of Figure

  2, collision/reaction gas is introduced into the central quadrupole Q2, which is

  operating in RF-only mode. Id. Interaction with the collision/reaction gas might

  cause: fragmentation of polyatomic species, energy transfer, charge transfer, and/or

  ion-molecule reactions between the affected ions and the collision/reaction gas.

  Exs. 1028-1029; Exs. 1032-1033; Ex. 1004 ¶42. Fragmentation results in new ions

  with lower m/z values, sometimes referred to as a neutral loss; energy transfer may

  result in ions with less kinetic energy, charge transfer may neutralize an interfering

  ion; and ion-molecule reactions may as result in new ions with new, often higher,

  m/z values, sometimes referred to as a neutral gain. Exs. 1028-1029; Exs. 1032-

  1033; Ex. 1004 ¶42.




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  Figure 2. MS/MS scan modes on a triple-quadrupole mass spectrometer.


       Daughter Scan: In the top scheme of Figure 2, Q1 is set to pass only ions

  with a specific m/z value, often referred to as “parent ions.” Ex. 1015, 3; Ex. 1017,

  1252; Ex. 1004 ¶43. Q3 incrementally scans over a user-specified range of m/z

  values from low to high. Ex. 1004 ¶43. This mode may be used to identify all the

  “daughter ions” formed in Q2 by either collisional fragmentation of the selected

  parent ion, or reaction of the collision/reaction gas with the selected parent ion. Id.

  If no reaction with the parent ion occurs, Q3 would pass the parent ion when Q3

  scans over the m/z value of the parent ion. Id.


       Parent Scan: In the second scheme of Figure 2, Q1 incrementally scans a

  user-specified range of m/z values from low to high, and Q3 is set at a fixed m/z

  value to pass only daughter ions with that specific m/z value. Ex. 1004 ¶44. This

  type of scan may be used to identify all the parent ions from the ion source that

  form the selected daughter ion by collision or reaction in Q2. Ex. 1015, 3; Ex.

  1017, 1252; Ex. 1004 ¶44.


       Neutral Loss [or Gain] Scan: In the third scheme of Figure 2, Q1 and Q3 are

  both set to scan synchronously over an equivalent user-selected range of m/z

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  values with a fixed difference in m/z values. Ex. 1004 ¶45. The scheme depicts a

  neutral loss; i.e., a mass shift from a parent ion with a higher m/z value to a

  daughter ion having a lower m/z value as a result of collisions/reactions. Id. This

  scan may be used to identify all the daughter ions which arise from a specific

  neutral loss known or hypothesized. Ex. 1015, 3; Ex. 1017, 1252; Ex. 1004 ¶45.

  Also, using a reaction gas, ions transmitted by Q1 could react in Q2 to form

  product ions of higher m/z. These could be monitored by a neutral gain scan, with

  Q3 synchronously scanning with a positive mass offset from Q1. Ex. 1004 ¶45.


        Neutral Loss of Zero Scan. Where ions of interest that pass through Q1 do

  not fragment or react in the collision cell and thus retain their initial m/z value, the

  neutral offset is zero. Ex. 1004 ¶¶46-48. If there are interfering ions that also pass

  through Q1, they may fragment to form lower m/z ions or react to form higher m/z

  ions in Q2. Id. Under these circumstances, Q1 and Q3 are synchronously scanned

  with no offset. Id. That is, both Q1 and Q3 are set to transmit ions having the same

  m/z value. Ex. 1022, Figs. 2 and 4; Ex. 1030, 2924; Ex. 1004 ¶¶46-48. Neutral

  loss of zero scan modes were known and routinely used since the 1980’s. Ex.

  1030, 2919, 2924; Ex. 1022, 1-3; Ex. 1040; Ex. 1004 ¶¶46-48.



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       Selected Reaction Monitoring (SRM): In the last scheme of Figure 2, each of

  Q1 and Q3 are set to filter out all but either a single parent ion and single daughter

  ion at selected m/z values, or a series of selected parent ion/daughter ion pairs. Ex.

  1015, 3-5; Ex. 1017, 1252; Ex. 1004 ¶49; Ex. 1029, 47-49 (describing an SRM

  experiment in which the parent ion resulted in a 16 amu mass shift after reacting

  with a target gas in Q2); Ex. 1004 ¶49.


       A schematic of a triple-quadrupole instrument available in the 1980s is

  shown below. Ex. 1015, 21; Figure 5. This instrument offered automatic control

  and data handling by a computer system. Id.; Ex. 1004 ¶50.




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       Moreover, the quadrupoles may be placed in separate chambers with one or

  more vacuum pumps. Exs. 1020, 1025; Ex. 1004 ¶¶50-51. The use of differential

  pumping in mass spectrometers has been implemented by researchers and on

  commercial instruments for over 40 years. Exs. 1018, 1020, 1025; Ex. 1004 ¶¶50-

  51. The introduction of ion sources that operate at pressures higher than those at

  which mass analyzers and detectors can efficiently operate has made differential

  pumping a common element of most modern mass spectrometers. Ex. 1004 ¶¶50-

  51. High vacuum is required in the mass analysis and detection region of the mass

  spectrometer system for two primary reasons—first, to increase the mean-free-path

  of ions (i.e., how far ions travel between collisions with background gas

  molecules) to prevent collisions from diverting ions, and second, to prevent arcing

  of the high voltages generally employed in mass analyzers and detectors. Id.

  Since the primary source of gas into the vacuum system arises from the ion source,

  the pressures in successive stage of vacuum pumping generally are highest in the

  first stage (by the ion source) and are lowest in the last stage (mass analyzer and

  detector). Ex. 1035, 18-19; Ex. 1004 ¶¶50-51.




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               4.    Plasma Ion Source

       All ion sources serve the same purpose—to convert atoms and/or molecules

  in a sample into ions that can be conveyed into a mass analyzer. Ex. 1015, 6-9;

  Exs. 1026-1028; Ex. 1004 ¶¶52-53. A number of ion sources have been developed

  for analyzing the elemental species (atoms) in a sample. Ex. 1026; Ex. 1004 ¶¶52-

  53. Classic ion sources for ionizing atoms include a DC arc and an AC spark.

  Exs. 1026, 1029; Ex. 1004 ¶¶52-53. The preferred ionization source for the past

  twenty years is the inductively coupled plasma (“ICP”). Ex. 1031, 333; Ex. 1032,

  1431-1444; Ex. 1004 ¶¶52-53. The ICP ion source typically uses argon gas to

  form a plasma and converts the sample into atomic ions. Ex. 1031, 333; Ex. 1004

  ¶¶52-53. Other common types of plasma ion sources for elemental analysis are

  microwave-induced plasma (“MIP”) and glow discharge plasma (“GD”). Ex.

  1026, 322-326; Exs. 1028-1029; Ex. 1004 ¶¶52-53.

               5.    Spectroscopic Interferences

       In elemental mass spectrometry, only certain atomic ions from the ion source

  are of interest. Ex. 1026, 321; Ex. 1004 ¶54. However, one significant problem

  with plasma ion sources remains to be other atomic or molecular ions from the ion

  source that have m/z ratios similar to those of the atomic ions of interest. Ex.


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  1024, 1:7-32; Ex. 1004 ¶54. They would interfere with the detection of the atomic

  ions of interest. Id. For example, the polyatomic ion 40Ar16O+ can interfere with

  the detection of 56Fe+. Ex. 1033, 976; Ex. 1004 ¶54. These interfering ions come

  from the plasma gas, the sample matrix, and/or the vacuum background gases,

  alone or in combination. Ex. 1029, 47; Ex. 1012, 3:34–4:10; Ex. 1004 ¶54.


        Researchers have used a collision/reaction cell to reduce the number of

  interfering ions that reach the detector, and thereby reduce their impact on

  elemental analysis. Exs. 1006; 1012; 1023-1024; 1028-1029; 1032-1033; Ex. 1004

  ¶¶55-57. As a result of the collisions/reactions with a target gas, interfering ions

  from the ion source may form new ions with m/z ratios different from that of the

  atomic ion of interest and thereby no longer interfere with the detection. Exs.

  1028-1029; Exs. 1032-1033; Ex. 1033, 979-980; Ex. 1004 ¶¶55-57.


        However, there may also be other ions in the ion beam with m/z ratios

  different from that of the atomic ion of interest. Ex. 1033, 979-980; Ex. 1004

  ¶¶55-57. These ions may form new product ions in the collision/reaction cell with

  an m/z ratio similar to that of the atomic ion of interest (i.e., new interfering ions).

  Id.; Ex. 1004 ¶¶55-57. Consequently, researchers suggested using a mass selective


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  device to filter out these ions before the collision cell. Id.; Ex. 1004 ¶¶55-57. By

  allowing only ions with the m/z of interest to enter into the collision cell, any new

  product ions formed in the cell would probably not have that m/z of interest. Id.;

  Ex. 1004 ¶¶55-57. Thus, the formation of new interfering ions is reduced by mass

  selecting the ions prior to the collision cell. Id.; Ex. 1004 ¶¶55-57.

               6.     Photons and Neutral Species

       Many ion sources inevitably generate some amount of neutral species and

  photons, including ICP and GD sources. Ex. 1012, 3:34–4:10; Ex. 1018, 2:1-19;

  Ex. 1004 ¶58. In the absence of other means to divert their path (e.g., vacuum

  systems), these neutral species and photons are assumed to travel in a straight line

  from the ion source to the detector, increasing the background noise. Ex. 1018,

  2:57-3:20; Ex. 1004 ¶58. To reduce such background noise, many instruments use

  ion optics to bend the path of the ions so that the ions would either travel around a

  photon stop or be sent off-axis towards a detector mounted off-axis. Ex. 1034, 2-3;

  Ex. 1004 ¶58. In contrast, the neutral species and the photons would still travel in

  a straight line and strike the photon stop or not be bent towards an off-axis

  detector. Id.; Ex. 1018, 2:57-3:20; Ex. 1004 ¶58.




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  IX.   THE ’386 PATENT

        The ’386 Patent is a reissue from U.S. Patent No. 7,202,470. The ’470 patent

  claimed priority to a GB patent application 98202104, filed on September 16,

  1998. The reissue application was filed on September 19, 2013 (Application

  Number 14/032,096).

        A.     Patent-Owner’s Admissions to European Patent Office

        During the European prosecution of substantially similar claims to those

  challenged in this petition, Thermo admitted that Douglas-1989 (Ex. 1029)

  disclosed an ICP triple-quadrupole instrument that could be operated such that the

  same range of mass-to-charge ratio is selected at the first and third quadrupoles.

  Ex. 1041, 1-3 (discussing “D3,” which is Ex. 1029 (“Douglas-1989”)). According

  to Thermo, the novelty of the claimed invention is the configuration of prior art

  instrumentation in a mode that was “not routinely used.” Id., 1. In other words,

  Thermo only argued that the distinguishing feature is the configuration of the prior

  art instrument such that the same range of mass-to-charge ratio is selected at the

  first and third quadrupoles. Id., 2. Moreover, as acknowledged by Thermo,

  Douglas-1989’s experiment disclosed synchronous scanning of the first and third

  quadrupoles at a constant offset of 16 (neutral gain scan). Id.


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        B.     The ’386 Patent Claims

       The ’386 Patent has three independent claims—Claim 1, 13, and 28. Claim 1

  is an apparatus claim for a mass spectrometer with three evacuated chambers, three

  pumps, a collision cell, and multiple apertures between chambers.


       Claim 13 is a method claim for operating a mass spectrometer where there is

  mass selection before the collision cell and mass analyzing after the collision cell.


       Claim 28 is an apparatus claim for a mass spectrometer which includes a

  plasma ion source, an ion optical device, a collision cell, and a mass analyzer. The

  originally issued claim 28 recites a plasma ion source, whereas the reissued claim

  28 requires an ICP source.


       The full text of the claims can be found in the chart below. In the following

  discussion, brackets are used to identify claim elements (e.g., “[1E]”)..

                                       ’386 Patent
   [1Pre.] A mass spectrometer comprising:
   [1A.] means (1) for generating ions from a sample introduced into a plasma;
   [1B.] a sampling aperture (2) for transmitting some of the ions into an evacuated
   expansion chamber (3) along a first axis (9) to form an ion beam;




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   [1C.] a second aperture (5) for transmitting some of the ion beam into a first
   evacuated chamber (6);
   [1D.] a first pump (7) for maintaining the first evacuated chamber (6) at high
   vacuum;
   [1E.] a first ion optical device (17) located in the first evacuated chamber (6) for
   containing the ion beam wherein the first ion optical device (17) is a mass
   selective device;
   [1F.] a third aperture (19) for transmitting the ion beam into a second evacuated
   chamber (20);
   [1G.] a second pump (21) for maintaining the second evacuated chamber (20) at
   a lower pressure than the first evacuated chamber (6);
   [1H.] a collision cell (24) having an entrance aperture (27) and an exit aperture
   (28) and pressurized with a target gas (26), the collision cell (24) being disposed
   in the second evacuated chamber (20);
   [1I.] a second ion optical device (25) located in the collision cell (24) for
   containing the ion beam;
   [1J.] a fourth aperture (32) for transmitting the ion beam into a third evacuated
   chamber (33) containing mass-to-charge ratio analyzing means (37) disposed
   along a second axis (36), wherein the mass-to-charge analyzing means is
   configured to mass analyze the ion beam to produce a mass spectrum of the ion
   beam such that both the first ion optical device (17) and the mass-to-charge ratio
   analyzing means (37) operate at the same mass to charge ratio, so as substantially
   to minimize the formation in the collision cell of interfering ions having the said
   mass to charge ratio; and
   [1K.] a third pump (39) for maintaining the third evacuated chamber (33) at
   lower pressure than the second evacuated chamber (20).
   2. A mass spectrometer according to claim 1, wherein the first evacuated
   chamber (6) is maintained at a pressure of approximately 10−2 to 10−4 mbar.



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   3. A mass spectrometer according to claim 1, wherein the first evacuated
   chamber (6) is maintained at a pressure of approximately 1-2×10−3 mbar.
   4. A mass spectrometer according to claim 1, including a gap of at least 2 cm
   between the third aperture (19) and the entrance aperture (27) of the collision cell
   (24).
   5. A mass spectrometer according to claim 1, wherein the distance between the
   ion source (1) and the entrance aperture (27) of the collision cell (24) is 90 to 200
   mm.
   6. A mass spectrometer according to claim 1, wherein the mass-to-charge ratio
   analyzing means (37) includes a main mass filter which preferably is an RF
   quadrupole.
   7. A mass spectrometer according to claim 1, wherein the first ion optical device
   (17) is an RF quadrupole.
   8. A mass spectrometer according to claim 1, wherein the second ion optical
   device (25) is an RF quadrupole.
   9. A mass spectrometer according to claim 1, wherein the second ion optical
   device (25) is mass selective.
   10. A mass spectrometer according to claim 1, wherein the second axis (36) of
   the mass to charge ratio analyzing means (37) is offset from the first axis (9).
   11. A mass spectrometer according to claim 1, wherein the first evacuated
   chamber (6) is divided into a first region (14) adjacent to the expansion chamber
   containing an extractor lens (8) driven at a negative potential, and a second
   region (15) adjacent to the collision cell (24) in which the ion optical device (17)
   is located, by a large diameter aperture (11) and the aperture is sealable by means
   of a flat plate (12) on an O-ring seal (13).
   12. A mass spectrometer according to claim 1, wherein the first ion optical
   device and the mass-to-charge analyzing means are configured to scan
   synchronously.



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   [13Pre] A method of operating a mass spectrometer that incorporates a collision
   cell pressurized with a target gas, the method comprising:
   [13A.] generating an ion beam by introducing a sample into a plasma, the ion
   beam including analyte ions having an analyte mass to charge ratio and
   unwanted ions;
   [13B.] mass selecting at least a portion of the ion beam at the analyte mass to
   charge ratio;
   [13C.] transmitting at least a portion of the mass selected ion beam into the
   collision cell, the mass selecting step being effective substantially to minimize
   the formation in the collision cell of interfering ions having the analyte mass to
   charge ratio;
   [13D.] receiving at least a portion of the ion beam from the collision cell at a
   mass analyzer; and
   [13E.] mass analyzing the received ion beam at the same analyte mass to charge
   ratio as in the mass selecting step.
   14. A method according to claim 13, wherein a distance of 90 to 200 mm is
   maintained between the ion source and an entrance aperture of the collision cell.
   15. A method according to claim 13, wherein mass selecting and mass analyzing
   comprise scanning synchronously.
   16. A method according to claim 13, wherein the mass selecting is achieved by
   passing the ion beam through a first mass selective ion optical device.
   17. A method according to claim 16, wherein the first mass selective ion optical
   device is an RF quadrupole.
   18. A method according to claim 16, wherein the first mass selective ion optical
   device is located in a first evacuated chamber maintained at high vacuum.
   19. A method according to claim 18, wherein the first evacuated chamber is
   maintained at a pressure of approximately 10-2 to 10-4 mbar.



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   20. A method according to claim 18, wherein the first evacuated chamber is
   maintained at a pressure of approximately 1-2×10−3 mbar.
   21. A method according to claim 18, wherein the first evacuated chamber is
   divided into a first region adjacent to the expansion chamber containing an
   extractor lens driven at a negative potential, and a second region adjacent to the
   collision cell, by a large diameter aperture and the aperture is sealable by means
   of a flat plate on an O-ring seal.
   22. A method according to claim 18, wherein the collision cell is located in a
   second evacuated chamber operated at lower pressure than the first evacuated
   chamber, the ion beam being contained in the second evacuated chamber by a
   second ion optical device.
   23. A method according to claim 22, wherein the second ion optical device is an
   RF quadrupole.
   24. A method according to claim 22, wherein the second ion optical device is
   mass selective.
   25. A method according to claim 22, further comprising transmitting at least a
   portion of the ion beam from the ion source through a sampling aperture into an
   evacuated expansion chamber along a first axis, into the first evacuated chamber
   through a second aperture; wherein transmitting at least a portion of the mass
   selected ion beam into the collision cell includes transmitting at least a portion of
   the ion beam into the second evacuated chamber through a third aperture,
   wherein a gap of at least 2 cm is maintained between the third aperture and an
   entrance aperture of the collision cell.
   26. A method according to claim 25, wherein the mass analyzer is located in a
   third evacuated chamber operated at lower pressure than the second evacuated
   chamber, the mass analyzer being disposed along a second axis.
   27. A method according to claim 26, wherein the second axis is offset from the
   first axis.
   28. A mass spectrometer comprising:



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   [28A.] an inductively coupled plasma ion source for generating ions from a
   sample, the generated ions including first atomic ions having a first mass-to-
   charge ratio and artefact ions having a mass-to-charge ratio that interferes with
   the first mass-to-charge ratio;
   [28B.] an ion optical device disposed to receive at least a portion of an ion beam
   generated by the ion source, the ion optical device being configured to mass
   select at least a portion of the ion beam generated by the ion source at the first
   mass-to-charge ratio, thereby removing, from the ion beam, ions not having the
   first mass-to-charge ratio;
   [28C.] a collision cell disposed to receive at least a portion of a mass selected ion
   beam from the ion optical device and configured to remove, from the mass
   selected ion beam, artefact ions having a mass-to-charge ratio that interferes with
   the first mass-to-charge ratio, the ion optical device being configured
   substantially to minimize the formation in the collision cell of interfering artefact
   ions having the said first mass-to-charge ratio; and
   [28D.] a mass analyzer disposed to receive at least a portion of the mass selected
   ion beam from the collision cell, the mass analyzer being configured to mass
   analyze the received ion beam at the same mass-to-charge ratio as the ion optical
   device, wherein the mass analyzer is configured to detect the first atomic ions
   when the same mass-to-charge ratio is the first mass-to-charge ratio.
   29. A mass spectrometer according to claim 28, wherein the ion optical device
   and the mass analyzer are configured to scan synchronously.
   30. A mass spectrometer according to claim 28, wherein the mass analyzer is
   configured to mass select the ion beam received from the collision cell at the
   mass-to-charge ratio.
   31. A mass spectrometer according to claim 28, wherein the ion optical device
   comprises a first RF quadrupole.
   32. A mass spectrometer according to claim 31, wherein the mass analyzer
   comprises a second RF quadrupole.



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   33. A mass spectrometer according to claim 28, wherein the ion optical device is
   disposed in a first evacuated chamber, the collision cell is disposed in a second
   evacuated chamber, and the mass analyzer is disposed in a third evacuated
   chamber.
   34. A mass spectrometer according to claim 28, further comprising a second ion
   optical device located in the collision cell for containing the ion beam.
   35. A mass spectrometer according to claim 1, wherein the means (1) for
   generating ions from a sample introduced into a plasma uses argon, and wherein
   the collision cell does not contain a significant partial pressure of argon.
   36. A mass spectrometer according to claim 1, wherein the operation of the first
   ion optical device (17) and the mass-to-charge ratio analyzing means (37) at the
   same mass to charge ratio to produce the mass spectrum of mass-to-charge ratios
   includes synchronously scanning the first ion optical device (17) and the mass-
   to-charge ratio analyzing means (37) over a spectrum of mass-to-charge ratios.
   37. The method according to claim 13, wherein mass analyzing the received ion
   beam at the same analyte mass to charge ratio as in the mass selecting step is
   performed at a plurality of analyte mass to charge ratios.
   38. The method according to claim 37, further comprising:
   obtaining a mass spectrum of the ion beam by a synchronous scan that mass
   analyzes the received ion beam at the same analyte mass to charge ratio as in the
   mass selecting step at the plurality of analyte mass to charge ratios.
   39. The method according to claim 13, wherein the collision cell does not
   contain a significant partial pressure of argon.
   40. The method according to claim 13, wherein the collision cell is pressurized
   with a target gas that is not argon.
   41. The method according to claim 13, wherein the plasma is an inductively
   coupled plasma.




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   42. The method according to claim 41, wherein the inductively coupled plasma
   includes argon, and wherein the collision cell does not contain a significant
   partial pressure of argon.
   43. The method according to claim 42, wherein the collision cell is pressurized
   with helium or hydrogen.
   44. A mass spectrometer according to claim 28, wherein the generated ions
   further include second atomic ions having a second mass-to-charge ratio and
   artefact ions having a mass-to-charge ratio that interferes with the second mass-
   to-charge ratio, wherein the ion optical device is further configured to mass
   select at least a portion of the ion beam generated by the ion source at the second
   mass-to-charge ratio, and wherein the mass analyzer is configured to detect the
   second atomic ions when the same mass-to-charge ratio is the second mass-to-
   charge ratio.
   45. A mass spectrometer according to claim 28, wherein the inductively coupled
   plasma includes argon, and wherein the collision cell does not contain a
   significant partial pressure of argon.
   46. A mass spectrometer according to claim 45, wherein the collision cell is
   pressurized with helium or hydrogen.
   47. A mass spectrometer according to claim 28, wherein the artefact ion include
   molecular ions.
   48. A mass spectrometer according to claim 28, wherein the artefact ions are
   reacted or collided with a collision gas in the collision cell to form ions having
   mass-to-charge ratios that do not interfere with the first mass-to-charge ratio,
   thereby removing artefact ions.
   49. A mass spectrometer according to claim 48, wherein at least some of the
   artefact ions are collided with the collision gas to form ions that have lower
   mass-to-charge ratios than the first mass-to-charge ratio.
   50. A mass spectrometer according to claim 48, wherein at least some of the
   artefact ions are reacted with the collision gas to form ions that have higher
   mass-to-charge ratios than the first mass-to-charge ratio.


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  X.    CLAIM CONSTRUCTION

       A claim in inter partes review is given the broadest reasonable interpretation

  (“BRI”) in light of the specification. 37 C.F.R. § 42.100(b); see also, Cuozzo

  Speed Techs., LLC v. Lee, 136 S. Ct. 2131 (2016). Petitioner proposes the

  following BRIs:

        A.    “means (1) for generating ions from a sample introduced into a
              plasma” (Claim 1)
       The function for this means-plus-function term is “generating ions from a

  sample introduced into a plasma.” The corresponding structure includes: (1) an

  ICP ion source based on 6:26-27; and (2) other plasma ion sources based on 1:15-

  23, and claims 13 and 41.

        B.    “mass-to-charge ratio analyzing means (37)” (Claim 1)

       The function for this means-plus-function term is “analyzing ions based on

  their mass-to-charge ratios.” The corresponding structure includes: an RF

  quadrupole, a magnetic sector, and a time-of-flight (“TOF”) mass analyzer based

  on the disclosures at 4:60-64 and claim 6.




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        C.     “configured to” (Claim 28)

        Claim 28 uses the phrase “configured to” three times, each in reference to a

  mode of operation of the mass spectrometer. While an instrument that is

  configured to operate in a certain mode must be capable of operating in that mode,

  courts have rejected the narrow interpretation that the claimed mode has to be the

  default setting. Riverbed Tech., Inc. v. Silver Peak Sys., Inc. No. 11–484–RGA,

  2013 WL 3830416, at *1 (D. Del. July 23, 2013) (holding that a system is

  “configured to” perform a function “[i]f the system is expressly created so that the

  user may take advantage of” that function, “[e]ven if the enablement of the

  function is not the default setting”). There is nothing in the prosecution history or

  specification here that suggests that “configured to” must be the sole or even

  default setting. According, the BRI of “configured to” is “enabled for use by the

  user to.”

        D.     “at the same mass-to-charge ratio”; “at the same analyte mass-to-
               charge ratio” (Claims 1, 13, and 28)
        Claims 1 and 28 describe that the mass analyzer operates “at the same mass-

  to-charge ratio” as the ion optical device. Claim 13 describes that the step of mass

  analyzing to be “at the same analyte mass-to-charge ratio” as the mass selecting



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  step. The BRI of this term is “at one or more mass-to-charge ratios, one of which

  is the mass-to-charge ratio of an analyte ion.”


        The claim language and the other claims support this BRI. Claim 13

  describes a method of operating a mass spectrometer using the transitional phrase

  “comprising” in an open-ended manner. Claims 37 and 38 depend on Claim 13,

  and further describe that the step of mass analyzing is performed at a plurality of

  analyte m/z ratios. These claim elements do not explicitly exclude mass analyzing

  at m/z ratios other than the analyte m/z ratios. In other words, these claims’ scope

  encompass a method in which the mass analysis step is performed at many m/z

  ratios, so long as one of the m/z ratios is the analyte m/z ratio. In that case, the

  step of mass analyzing would still be “at the same mass-to-charge ratio” as the

  mass selecting step.

  XI.   GROUNDS FOR UNPATENTABILITY

        A.     General Principles
        Under 35 U.S.C. § 102, if a single prior art reference discloses each

  limitation of the claimed invention, a patent claim is anticipated and invalid.

  Schering Corp. v. Geneva Pharms., 339 F.3d 1373, 1377 (Fed. Cir. 2003).

  Moreover, “a reference can anticipate a claim even if it ‘d[oes] not expressly spell

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  out’ all the limitations arranged or combined as in the claim, if a person of skill in

  the art, reading the reference, would ‘at once envisage’ the claimed arrangement or

  combination.” Kennametal, Inc. v. Ingersoll Cutting Tool Co., 780 F.3d 1376,

  1381 (Fed. Cir. 2015) (quoting In re Petering, 301 F.2d 676, 681 (1962)).

        Under 35 USC § 103, a patent claim is obvious and invalid “if the

  differences between the subject matter sought to be patented and the prior art are

  such that the subject matter as a whole would have been obvious at the time the

  invention was made to a person having ordinary skill in the art to which said

  subject matter pertains.” Multiple pieces of prior art render the claims of the ’386

  Patent anticipated and/or obvious.

        B.     Apparatus Claims Reciting Manners of Operation

        “[A]pparatus claims cover what a device is, not what a device does.”

  Hewlett-Packard Co. v. Bausch & Lomb Inc., 909 F.2d 1464, 1469 (Fed. Cir.

  1990) (emphasis in original). “[T]he patentability of apparatus or composition

  claims depends on the claimed structure, not on the use or purpose of that

  structure.” Catalina Marketing Intern. v. Coolsavings. Com, 289 F. 3d 801, 809

  (Fed. Cir. 2002). Thus, a claim containing a “recitation with respect to the manner

  in which a claimed apparatus is intended to be employed does not differentiate the

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  claimed apparatus from a prior art apparatus” if the prior art apparatus teaches all

  the structural limitations of the apparatus claim. Ex parte Masham, 2 U.S.P.Q. 2d

  1647 (Bd. Pat. App. & Inter. 1987).

        C.     Method Claims Reciting Operations of an Apparatus

        When a prior art apparatus is the same as the apparatus described in a claim

  for carrying out a claimed method, the prior art apparatus presumably will perform

  the claimed method in its normal and usual operation. See In re King, 801 F.2d

  1324 (Fed. Cir. 1986). Moreover, when a prior art reference describes using a

  prior art apparatus towards a particular purpose, a claimed method is anticipated if

  the claim merely recites newly discovered results of using the same apparatus for

  the same purpose. Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc., 246 F. 3d

  1368 (Fed. Cir. 2001).

        D.     Claim Elements Directed to the Intended Use of a Component

        Statements of an intended use or purpose of a component in a claimed

  structure or composition are not included in invalidity analysis under Sections 102

  and 103. See Boehringer Ingelheim Vetmedica, Inc. v. Schering-Plough Corp., 320

  F.3d 1339, 1345 (Fed. Cir. 2003). “Although such statements often appear in the

  claim’s preamble, a statement of intended use or purpose can appear elsewhere in a


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  claim.” Ex Parte Mewherter, Appeal No. 2012-007692, Decision on Appeal at 18-

  19 (P.T.A.B. May 8, 2013).

        Claims 46-50: Claims 46-50 ultimately depend from the apparatus Claim

  28. These claims only state the intended results of using certain plasma gas,

  sample, collision gas, and/or pressures. These claims do not add any further

  structural limitations to the claimed apparatus. Accordingly, prior art that discloses

  the apparatus of Claim 28 anticipates (or render obvious) Claims 46-50 regardless

  of whether the prior art discloses the results of using these gases and samples.

        E.     Ground 1: Douglas-1989 in combination with Johnston Renders
               Obvious Claims 13, 15-17, 28-32, 34, 37-38, 40-41, 47-50

        Douglas-1989 was published in 1989 and thus qualifies as prior art under 35

  U.S.C. § 102(b). Ex. 1008, ¶21. Douglas-1989 is cited in the specification of the

  ’386 Patent as admitted prior art. Ex. 1001 at 2:22-24. Johnston (Ex. 1022) is a

  Finnigan MAT publication, published and publicly available as of 1984. Ex. 1004.

  As explained by Dr. Yost, such Finnigan MAT publications were distributed by the

  company at the time of publication and were known and available to POSAs. Ex.

  1004 ¶60. As further evidence of its availability, Johnston was cited in peer

  reviewed articles in the art shortly, such as Analytical Chemistry (Ex. 1030),



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  shortly after publication, and is cited on the face of the ’553 patent. Neither

  Douglas-1989 nor Johnston were discussed during the prosecution of the original

  patent or reissue.

               1.      Motivation to Combine Johnston and Douglas-1989

        A POSA would have been motivated to combine the teachings of Douglas-

  1989 with Johnston, as the subject of both is the triple-quad spectrometer. Ex.

  1006 at 172. Ex. 1004 ¶61. Douglas-1989 describes a triple quad mass

  spectrometer using an ICP source, while Johnston teaches a variety of modes for

  using a triple quad mass spectrometer which includes a generic ion “Source”.

  More specifically, each reference describes a mode of operation where both the

  first and third quad are operated in mass selective mode, and scanned together with

  a set mass offset, with a collision cell in between the two quadrupoles. Ex. 1022 at

  1; Ex. 1029 at 48. The applicant for the ’386 Patent noted that the alleged

  invention could be used with a variety of sources and was not limited to ICP-MS,

  and accordingly a POSA would not have hesitated in 1998 to consult references

  from mass spectrometry using a variety of sources, and would certainly be inclined

  to combine the ICP triple quadrupole teachings of Douglas-1989 with the general

  triple quadrupole teachings of Johnston. Ex. 1004 ¶61.

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               2.    Douglas-1989 and Johnston Render Obvious Claim 13

        [13Pre]: Both Douglas-1989 and Johnston teach methods “of operating a

  mass spectrometer that incorporates a collision cell pressurized with a target

  [collision] gas.” Ex. 1004 ¶62. Douglas-1989 employed air as the target gas to

  pressure the collision cell. Ex. 1029 at 48. Johnston shows the collision gas in

  Quadrupole 2 as seen, for example, in Figure 4 as indicated (Ex. 1022 at 2)::




        Element [13A]: Both references “generate an ion beam” with the “ion

  beam including analyte ions” and “unwanted ions.” Douglas-1989 specifies that

  the ion beam is generate by introducing a sample [cerium and terbium] into a

  plasma, specifically an ICP. Ex. 1029 at 47. Each reference identifies the



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  presence of “analyte ions” and “unwanted ions” [interferences]. Ex. 1029 at 2; Ex.

  1022 at 47. Ex. 1004 ¶63. All ions have a mass-to-charge ratio. Id.

        Element [13B]: Both references disclose “mass selecting at least a portion

  of the ion beam at the analyte mass-to-charge ratio” using the first quadrupole. Ex.

  1006 at 47 (selecting Ce+, Tb+ and CeO+); Ex. 1022, Figure 3 (mass selecting one

  ion source product “M+”; Figure 4 (scanning over a mass range, selecting one

  mass-to-charge ratio at any moment); Ex. 1004 ¶64.

        Element [13C]: Both references disclose “transmitting at least a portion of

  the ion beam into the collision cell” because only the potion of the ion beam that is

  ions having the selected analyte mass-to-charge ratio enter into the collision cell.

  Ex. 1029 48; Ex. 1022 at 2. Any new product ions formed inside the collision cell

  through reactions or dissociations would have an m/z other than the m/z selected

  by the first quadrupole, such that no new ions would be formed at the analyte m/z.

  Ex. 1004 ¶65. For example, Douglas-1989 teaches the formation of CeO+ from

  Ce+. CeO+ has a different m/z compared to Ce+. Ex. 1029 at 48.

        Element [13D]: Both references disclose “receiving at least a portion of the

  ion beam from the collision cell at a mass analyzer” because ions exiting the



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  collision cell are received by the third quadrupole mass analyzer. Ex. 1004 ¶73;

  Ex. 1029 at 48; Ex. 1022 at 2; Ex. 1004 ¶66.

        Element [13E]: Johnston teaches “mass analyzing the received ion beam at

  the same analyte mass to charge ratio as the mass selecting step.” Ex. 1017 at 2

  (“both mass analyzers must be scanned over the same mass range at the same

  time.”); Figure 4:




  Ex. 1004 ¶67-68. Johnston also refers to this mode of operation as a “neutral loss

  of zero,” meaning that there is an offset of zero between the mass selecting at the

  first quadrupole and the third quadrupole, which would mean analyzing the ion

  beam at the same mass-to-charge ratio that was originally selected at the first

  quadrupole. Douglas-1989 discloses mass analyzing the received beam at a

  constant offset, but chose an example using a mass offset of zero. Ex. 1029 at 48.


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  A person of skill in the art would understand that this mass offset can be set to any

  number, including zero as disclosed in Johnston. Ex. 1004 ¶68. A POSA might be

  motivated to perform an offset of zero experiment to determine which ion source

  products (analyte ions) undergo fragmentation or reaction in the collision cell, for

  example. Ex. 1022 at 2.

               3.    Douglas-1989 and Johnston Render Obvious Claim 28

        [28Pre]: Both Douglas-1989 and Johnston disclose a mass spectrometer.

  Ex. 1029 at 48; Ex. 1022 at 1; Ex. 1004 ¶69.

        Element [28A]: Douglas-1989 discloses an ICP triple quadrupole mass

  spectrometer, including an ICP ion source for generating ions from a sample,

  including analyte and unwanted [interference] ions. Ex. 1029 at 47. Each reference

  identifies the presence of “analyte ions” and “unwanted ions” [interferences]. Ex.

  1029 at 46, 48. All ions have a mass-to-charge ratio. Ex. 1002; Ex. 1004 ¶70.

        Element [28B]: Both references disclose an ion optical device [the first

  quadrupole of the triple quadrupole mass spectrometer] disposed to receive the ion

  beam from the ion source, with the ion source being configured to mass select only

  ions having a first mass-to-charge ratio. Ex. 1004 ¶71; Ex. 1006 at 47 (selecting

  Ce+, Tb+ and CeO+); Ex. 1022, Figure 3 (mass selecting one ion source product

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  “M+”; Figure 4 (scanning over a mass range, selecting one mass-to-charge ratio at

  any moment). Figure 3 from Douglas-1989 shows the ion beam (highlighted)

  coming from the source to the first quadrupole, and mass selecting only M+, but

  not x+ or y+:




        Element [28C]: Each reference “a collision cell disposed to receive at least

  a portion of a mass selected ion beam from the ion optical device and configured to

  remove, from the mass selected ion beam, artefact ions having a mass-to-charge

  ratio that interferes with the first mass-to-charge ratio.” Ex. 1029 at 47

  (configuring the collision cell to remove interferences through dissociation or

  reaction [ion molecule chemistry]); Ex. 1022 at 2 (configuring collision cell to

  filter out interferences by fragmentation); Ex. 1004 ¶72. Furthermore, both

  references teach the minimization of the formation of interfering ions within the

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  collision cell, because only ions having the selected mass-to-charge ratio are

  allowed to enter into the collision cell. Ex. 1029 at 48; Ex. 1022 at 2. Any new

  product ions formed inside the collision cell through reaction or dissociation would

  necessarily have an m/z other than the m/z selected by the first quadrupole. For

  example, Douglas-1989 teaches the formation of CeO+ from Ce+. CeO+ has a

  different m/z compared to Ce+. Ex. 1029 at 48. See also Ex. 1022 at Figure 4

  (“Rejection of new ion products”).

        Element [28D]: Both references disclose “a mass analyzer disposed to

  receive at least a portion of the ion beam from the collision cell” because ions

  exiting the collision cell are received by the third quadrupole mass analyzer. Ex.

  1029 at 48; Ex. 1022 at 2; Ex. 1004 ¶73. Johnston teaches “mass analyzing the

  received ion beam at the same analyte mass to charge ratio as the mass selecting

  step.” Ex. 1017 at 2 (“both mass analyzers must be scanned over the same mass

  range at the same time.”); Figure 4:




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        Johnston also refers to this mode as a “neutral loss of zero,” meaning that

  there is an offset of zero between the mass selecting at the first quadrupole and the

  third quadrupole, which would mean analyzing the ion beam at the same mass-to-

  charge ratio that was originally selected at the first quadrupole. Douglas-1989

  discloses mass analyzing the received beam at a constant offset, but chose an

  example using a mass offset of zero. Ex. 1029 at 48. A person of skill in the art

  would understand that this mass offset can be set to any number, including zero as

  disclosed in Johnston. Ex. 1004 ¶74. A POSA might be motivated to perform an

  offset of zero experiment to determine which ion source products (analyte ions)

  undergo fragmentation or reaction in the collision cell, for example. Ex. 1022 at 2;

  Ex. 1004 ¶74.




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               4.    Douglas-1989 and Johnston Render Obvious Dependent
                     Claims

        Claims 15 and 29: Each of Douglas-1989 and Johnston disclose the mass

  selecting and mass analyzing steps scanning synchronously. Ex. 1029 at 48; Ex.

  1022 at 2 (“both mass analyzers must be scanned over the same mass range at the

  same time”). Each reference discloses that the instrument is configured to do so,

  and is in fact operated in that way. Ex. 1004 ¶75.

        Claims 16, 17 and 31: Both Douglas-1989 and Johnston mass select by

  passing the ion beam through a mass selection ion optical device, which is

  specifically an RF quadrupole. Ex. 1029 at 46; Ex. 1022 at 2 (Figures 3 and 4); Ex.

  1004 ¶76.

        Claim 30: The mass analyzer in each of the Douglas-1989 and Johnston

  reference is configured to mass analyze at a particular mass-to-charge ratio, which

  is accomplished by configuring the third quadrupole to mass select at that mass-to-

  charge ratio. Ex. 1004 ¶77. Johnston teaches that the mass analyzer mass selects

  [quadrupole 3] the same mass-to-chare ratio [neutral loss of zero] as first mass-to-

  charge ratio [quadrupole 1]:




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        Claim 32: Both references disclose a mass analyzer which comprises a RF

  quadrupole [quadrupole 3]. Ex. 1029 at 46; Ex. 1022 at 2 (Figures 3 and 4); Ex.

  1004 ¶78.

        Claim 34: Both Douglas-1989 and Johnston uses a triple quadrupole

  instrument with the collision cell comprising the middle quadrupole, which is an

  ion optical device that contains the ion beam. Ex. 1004 ¶79; Ex. 1029 at 46; Ex.

  1022 at 2 (Figures 3 and 4(shown below with collision cell highlighted)):




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        Claims 37-38, 44: Both Douglas-1989 and Johnston teach mass analyzing

  the ion beam at two or more (“a plurality”) analyte mass-to-charge ratios, and

  obtaining a mass spectrum by synchronously scanning across those multiple ratios.

  Ex. 1029 at 48; Ex. 1022 at 2 (“both mass analyzers must be scanned over the

  same mass range at the same time”). Each reference discloses that the instrument

  is configured to do so, and is in fact operated in that way. Ex. 1004 ¶80. Mass

  spectra obtained by this process is shown in Douglas-1989 (Ex. 1029) at Figure 11,

  and in Johnston (Ex. 1022) at Figures 13 and 14. Id.

        Claim 40: Douglas-1989 uses air, not argon, as the target gas to pressurize

  the collision cell. Ex. 1029 at 48; Ex. 1004 ¶81.


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        Claim 41: Douglas-1989 teaches the use of an ICP triple quadrupole mass

  spectrometer, including an ICP ion source for generating ions from a sample,

  including analyte and unwanted [interference] ions. Ex. 1029 at 47; Ex. 1004 ¶82.

        Claims 47-50: Johnston discloses artefact ions [interferences] that include

  molecular ions. Ex. 1022 at 2. Specifically Johnston discusses interferences that

  can be removed by fragmentation in the collision cell. Id. Only molecular ions can

  fragment. Ex. 1004 ¶83-85.

        Claims 47-48: Johnston teaches the removal of artefact ions [interferences]

  through fragmentation by collision in the collision cell, which results in the

  formation of ions having a lower mass-to-charge ratio. These new ions are

  rejected by the third quadrupole, such that the artefact ions have been removed and

  therefore do not interfere with analyte ions. Ex. 1004 ¶90-91; Ex. 1022 at 2

  (“[O]nly unfragmented ions may pass completely through the system...Ions that

  lose any neutral fragment will be rejected by the final mass analyzer.”); Figure 4

  (showing removal of artefact ions such as M+ after fragmentation). Ex. 1004 ¶83-

  84.

        Claim 50: Douglas-1989 teaches the reaction of ions in the collision cell

  with the collision gas [oxygen] to form ions having a higher mass-to-charge ratio.

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  Ex. 1029 at 48. Ions having a higher mass-to-charge ratio would not interfere with

  the first mass-to-charge ratio. Ex. 1004 ¶85. Douglas-1989 explicitly suggests that

  such reactions in the collision cell “may provide a way around persistent

  interferences.” Ex. 1029 at 48.

        F.     Ground 2: Douglas-1989 in Combination with Johnston and
               Whitehouse Render Obvious Claims 18-20 and 33.

               1.    Motivation to Combine Douglas-1989 and Johnston with
                     Whitehouse

        Whitehouse (Ex. 1025) qualifies as prior art under 35 U.S.C. § 102(e)

  because the non-provisional patent application that led to the issuance of

  Whitehouse on January 4, 2000 was filed on August 9, 1996. Whitehouse is not

  cited on the cover of the ’470 and ’386 Patents.


        While Johnston describes differential pumping, it does not explicitly discuss

  the evacuated chambers, their respective apertures, pumps, and relative pressures

  of the triple quadrupole instrument, whereas Whitehouse does. A POSA would

  have been motivated to combine the instrument specifics in Whitehouse with

  Johnston’s modes of operation and Douglas-1989’s ICP ion source because all

  concern the subject of the use of triple quadrupole mass spectrometers and

  Whitehouse teaches the advantage of having multiple vacuum pumping stages to

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  reduce neutral background gas and to improve the detection of analyte ions. Ex.

  1004 ¶87; Ex. 1025 at 10:50-59. The glow-discharge ion source used in Johnston

  and the ICP ion source used in Douglas-1989 are two of the ion sources used in

  Whitehouse. Id. Furthermore, all three references are concerned with obtaining a

  mass spectrum of a sample passing through a collision cell.

               2.     Douglas-1989, Johnston and Whitehouse Render Obvious
                      Claims 18-20 and 33

        Claim 18: Johnston/Douglas-1989/Whitehouse teach “the first mass

  selective ion optical device is located in a first evacuated chamber maintained at

  high vacuum” for the same reasons as Elements [1D] and [1E]. A POSA would

  understand that the triple quadrupole instruments of Johnston and Douglas-1989

  would contain the first quadrupole, which operates as a mass selective device, in an

  evacuated chamber at high vacuum. Ex. 1029 at 39; Ex. 1004 ¶88. Whitehouse

  disclose typical pressures for this chamber at “approximately 10-2 to 10-4 mbar

  [between 5x10-4 and 1x10-2 torr (i.e. between 6.7x10-4 and 1.3x10-2 mbarr)].” Ex.

  1025 at 21:46-49.

        Claim 19: Whitehouse discloses “the first evacuated chamber [second

  vacuum pumping stage] is maintained at a pressure of approximately 10-2 to 10-4



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  mbar [between 5x10-4 and 1x10-2 torr (i.e. between 6.7x10-4 and 1.3x10-2 mbarr)].”

  Ex. 1025 at 21:46-49; Ex. 1004 ¶88.

        Claim 20: The Johnston/Douglas-1989/Whitehouse combination teaches

  the limitations of this claim for the same reason as claim 19. There is nothing

  particularly special or effective about this pressure range. Ex. 1004 ¶88.

        Claim 33: As above, Whitehouse discloses the first optical device, collision

  cell, and mass analyzing means in three separate chambers. Ex. 1004 ¶89.

        G.     Ground 3: Douglas-1989 in Combination with Louris Renders
               Obvious Claims Claims 13, 15-17, 28-32, 34, 37-38, 40-41, 47-50
        Louris (Ex. 1030) is a 1985 review article on MS scan modes that qualifies

  and thus qualifies as prior art under 35 U.S.C § 102(b). Ex. 1008, ¶25. Louris was

  not cited or discussed during prosecution of the ’470 Patent or its reissue. Louris

  teaches a number of scan modes using tandem mass spectrometers, including the

  neutral loss of zero scan required by many of the claims of the ’386 patent. Ex.

  1030; Ex. 1004 ¶90.

        A POSA would have been motivated to combine the teachings of Douglas-

  1989 with Louris, understanding that the scan modes described in Louris allow for

  additional types of MS experiments to be performed using the IPC-triple



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  quadrupole mass spectrometer of Douglas-1989. Ex. 1030 at 2919 (Table 1); Ex.

  1029 at 47; Ex. 1004 ¶90-91. The “constant mass addition scan” described by

  Douglas-1989 is an example of the “neutral loss or gain” scan type in Louris. Ex.

  1029 at 48; Ex. 1030 at 2919. A POSA would have been motivated to perform the

  similar neutral loss of zero scan type described by Louris using the Douglas

  instrument, as a way to monitor unconverted reactant. Ex. 1030 at 2924 (“The

  advantage of this approach is that it represents all loss (reaction) mechanisms

  cumulatively”); Ex. 1004 ¶91. A POSA would have understood that performing

  Louris’ neutral loss of zero mode experiment using the Douglas triple quadrupole

  configuration would require only a routine adjustment of the mass offset to zero.

  Ex. 1004 ¶91-92. Louris’ scan modes can be used on a triple quadrupole with a

  collision cell. Ex. 1004 ¶90; Ex. 1029 at 2924 (citing Ex. 1022). As stated above,

  a POSA would have consulted MS references using a variety of ion sources. Id.


       Claim 13: Douglas-1989 with Louris discloses this element for the same

  reasons as Claim 13 in Ground 1, with Louris providing the motivation to perform

  the neutral loss of zero mode instead of Johnston. Ex. 1030 at 2924; Ex. 1004 ¶92.




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         Claim 28: Douglas-1989 with Louris discloses this element for the same

  reasons as Claim 28 in Ground 1, with Louris providing the motivation to perform

  the neutral loss of zero mode instead of Johnston. Ex. 1030 at 2924; Ex. 1004 ¶93.


         Claims 15-17, 29-32, 34, 37-38, 40-41, 47-50: Douglas-1989 with Louris

  discloses Claims 15-17, 29-32, 34, 37-38, 40-41, 47-50 for the same reasons as the

  respective claims in Ground 1, with Louris providing the motivation to perform the

  neutral loss of zero mode instead of Johnston. Ex. 1030 at 2924; Ex. 1004 ¶¶94-

  104.

         H.    Ground 4: Douglas-1989 in Combination with Louris and
               Whitehouse Render Obvious Claims 18-20 and 33

         Similar to Ground 2, a POSA would have been motivated to combine the

  instrument specifics in Whitehouse with the scan modes of Louris and Douglas-

  1989’s ICP ion source because all concern the subject of tandem mass

  spectrometers, and Whitehouse teaches the advantage of having multiple vacuum

  pumping stages to reduce neutral background gas and to improve the detection of

  analyte ions. Ex. 1004 ¶87; Ex. 1025 at 10:50-59.


         Claims 18-20: Douglas-1989 with Louris and Whitehouse discloses Claims

  18-20 and 33 for the same reasons as the respective claims in Ground 2, with

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  Louris providing the motivation to perform the neutral loss of zero mode instead of

  Johnston. Ex. 1025 at 21:46-49; Ex. 1030 at 2924; Ex. 1004 ¶106-107.

        I.     Ground 5: Tanner-Patent in Combination with Rowan Renders
               Obvious Claims 13 and 28

        Tanner-Patent qualifies as prior art under 35 U.S.C. § 102(e) because the

  non-provisional patent application that led to the issuance of Tanner-Patent on

  October 31, 2000 was filed on May 29, 1998.

        During prosecution of the ’470 Patent, the applicant argued that Tanner-

  Patent failed to disclose or suggest an apparatus or method in which: (a) a mass

  selective ion optical device is placed before the collision cell; and (b) the mass

  selective ion optical device and the mass analyze operate at the same mass-to-

  charge ratio. Ex 1002 (3/25/2003 Response; 9/22/2003 Response; 9/8/2003

  Response). Tanner-Patent was not discussed during the reissue proceeding.

        Rowan was published in 1989 and thus qualifies as prior art under 35 U.S.C

  § 102(b). Ex. 1008, ¶22. Rowan was cited but not discussed during prosecution of

  the ’470 Patent or its reissue.

        Tanner-Patent’s Figure 1 discloses a double-quadrupole mass spectrometer.

  The ion source (12) is disclosed as being an ICP. The first quadrupole (34) serves



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  a bandpass filter inside a collision cell (also called, a bandpass reactive collision

  cell). Ex. 1004 ¶115. Tanner-Patent discloses introducing reactive gases like

  ammonia, hydrogen, and helium into the cell. The second quadrupole (66) is a

  mass analyzer before the detector (74).




        Tanner-Patent also discloses a time-of-flight mass spectrometer in Figure 21.

  The ion source (12) is typically an ICP or GD source. Q1 is a mass selective

  quadrupole, and the mass analyzer (212) is a conventional time-of-flight mass


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  analyzer. Q2 may be a standard collision cell or a bandpass reactive collision cell.

  This embodiment discloses each and every structural limitation of Claim [28].




          Rowan discloses the use of a collision cell in an ICP double-quadrupole

  instrument, as shown below, to reduce interfering ions. Ex. 1033 at 976-977. The

  first quadrupole serves as a collision/reaction cell and is not mass selective. Id.

  The second quadrupole acts as a mass analyzer before the detector. Id; Ex. 1004

  ¶109.




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        In one experiment, Rowan uses Xe (xenon) as the collision gas to remove

  polyatomic ions ArO+ and ArN+ from interfering with the detection of Fe+ and Co+

  ions. Id. at 977-978. In another experiment, Rowan uses CH4 (methane) as the

  collision gas to remove the polyatomic ion Ar2+ from interfering with the detection

  of As+ and Se+ ions. Id. at 978; Ex. 1004 ¶110.

        From these experiments, Rowan recognizes that ion-molecule reactions

  between polyatomic ions and the neutral collision gas are occurring inside the

  collision cell, which allow further removal of polyatomic ions. Id. at 979-980. But

  some of the ion-molecule reactions also generate new interfering product ions. Id;

  Ex. 1004 ¶111.




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               1.     Motivation to Combine Tanner-Patent and Rowan

        Rowan recommends that “[f]uture instruments could readily incorporate

  features such as (1) mass analysis of the reactant ions before the collision cell.”

  Ex. 1033 at 979. As explained above, if only ions with an m/z ratio identical to

  that of the atomic ion of interest enter into the collision cell, these ions will form

  new product ions with new m/z ratios different from their original m/z. Ex. 1004

  ¶112. These new ions will not interfere with the detection of the atomic ion of

  interest. Id. Thus, Rowan teaches that having a mass analysis of the ion beam

  before the collision cell reduces the formation of new interfering ions inside the

  collision cell. Ex. 1004 ¶111-112.

        Tanner-Patent also recognizes new interfering ions can form inside the

  collision cell from reactions between the ions and the collision gas. Ex. 1004

  ¶113; Ex. 1036 at 1:39-45; 6:28-36. Tanner-Patent discusses that if the “precursor

  ions and intermediate ions (i.e. any ions formed in the sequence of reactions)” are

  rejected “before the reaction sequence produces ions which form isobaric

  interferences at desired m/z values,” the detection of the atomic ions of interest

  would be greatly improved. Id. at 6:36-41. Ex. 1004 ¶114.




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        Tanner-Patent uses a bandpass reactive collision cell to filter these precursor

  and intermediate ions while they are in the collision cell to prevent the formation

  of new interfering ions. Id. at 6:66-7:3. Tanner-Patent defines a mass bandpass

  window, having a low and high cutoff, that depends on the mass-to-charge ratios of

  the atomic ions of interest, the existing and new interfering ions. Id. at 8:3-9.

  Importantly, Tanner-Patent recognizes that “ions to be rejected are [commonly] of

  both lower and higher mass than those of the ions to be observed.” Id. at 8:12-15;

  Ex. 1004 ¶114. Thus, in light of Rowan’s teaching, a POSA would have been

  motivated to modify Tanner-Patent’s instrument to have a mass selective ion

  optical device prior to the collision cell. As Rowan teaches, having a prior mass

  analysis to filter out ions with m/z ratios other than the m/z of the atomic ion

  reduces the formation of new interfering ions in the collision cell. Ex. 1033 at 979.

  In fact, Tanner-Patent discloses an ICP mass spectrometer having a mass analyzing

  quadrupole in front of a (bandpass) collision cell in Figure 21. Thus, a POSA

  would have been motivated to modify Tanner-Patent’s instrument by adding an ion

  optical device to mass select at the first mass-to-charge ratio prior to the collision

  cell to reduce interfering ion formation. Ex. 1004 ¶115.



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               2.     Tanner-Patent in combination with Rowan renders obvious
                      Claim 28

         As discussed in Section XI.B., claim 28 is an apparatus claim reciting a

  mode of operation. The mass spectrometer disclosed in Figure 21 of Tanner-Patent

  meets all the structural limitations of claim 28. But if Patent Owner argues that the

  recited mode of operation is a claim limitation, Tanner-Patent in view of Rowan

  teaches this limitation. Ex. 1004 ¶116-117.

         [28Pre]: The subject of both Tanner-Patent and Rowan is improvement in

  the resolving power of mass spectrometers. Ex. 1036 at 1:9-11; Ex. 1033 at 976;

  Ex. 1004 ¶116-117.

         Element [28A]: Tanner-Patent discloses “an inductively coupled plasma

  ion source [ion source (12) in Figure 1] for generating ions from a sample, the

  generated ions including first atomic ions having a first mass-to-charge ratio [e.g.,

  Mg+, Sc+, Cu+, Ge+, Mn+, Fe+, and Co+] and artefact ions having a mass-to-charge

  ratio that interferes with the first mass-to-charge ratio [e.g., Ar+, ArH+, ArO+, and

  Ar2+].” Ex. 1036 at 3:57-60; 5:30-47 (experiments for Figures 3-6). Ex. 1004 ¶

  118.




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        Element [28B]: Tanner-Patent discloses “an ion optical device [a resolving

  mass spectrometer Q1 in Figure 21] disposed to receive at least a portion of an ion

  beam generated by the ion source.” Ex. 1036 at 11:52-67. Tanner-Patent also

  discloses that “the ion optical device [analyzer Q1 in Figure 21]” can be

  “configured to mass select at least a portion of the ion beam generated by the ion

  source at the first mass-to-charge ratio [parent ions transmitted through analyzer

  Q1], thereby removing, from the ion beam, ions not having the first mass-to-charge

  ratio.” Id; Ex. 1004 ¶119.

        To the extent that Tanner-Patent does not disclose an ion optical device

  configured to mass select at the first mass-to-charge ratio, a POSA would have

  been motivated to perform such mass analysis to reduce the formation of new

  interfering ions in the collision cell in light of Rowan’s teaching. Ex. 1033 at 980;

  Ex. 1004 ¶119.

        Element [28C]: Tanner-Patent teaches a “a collision cell [a collision cell

  Q2 in Figure 21] disposed to receive at least a portion of a mass selected ion beam

  from the ion optical device [a resolving mass spectrometer Q1 in Figure 21]. Ex.

  1036 at 11:52-67. In the experiments described for Figures 4-6, Tanner-Patent

  discloses that the collision cell can be “configured [pressurized with ammonia] to

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  remove, from the mass selected ion beam, artefact ions [Ar+, ArH+, ArO+, and

  Ar2+] having a mass-to-charge ratio that interferes with the first mass-to-charge

  ratio [e.g. the m/z ratios of Mn+, Fe+, and Co+].” Id. at 5:48-61; Ex. 1004 ¶120.

        Tanner-Patent discloses that “the ion optical device [a resolving mass

  spectrometer Q1 in Figure 21]” can be “configured substantially to minimize the

  formation in the collision cell of interfering artefact ions having the said first mass-

  to-charge ratio.” Ex. 1036 at 11:52-67. By removing the ions not having the first

  mass-to-charge ratio through the mass selection of the first optical device (see

  Element [28B]), these ions will not be present to react and form new interfering

  artefact ions, thus substantially in the collision cell of interfering artefact ions

  having the said first mass-to-charge ratio. Ex. 1004 ¶120.

        Element [28D]: Tanner-Patent discloses “a mass analyzer [mass analyzer

  (66) in Figure 1 and the TOF mass analyzer (212) in Figure 21] disposed to receive

  at least a portion of the mass selected ion beam from the collision cell.” Ex. 1036

  at 8:40-44; 11:63-67; Ex. 1004 ¶121.

        Tanner-Patent also discloses that “the mass analyzer” can be “configured to

  mass analyze the received ion beam at the same mass-to-charge ratio as the ion

  optical device, wherein the mass analyzer is configured to detect the first atomic

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  ions when the same mass-to-charge ratio is the first mass-to-charge ratio [e.g., the

  m/z ratios of Mn+, Fe+, and Co+].” For the same reasons as Element [28B],

  Tanner-Patent in view of Rowan discloses a mass analyzer “configured to mass

  analyze the received ion beam at the same mass-to-charge ratio as the ion optical

  device.” Ex. 1004 ¶¶121-122.

               3.    Tanner-Patent in Combination with Rowan Renders
                     Obvious Claim 13

        As explained in Section XI.C, claim 13 is a method claim reciting a normal

  operation of a prior art apparatus. Tanner-Patent in view of Rowan teaches the

  limitations of claim 13 for the same reasons it teaches the limitations of claim 28.

  Specifically, Element [13Pre] is disclosed for the same reasons as Element [28Pre].

  See also, Ex. 1004 ¶123. Element [13A] is disclosed for the same reasons as

  Element [28A]. See also, Ex. 1004 ¶124. Element [13B] is disclosed for the same

  reasons as Element [28B]. See also, Ex. 1004 ¶125. Element [13C] is disclosed for

  the same reasons as [28C]. See also, Ex. 1004 ¶126. Elements [13D] and [13E] are

  disclosed for the same reasons as Element [28D]. Id.




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        J.     Ground 6: Tanner-Patent in Combination with Rowan and Kishi
               Renders Obvious Claims 1, 5-10, 14, 16-17, 23-24, 31-34, 35, 39-50

        Kishi (Ex. 1034) was published in August 1997 and thus qualifies as prior

  art under 35 U.S.C. § 102(b). Ex. 1008 ¶23. Kishi describes a commercial ICP-MS

  instrument, HP 4500, for elemental analysis. Ex. 1034 at 1. This instrument has

  three evacuation chambers – an expansion chamber, a chamber for ion optic

  devices, and a chamber for the quadrupole mass analyzer – to achieve differential

  vacuum pumping. Id.; Ex. 1004 ¶127.

        Kishi teaches that “[t]he configuration of the ion lens system is one of the

  key design issues because it directly affects the ion transmission efficiency of an

  ICP-MS system.” Ex. 1034 at 1-2. Kishi discloses an ion optics system comprised

  of “Einzel” lenses and two “Omega” lenses in an evacuation chamber, as shown

  below. Id. at 2 (Figure 3). The Einzel lenses are traditional electrostatic lenses,

  and the Omega lenses bend the path of the ions in the beam. Id. This ion optics

  system focuses and deflects the ions in the beam. Id. Moreover, the detector can

  be mounted off the axis of the ion source to prevent the neutral components and

  photons from reaching the detector. Id.; Ex. 1004 ¶128.




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        A POSA would have been motivated to combine the teachings of Tanner-

  Patent, Rowan, and Kishi. Tanner-Patent and Rowan both teach methods for

  improving the resolving power of ICP mass spectrometers. Kishi teaches methods

  for improving the detection of ICP mass spectrometer using ion optics systems.

  Kishi improves Tanner-Patent by teaching a deflector lens system to deflect the ion

  path such that the detector can be mounted off the axis of the ion source to avoid

  the neutral species and photons. Ex. 1004 ¶129.




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               1.    Tanner-Patent in view of Rowan and Kishi Renders
                     Obvious Independent Claim 1

        [1Pre]: Tanner-Patent discloses a mass spectrometer as follows, as does

  Kishi and Tanner-Patent. Ex. 1036; Ex. 1014; Ex. 1004 ¶130.

        Element [1A]: Tanner-Patent discloses performing the function for this

  element by disclosing “generation ions [e.g., Mg+, Sc+, Cu+, Ge+, Mn+, Fe+, and

  Co+] from a sample introduced into a plasma.” Ex. 1036 at 3:57-60; 5:30-47; Ex.

  1036 at 3:57-60; 5:30-47; 5:52-6:6 (experiments for Figures 3-6); Ex. 1004 ¶131.

  Tanner-Patent discloses the structure for this element as “a conventional

  inductively coupled plasma source.” Ex. 1036 at 3:57-59; Ex. 1004 ¶131.

        Element [1B]: Tanner-Patent discloses “a sampling aperture (2) [orifice

  (14) in Figure 1, and an aperture after the ion source (12) in Figure 21] for

  transmitting some of the ions into an evacuated expansion chamber (3) [first

  vacuum chamber (18) in Figure 1, and Q1 chamber in Figure 21] … to form an

  ion beam.” Ex. 1036 at 3:61-64, Figures 1 and 21; Ex. 1004 ¶132.

        Kishi discloses “a sampling aperture (2) [orifice in the sampling cone] for

  transmitting some of the ions into an evacuated expansion chamber (3) along a first




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  axis (9) [before the deflector lenses] to form an ion beam.” Ex. 1034, Figures 1

  and 3; Ex. 1004 ¶133.




        Kishi discloses “a first axis” because Kishi uses a deflector such that the ions

  travel along a first axis of the ion source (i.e. through the extraction and Einzel

  lenses) and are deflected to a second axis of the mass analyzer, which is the axis in

  line with the dectector. Ex. 1034 at 2; Ex. 1004 ¶134, 143. As discussed above, a


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  POSA would have been motivated to improve Tanner-Patent’s instrument in view

  of Kishi by using a deflector so that the detector may be mounted off the axis of

  the ion source to avoid neutral species and photons. Ex. 1004 ¶134.

        Element [1C]: Tanner-Patent discloses “a second aperture (5) [orifice 22 in

  a skimmer plate 24] for transmitting some of the ion beam.” Ex. 1036 at 3:61-64,

  Figure 1. In Figure 21, Tanner-Patent also discloses “a second aperture [for the

  Q1 chamber] for transmitting some of the ion beam into a first evacuated chamber

  [containing Q1].” Id., Figure 21; Ex. 1004 ¶135.

        Element [1D]: Kishi discloses in Figure 1 “a first pump (7) [turbo pump]

  for maintaining the first evacuated chamber (6) [the ion optics chamber] at high

  vacuum.” Ex. 1034 at 1, Figure 1. Moreover, because Tanner-Patent in Figure 21

  discloses a first evacuated chamber as described in Element [1C], Tanner-Patent

  implicitly discloses a vacuum pump to evacuate this chamber. Nonetheless, a

  POSA would have been motivated to improve Tanner-Patent’s instrument in view

  of Kishi by adding a first pump to evacuate the first evacuated chamber to reduce

  background gas loading. Ex. 1004 ¶136.

        Element [1E]: Tanner-Patent discloses Element [1E] for the same reasons

  as Element [28B]. Ex. 1004 ¶119, 137.

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        Element [1F]: Tanner-Patent discloses “a third aperture (19) [entrance

  aperture (38) into collision cell] for transmitting the ion beam into a second

  evacuated chamber (20) [second vacuum chamber (28)].” Ex. 1036 at 3:64-67,

  Figures 1 and 21. Ex. 1004 ¶138.


       Element [1G]: Tanner-Patent discloses “a second pump (21) [turbo pump

  30 which is backed by a mechanical pump] for maintaining the second evacuated

  chamber (20) [second vacuum chamber 28] at a lower pressure than the first

  evacuated chamber (6).” Ex. 1036 at 3:64-67, Figure 1. Ex. 1004 ¶139.

        Element [1H]: In Figure 1, Tanner-Patent discloses “a collision cell (24)

  [collision cell 41] having an entrance aperture (27) [entrance aperture 38] and an

  exit aperture (28) [exit aperture 40] and pressurized with a target gas (26) [reactive

  gas like ammonia], the collision cell (24) being disposed in the second evacuated

  chamber (20) [second vacuum chamber 28].” Ex. 1036 at 3:64-67; 4:5-10, Figure

  1. Ex. 1004 ¶140.

        Element [1I]: Tanner-Patent discloses “a second ion optical device (25)

  [quadrupole 34] located in the collision cell (24) [collision cell 41] for containing

  the ion beam.” Id. at 4:5-10, Figure 1. Ex. 1004 ¶141.



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        Element [1J]: Tanner-Patent discloses performing the function for the

  element “the mass-to-charge analyzing means” by disclosing experiments

  analyzing ions based on their m/z ratios. Id. at 3:57-60; 5:30-47 (experiments for

  Figures 3-6). Tanner-Patent discloses the structure for this element as a

  quadrupole mass analyzer (66). Id. at 4:19-37, Figure 1; Ex. 1004 ¶142.

        Tanner-Patent discloses “a fourth aperture (32) [orifice 40] for transmitting

  the ion beam into a third evacuated chamber (33) [a third vacuum chamber 60]

  containing mass-to-charge ratio analyzing means (37) [mass analyzer 66 (which is

  typically a quadrupole)].” Id. at 4:25-38. Tanner-Patent also discloses that “the

  mass-to-charge analyzing means [Quadrupole 66] is configured to mass analyze

  the ion beam to produce a mass spectrum of the ion beam [e.g. the mass spectra in

  Figures 4-6].” Id., and at Figures 4-6; Ex. 1004 ¶143.

        For the same reasons as Elements [28B] and [28D], Tanner-Patent discloses

  that “both the first ion optical device (17) and the mass-to-charge ratio analyzing

  means (37) operate at the same mass to charge ratio, so as substantially to

  minimize the formation in the collision cell of interfering ions having the said mass

  to charge ratio.” Ex. 1004 ¶ 119, 121-22, 143.



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        For the same reasons as Element [1B], Kishi discloses “a second axis”

  because Kishi uses a deflector such that the ions exits the deflector along a second

  axis of the quadrupole mass analyzer. Ex. 1034 at 2, Figure 3. ; Ex. 1004 ¶132-

  134, 143.

         Element [1K]: Tanner-Patent discloses “a third pump (39) [high vacuum

  turbo pump 62] for maintaining the third evacuated chamber (33) [third vacuum

  chamber 60] at lower pressure than the second evacuated chamber (20) [second

  vacuum chamber 28].” Ex. 1036 at 3:66-67; 4:25-28; Ex. 1004 ¶144.

               2.    Tanner-Patent in Combination with Rowan and Kishi
                     Renders Obvious certain Dependent Claims

        Claims 5 and 14: Rowan’s instrument in Figure 1 (drawn to scale)

  discloses that “a distance of 90 to 200 mm is maintained between the ion source

  and an entrance aperture of the collision cell.” Ex. 1033 at 977, Figure 1; Ex. 1004

  ¶145. A POSA would have been motivated to apply a gap of this distance to reduce

  the background gas loading on the collision cell. Ex. 1004 ¶145; see In re Aller,

  220 F.2d 455, 456 (C.C.P.A. 1955).

        Claim 6: Tanner-Patent discloses “the mass-to-charge ratio analyzing

  means (37) [mass analyzer 66 (which is typically a quadrupole)] includes a main



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  mass filter which preferably is an RF quadrupole [Quadrupole 66 has RF and DC

  applied to its rods].” Ex. 1036 at 4:29-34; Ex. 1004 ¶146.

        Claim 7: Tanner-Patent discloses “the first ion optical device (17) [a

  resolving mass spectrometer Q1 that is typically a quadrupole in Figure 21] is an

  RF quadrupole.” Ex. 1036 at 11:52-62, Figure 21. Ex. 1004 ¶147.

        Claims 8 and 23: Tanner-Patent discloses “the second ion optical device

  (25) [quadrupole 34 inside a collision cell in Figure 1] is an RF quadrupole.” Ex.

  1036 at 4:5-9; 11:58-62 (a standard collision cell Q2 that is typically a quadrupole,

  in Figure 21). Ex. 1004 ¶148.

        Claims 9 and 24: Tanner-Patent discloses “the second ion optical device

  (25) is mass selective [the collision cell 41 is operated to reject precursor or

  intermediate ions].” Id. at 6:36-37; 12:12-15 (“the collision cell Q2 may be

  operated with an appropriate bandpass defined by a high mass cutoff, to restrict the

  upper mass range of ions introduced into the flight tube 216”). Ex. 1004 ¶149.

        Claim 10: For the same reasons as Elements [1B] and [1J], Tanner-Patent

  in view of Rowan and Kishi teaches the limitations of this claim. Ex. 1004 ¶132-

  34, 142-43, 150.



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        Claim 16: Tanner-Patent discloses the limitations of claim 16 for the same

  reasons as Elements [28B] and [28D]. Ex. 1004 ¶119, 121-22 151.

        Claim 17: Tanner-Patent discloses the limitations of claim 17 for the same

  reasons as claim 7. Ex. 1004 ¶147, 152.

        Claim 31: Tanner-Patent discloses the limitations of claim 31 for the same

  reasons as claim 7. Ex. 1004 ¶147, 153.

        Claim 32: Tanner-Patent discloses the limitations of claim 32 for the same

  reasons as Element [28D]. Ex. 1004 ¶121-22, 154.

        Claim 33: Tanner-Patent in view of Rowan and Kishi teaches all the

  elements of this claim for the same reasons as claim 1, particularly Elements [1E],

  [1H], and [1J]. Ex. 1004 ¶137, 140, 142-43, 155.

        Claim 34: Tanner-Patent discloses “a second ion optical device [quadrupole

  34] located in the collision cell [collision cell 41] for containing the ion beam.” Id.

  at 4:5-10, Figure 1; Ex. 1004 ¶156.

        Claim 39: Tanner-Patent in view of Rowan teaches “the collision cell does

  not contain a significant partial pressure of argon” because the collision cell is

  pressurized with a different gas. Tanner-Patent discloses using ammonia or a

  mixture of hydrogen and helium as the target gases in the collision cell. Ex. 1036

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  at 5:50, 10:58-11:28. Rowan also discloses the use of Xe, methane, and ethane as

  the target gases for use in the collision cell. Ex. 1033 at 978, 980; Ex. 1004 ¶157.

        Claim 40: Tanner-Patent discloses “the collision cell is pressurized with a

  target gas that is not argon” for the same reasons as claim 39. Ex. 1004 ¶157-58.

        Claim 41: Tanner-Patent discloses “an [argon] inductively coupled

  plasma.” Ex. 1036 at 3:58-59; claim 32. Ex. 1004 ¶159.

        Claims 35, 42, and 45: Tanner-Patent in view of Rowan and Kishi teaches

  “the inductively coupled plasma includes argon, and wherein the collision cell does

  not contain a significant partial pressure of argon” for the same reasons as claims

  39 and 41. Ex. 1004 ¶157-160.

        Claims 43 and 46: Tanner-Patent discloses “the collision cell is pressurized

  with helium or hydrogen [a collision gas mixture containing 40% hydrogen in

  helium].” Ex. 1036 at 10:58-11:28. Ex. 1004 ¶161.

        Claim 44: Tanner-Patent in view of Rowan teaches all the limitations of

  claim 44 for the same reasons as claim 28. Specifically, Tanner-Patent in view of

  Rowan teaches Element [44A] for the same reasons as Element [28A]. Ex. 1004

  ¶118. Tanner-Patent in view of Rowan teaches Element [44B] for the same reasons



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  as Element [28B]. Ex. 1004 ¶119. Tanner-Patent in view of Rowan teaches

  Element [44C] for the same reasons as Element [28D]. Ex. 1004 ¶ 120-22; 162.

          Claim 47: Rowan discloses “artefact ions include molecular ions [such as

  ArH+ or H2O+].” Ex. 1033 at 977. Tanner-Patent also discloses “artefact ions

  include molecular ions [ArH+, ArO+, and Ar2+].” Ex. 1036 at 3:57-60; Ex. 1004

  ¶163.

          Claim 49: Rowan discloses collision-induced dissociations in which “some

  of the artefact ions [ArO+ and ArN+] are collided with the collision gas [Xe] to

  form ions that have lower mass-to-charge ratios than the first mass-to-charge

  ratio.” Ex. 1033 at 978. Ex. 1004 ¶164.

          Claim 50: Rowan discloses “at least some of the artefact ions [ArH+] are

  reacted with the collision gas [Xe] to form ions [XeH+] that have higher mass-to-

  charge ratios than the first mass-to-charge ratio.” Id. at 979; Ex. 1004 ¶165.

          Claim 48: Rowan discloses all the limitations of claim 48 for the same

  reasons as claims 49 and 50. Ex. 1004 ¶164-66.




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        K.    Ground 7: Tanner-Patent in Combination with Rowan, Kishi,
              and Turner Renders Obvious Claims 11 and 21

       Turner (Ex. 1099) was published in April 1998 and thus qualifies as prior art

  under 35 U.S.C. § 102(a). Ex. 1008 ¶24. Turner is a book chapter reviewing the

  instrumentation of ICP-MS as of 1998. Ex. 1004 ¶156. Figure 6.1 shows the

  principal components of an ICP-MS instrument and an optional close-off valve in

  the optics chamber. Ex. 1099 at 423.




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       A POSA would have been motivated to combine the teachings of Tanner-

  Patent, Rowan, Kishi, and Turner. Ex. 1004 ¶157. Tanner-Patent, Rowan, and

  Kishi all teach methods for improving the resolving power of ICP mass

  spectrometers. Turner reviews the various components of the ICP-MS

  instruments, including collision-cell based ICP-MS. Ex. 1099 at 476-479. Turner

  discusses Rowan’s use of a collision cell in a double-quadrupole instrument to

  remove interfering ions. Id. Turner also discusses the HP4500 instrument and its

  deflector lens as disclosed by Kishi. Id. at 427, Figure 6.3. A POSA would

  understand that the instrument specifics in Turner are typical to the mass

  spectrometers of Tanner-Patent, Rowan and Kishi. Ex. 1004 ¶157.


       Claim 21: Kishi discloses “the first evacuated chamber [the chamber after

  the skimmer cone in Figure 8] is divided into a first region [the extraction lens

  chamber] adjacent to the expansion chamber containing an extractor lens driven at

  a negative potential [extraction lens 1 (-160V) and extraction lens 2 (-70V)] and a

  second region [the ion optics chamber] … by a large diameter aperture and the

  aperture is sealable by means of a flat plate.” Id. at 2-3, Figure 8 (enlarged below);

  Ex. 1004 ¶158.



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          a flat plate to seal a large
          aperture




       Turner also discloses “the first evacuated chamber [the chamber after the

  skimmer cone] is divided into a first region [a chamber (extraction lens not

  shown)] adjacent to the expansion chamber and a second region [the ion optics

  chamber] … by a large diameter aperture and the aperture is sealable by [a close-

  off valve].” Ex. 1099, Figure 6.1; Ex. 1004 ¶159.


       Turner also discussed that in ICP-MS, the ions are formed under atmospheric

  conditions, but most mass analyzers require a vacuum of 10-5 torr to avoid high-


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  voltage discharges and to minimize the effects of collisions with ions. Id. at 433.

  In most instruments, when the ICP source is off, the expansion chamber returns to

  atmospheric pressure, while the chambers containing the ion optics, quadrupole(s)

  and the detector are maintained at high vacuum and are generally closed off from

  the expansion chamber. Ex. 1004 ¶159. In view of Rowan, Kishi and Turner, a

  POSA would have been motivated to improve Tanner-Patent’s instrument by

  dividing the extraction lens and the ion optic device into two chambers and put a

  sealable flat plate between them, in order to keep the ion optics and the

  quadrupoles at a high vacuum when the ICP source is off. Id. Moreover, the use

  of an O-ring to seal the flat plate was well known in the art as of 1998. Id.


       Claim 11: Tanner-Patent in view of Rowan, Kishi, and Turner teach all the

  limitations of claim 11 for the same reasons as claim 21. Ex. 1004 ¶158-59.

  XII. CONCLUSION

       Petitioner respectfully requests that this petition be granted, that inter partes

  review be instituted, and that all claims of the ’386 Patent be found unpatentable

  and cancelled.




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  XIII. CERTIFICATE OF WORD COUNT

       Pursuant to 37 C.F.R. § 42.24, the undersigned attorney for the Petitioner

  declares that the argument section of this Petition (Sections I, III-XII) has a total of

  13963 words, according to the word count tool in Microsoft Word™.

  DATED: December 14, 2017                Respectfully Submitted,

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                             CERTIFICATE OF SERVICE

          The undersigned certifies service pursuant to 37 C.F.R. §§ 42.6(e) and

  42.105(a), (b) on the Patent-Owner via UPS overnight mail of a copy of this

  Petition for Inter Partes Review and supporting materials at the Patent-Owner at

  the correspondence address of record for the ’386 Patent:

    David B. Raczkowski, or To Whom It May Concern
    Kilpatrick, Townsend & Stockton, LLC
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    San Francisco, CA 94111.


    DATED: December 14, 2017             By: /Brian M. Buroker/
                                         (Reg. No. 39125)



                                          Attorney for Petitioner




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                               Case No. Unassigned

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   1001         U.S. Patent No. RE45553E1 (“the ’553 Patent”)
   1002         Prosecution History of U.S. Patent No. 7,211,788 (“’788 Patent”),
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  I.    INTRODUCTION

        Pursuant to 35 U.S.C. § 311, Agilent Technologies, Inc. (“Agilent” or

  “Petitioner”) submits this petition for inter partes review (“IPR”), seeking

  cancellation of Claims 1–66 of U.S. Patent No. RE45,553 (“the ’553 Patent,” Ex.

  1001). These claims are unpatentable under 35 U.S.C. §§ 102 and 103 over the

  prior art references identified and applied in this petition.


  II.   MANDATORY NOTICES

        Pursuant to 37 C.F.R. § 42.8, Petitioner provides the following mandatory

  disclosures:

        A.       REAL PARTIES IN INTEREST

        Agilent Technologies, Inc. (“Agilent”) is the real party in interest.

        B.       RELATED MATTERS
        Pursuant to 37 C.F.R. § 42.8(b)(2), the ’553 Patent is the subject of a patent

  litigation suit brought by the Patent-Owner (see Ex. 1005). Petitioner is also filing

  three petitions for IPR of two other patents asserted in that litigation: U.S. Patent

  Nos. 7,230,232 and RE45,386.




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        C.    LEAD AND BACK-UP COUNSEL

        Petitioner provides the following designation of counsel:


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        A Power of Attorney accompanies this petition in accordance with 37 C.F.R.

  § 42.10(b). Service via hand delivery or postal mail may be made at the addresses

  of the lead and back-up counsel above. Petitioner hereby consents to electronic

  service, and service via electronic mail may be made at the email addresses

  provided above for the lead and back-up counsel.



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  III.   PAYMENT OF FEES

         Pursuant to 37 C.F.R. §§ 42.103 and 42.15(a), $52,600 is being paid via

  deposit account 501408. Any additional fees due in connection with this petition

  may be charged to the foregoing account.

  IV.    STANDING

         Pursuant to 37 C.F.R. § 42.104(a), Petitioner certifies that the ’553 Patent is

  available for IPR and that Petitioner is not barred or estopped from requesting IPR

  of the claims on the grounds identified herein.

  V.     IDENTIFICATION OF CHALLENGE AND STATEMENT OF
         PRECISE RELIEF REQUESTED
         Pursuant to 37 C.F.R. § 42.104(b), Petitioner requests that the Board

  institute inter partes review of Claims 1-66 of the ’553 Patent on one or more

  grounds under pre-AIA 35 U.S.C. §§ 102 and/or 103.

  VI.    THRESHOLD REQUIREMENT FOR INTER PARTES REVIEW

         Under 35 U.S.C. § 314(a), institution of inter partes review requires “a

  reasonable likelihood that the petitioner would prevail with respect to at least one

  of the claims challenged in the petition.” This petition meets this threshold for

  each of the asserted grounds of unpatentability.


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  VII. STATEMENT OF REASONS FOR THE RELIEF REQUESTED

         Petitioner predicates its challenge on five references. Collectively, these

  references render each claim of the ’553 Patent unpatentable based on the

  following seven grounds.

         A.    GROUNDS
     GROUND 1: PCT375 anticipates claims 1–5, 8–10, 12–15, 18–21, 25–35, 38,
                41, 43, 46, 48, 51, 53, 56, 58, 61, 63, 66 under § 102(b);

     GROUND 2: PCT375 renders obvious claim 11 under § 103;

     GROUND 3: Tanner anticipates claims 1, 4–6, 8–9, 12-13, 16, 18–19, 22, 24–25,
                28, 31–32, 35, 38–41, 43–46, 48–51, 53–56, 58–61, 63–66 under
                § 102(b);

     GROUND 4: Douglas in combination with Tanner renders obvious claims 1–6,
                8–9, 12–16, 18–22, 24–66 under § 103;

     GROUND 5: Vandermey in combination with Douglas and Tanner renders
                obvious claims 6–7, 16–17, 22–23, 37, 42, 47, 52, 57, 62 under
                § 103;

     GROUND 6: Saito anticipates claims 1, 4–6, 12, 28, 32, 57, and 62 under
                § 102(b);

     GROUND 7: Saito in combination with Douglas renders obvious claims 1–6,
                12–16, 18, 20–22, 25–38, 42–43, 47–48, 52–53, 57–58, and 62–63
                under § 103.




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        The Declaration of Richard Yost, Ph.D., a world-renowned expert in mass

  spectrometry, accompanies this petition. Ex. 1004.

        B.     PRIORITY DATE OF THE ’553 PATENT

        The ’553 patent is a reissue from U.S. Patent No. 7,211,788 (the “’788

  Patent”). The reissue application was filed on September 19, 2013 (Application

  Number 14/032,110). The ’788 patent was filed on May 27, 2004 (Application

  Number 10/497,396), which ultimately claimed priority to a GB patent application

  0210930.4, filed May 13, 2002.


        For purposes of this petition, Agilent assumes that the claims are entitled to

  a priority date of May 13, 2002.

  VIII. STATE OF THE ART

        A.     PERSON OF SKILL IN THE ART

        A person of ordinary skill in the art in May 2002 would have a Ph.D. or a

  Master’s degree, or an equivalent education or practical experience, in chemistry,

  physics, or a related field, and at least two to three years of experience in

  developing the instrumentation and/or the applications of tandem mass




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  spectrometry and/or quadrupole mass spectrometers (hereafter, “POSA”). Ex.

  1004 ¶23.

        B.     SCOPE AND CONTENT OF THE ART BEFORE MAY 2002

               1.     Mass Spectrometry
        Mass spectrometry (“MS”) is an analytical technique used to identify and

  quantify chemical elements and compounds (i.e., atoms and molecules,

  respectively) in a sample based on the atomic mass and charge state of the

  constituents in the composition. Ex. 1014, 281–82; Ex. 1004 ¶¶32-33. Typically,

  a sample containing atoms or molecules of interest is introduced into the ion source

  of a mass spectrometer. Id.; Ex. 1015, 6-9; Ex. 1004 ¶¶32-33. The ion source

  induces either a positive or a negative charge in the neutral atoms and molecules,

  typically by adding or removing electron(s), generating positive or negative ions.

  Id., 281-282; Ex. 1015, 6-9; Ex. 1004 ¶¶32-33. In most instruments, only the

  positive ions are electrostatically guided by ion optics into a portion of the mass

  spectrometer called a “mass analyzer.” Id., 281-282; Ex. 1015, 9; Ex. 1004 ¶¶32-

  33. The mass analyzer allows ions of a specific mass-to-charge ratio (m/z or m/e)

  to pass through to a detector while preventing all other ions from reaching the



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  detector when the detector is measuring ions of a set m/z value. Ex. 1015,16; Ex.

  1004 ¶¶32-33.

               2.     Quadrupole Mass Analyzer

        A quadrupole is the most common mass analyzer used in modern mass

  spectrometry. Ex. 1016, 617; Ex. 1004 ¶35. It comprises four parallel rods

  arranged in a radial array at 90° intervals, with opposite pairs of rods electrically

  connected. Id., 618; Ex. 1004 ¶35. There are two main modes of operating a

  quadrupole: RF-only and RF-DC mode. Id., 621–22; Ex. 1004 ¶35. When only an

  RF voltage is applied between the rod pairs, the quadrupole would transmit all ions

  above a certain m/z cutoff, generally termed “total ion mode.” Id.; Ex. 1004 ¶35.

  When a combination of RF and DC voltages is applied between the rod pairs, the

  quadrupole transmits ions between upper and lower m/z cutoffs, such that the mass

  analyzer acts as a “mass filter” for the purpose of passing selected ions. Id.; Ex.

  1004 ¶35. As the DC-to-RF ratio increases, the quadrupole’s transmission band

  narrows. Id.; Ex. 1004 ¶35. At a certain DC-to-RF ratio, this transmission band is

  so narrow as to allow only ions of a specific integer m/z to pass through, generally

  termed “unit mass resolution.” Id.; Ex. 1004 ¶35. By selecting (typically under

  computer control) one or a series of DC and RF voltages (at constant DC/RF ratio),

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  one can select ions of one or a series of m/z ratios to be passed by the mass

  analyzer, generally referred to as “selected ion monitoring,” or SIM mode. Id.; Ex.

  1015, 3-5; Ex. 1017, 1251; Ex. 1004 ¶35. If the magnitude of the DC and RF

  voltages is continuously increased over time while keeping the DC/RF ratio

  constant, the mass filter will scan over a range of m/z ratios and generate a mass

  spectrum, generally termed “full-scan mode.” Ex. 1016, 621; Ex. 1004 ¶35.


        Quadrupole mass spectrometers may have two, three, or more quadrupoles

  arranged in tandem. Exs. 1018–20; Ex. 1004 ¶36. Each of the quadrupoles can be

  designed to operate independently and/or with one another. Id.; Ex. 1004 ¶¶36-49.

  For example, a triple-quadrupole instrument may be operated in one of several

  modes: normal mass spectrum, daughter scan, parent scan, neutral loss scan, and

  selected reaction monitoring. Id.; Ex. 1004 ¶¶36-49.

               3.    Photons and Neutral Species

        Many ion sources inevitably generate some amount of neutral species and

  photons, including ICP, GD, chemical ionization, and electron ionization sources.

  Ex. 1012, 3:35–4:4; Ex. 1004 ¶58. In the absence of other means to divert their

  path (e.g., vacuum systems), these neutral species and photons are assumed to


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  travel in a straight line from the ion source to the detector, increasing the

  background noise. Ex. 1012, 4:24–33; Ex. 1004 ¶58. To reduce such background

  noise, many mass spectrometers use ion optics to bend the path of the ions so that

  the ions would either travel around a photon stop or be sent off-axis towards a

  detector mounted off-axis. Ex. 1012, 6:15–21; Ex. 1004 ¶58. In contrast, the

  neutral species and the photons would still travel in a straight line and strike the

  photon stop or not be bent towards an off-axis detector. Ex. 1012, 6:15–21; Ex.

  1004 ¶58.

  IX.   THE ’553 PATENT

        A.     SUMMARY OF PROSECUTION AND REISSUE HISTORIES
        During prosecution, the ’788 patent was initially rejected under U.S.C. §

  103(a) as being unpatentable over Douglas, in view of U.S. Patent Application

  Publication No. 2001/0038069 by Whitehouse. Ex. 1002, 2-3. The applicant

  overcame that combination by arguing that neither reference specifically taught a

  configuration wherein the first quadrupole selects a sub-range of mass/charge

  ratios, and the second quadrupole filters for “only ions of the said selected

  mass/charge ratio.” Ex. 1003, 11-13. Instead, according to the applicant, the

  second quadrupole in Douglas, like the first quadrupole in the series, filtered for a

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  range of mass/charge ratios instead of a single, selected mass/charge ratio. Id.

  Likewise, the applicant argued that the multipole ion guides in Whitehouse did not

  select for a single mass/charge ratio. Id. Finally, the applicant contended that the

  examiner failed to demonstrate motivation to combine the references. Id. During

  reissue proceedings, no references were addressed in substantive communications

  from the examiner.


        At no time in the prosecution of the ’553 Patent or the underlying

  ’788 Patent did the applicant or examiner distinguish the prior art based on the

  apparatus elements of the mass spectrometer. On the contrary, the only distinction

  ever offered during prosecution was the user’s selection of the m/z ranges for

  which the first and second quadrupoles would filter. Id. This claimed operation of

  the mass spectrometer did not require any modification of the instrumentation, as

  described in the grounds below.

        B.     THE ’553 PATENT CLAIMS

        The alleged inventions claimed in the ’553 Patent are directed to a mass

  filter apparatus comprised of an ion source and two mass filter stages in series, and

  methods of use thereof. Ex. 1004 ¶21. The first mass filter stage acts as the


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  “sacrificial filter,” and the second mass filter stage serves as the “analysis filter.”

  Ex. 1001, 5:44–47. The ’533 Patent explains that “the sacrificial filter acts to pre-

  filter the beam before it enters the analysis filter.” Id., 5:48–53.


        The ’553 Patent has five independent claims: apparatus claim 1, and method

  claims 13, 18, 25, and 28.

  X.    CLAIM CONSTRUCTION

        In inter partes review, claims receive the broadest reasonable interpretation

  (“BRI”) supported by the specification. 37 C.F.R. § 42.100(b); Cuozzo Speed

  Techs., LLC v. Lee, 136 S.Ct. 2131, 2142 (2016). At least the following term

  requires construction:

  Elements [1C], [13B], [18B], [32B] — “a sub-range of mass/charge ratios
             which includes a selected mass/charge ratio”

        This term defines the range of m/z ratios of the ions transmitted through the

  first mass filter stage in Claims 1, 13, 18, 28, and 32. The BRI of this term is “one

  or more m/z ratios, including at least an m/z ratio selected by the second mass filter

  stage.” The claims themselves support the BRI of this term.




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        First, the “sub-range” of m/z ratios describes a subset of the range of m/z

  ratios. And the m/z ratios within the sub-range do not have to be continuous.


        Second, the “sub-range” of m/z ratios can be as narrow as a single selected

  m/z ratio. Notably, Claim 36 depends on Claim 1, and further requires that “the

  band pass width of the first filter stage being broader than the band pass width of

  the second filter stage.” Accordingly, with respect to claim 1, the bandpass width

  of the first filter stage need not be broader than—and can be identical to—the

  bandpass width of the second filter stage, which selects only a single m/z ratio.

  Sunrace Roots Enterprise Co., Ltd. v. SRAM Corp., 336 F.3d 1298, 1303 (Fed. Cir.

  2003) (finding the claim differentiation presumption “especially strong when the

  limitation in dispute is the only meaningful difference between an independent and

  dependent claim”).


        Similarly, Claim 28 recites an additional limitation for the term “sub-range,”

  namely, “the sub-range being broader than the selected mass/charge ratio.” But

  this additional limitation is not found in similar independent Claims 1, 13, 18, or

  32. Without this additional limitation, the term “sub-range” does not have to be

  broader than the selected m/z ratio.


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  XI.   GROUNDS FOR UNPATENTABILITY

        A.     GENERAL PRINCIPLES

        Under 35 U.S.C. § 102, if a single prior art reference discloses each

  limitation of the claimed invention, a patent claim is anticipated and invalid.

  Schering Corp. v. Geneva Pharms., 339 F.3d 1373, 1377 (Fed. Cir. 2003).

  Moreover, “a reference can anticipate a claim even if it ‘d[oes] not expressly spell

  out’ all the limitations arranged or combined as in the claim, if a person of skill in

  the art, reading the reference, would ‘at once envisage’ the claimed arrangement or

  combination.” Kennametal, Inc. v. Ingersoll Cutting Tool Co., 780 F.3d 1376,

  1381 (Fed. Cir. 2015) (quoting In re Petering, 301 F.2d 676, 681 (1962)).

        Under 35 USC § 103, a patent claim is obvious and invalid “if the

  differences between the subject matter sought to be patented and the prior art are

  such that the subject matter as a whole would have been obvious at the time the

  invention was made to a person having ordinary skill in the art to which said

  subject matter pertains.” Multiple pieces of prior art render the claims of the ’553

  Patent anticipated and/or obvious.




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        B.     APPARATUS CLAIMS RECITING MANNERS OF OPERATION

        “[A]pparatus claims cover what a device is, not what a device does.”

  Hewlett-Packard Co. v. Bausch & Lomb Inc., 909 F.2d 1464, 1469 (Fed. Cir.

  1990) (emphasis in original). “[T]he patentability of apparatus or composition

  claims depends on the claimed structure, not on the use or purpose of that

  structure.” Catalina Marketing Int’l v. Coolsavings.Com., 289 F.3d 801, 809 (Fed.

  Cir. 2002); In re Gardiner, 171 F.2d 313, 315-16 (C.C.P.A. 1948) (“It is trite to

  state that the patentability of apparatus claims must be shown in the structure

  claimed and not merely upon a use, function, or result thereof.”). Thus, a claim

  containing a “recitation with respect to the manner in which a claimed apparatus is

  intended to be employed does not differentiate the claimed apparatus from a prior

  art apparatus” if the prior art apparatus teaches all the structural limitations of the

  apparatus claim. Ex parte Masham, 2 U.S.P.Q. 2d 1647 (Bd. Pat. App. & Inter.

  1987).

        C.     METHOD CLAIMS RECITING OPERATIONS OF AN APPARATUS

        When a prior art apparatus is the same as the apparatus described in a claim

  for carrying out a claimed method, the prior art apparatus presumably will perform

  the claimed method in its normal and usual operation. See In re King, 801 F.2d


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  1324 (Fed. Cir. 1986). Moreover, when a prior art reference describes using a

  prior art apparatus towards a particular purpose, a claimed method is anticipated if

  the claim merely recites newly discovered results of using the same apparatus for

  the same purpose. Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc., 246 F.3d

  1368 (Fed. Cir. 2001).

        D.     CLAIM ELEMENTS DIRECTED TO THE INTENDED USE OF A
               COMPONENT

  [1Pre.] — Mass filter apparatus for filtering a beam of ions having
             mass/charge ratios in a range of mass/charge ratios to transmit
             ions of a selected mass/charge ratio in the said range, comprising:

  [13Pre.] — A method for filtering a beam of ions having mass/charge ratios
             within a range of mass/charge ratios to transmit ions of a selected
             mass/charge ratio in said range, the method comprising:

  [18Pre.] — A method for producing a mass spectrum of an ion beam having
             mass/charge ratios within a range of mass/charge ratios,
             comprising:

  [28Pre.] — A method of improving the resolving power of a mass
             spectrometer, comprising:

  Element [32A.] — emitting an ion beam from a beam source into a first mass
             filter stage, the ions in the beam having mass/charge ratios within
             a range of mass/charge ratios,

        Statements of an intended use or purpose of a component in a claimed

  structure or composition are not included in invalidity analysis under Sections 102

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  and 103. Boehringer Ingelheim Vetmedica, Inc. v. Schering-Plough Corp.,

  320 F.3d 1339, 1345 (Fed. Cir. 2003) (“[A]n intended use or purpose usually will

  not limit the scope of the claim because such statements usually do no more than

  define a context in which the invention operates.”). “Although such statements

  often appear in the claim’s preamble, a statement of intended use or purpose can

  appear elsewhere in a claim.” Ex parte Mewherter, Appeal No. 2012-007692,

  Decision on Appeal at 18–19 (P.T.A.B. May 8, 2013) (internal annotations

  omitted).

        The preambles above merely state the intended purposes of the mass filter

  apparatus or the methods claimed therein, respectively. They do not limit the

  scopes of their respective claims in any way. Accordingly, prior art that discloses

  the claimed apparatus or method anticipates (or renders obvious) these claims

  regardless of whether the prior art explicitly teaches the stated purpose.

        E.     GROUND 1: PCT375 ANTICIPATES CLAIMS 1–5, 8–10, 12–15, 18–21,
               25–35, 38, 41, 43, 46, 48, 51, 53, 56, 58, 61, 63, 66 UNDER § 102(B)
        PCT375 (Ex. 1012) is an international patent application published under the

  patent cooperation treaty (“PCT”) and listing the same inventor as the ’553 patent.

  It has an international publication date of March 23, 2000, and thus qualifies as


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  prior art under 35 U.S.C. § 102(b). U.S. Patent 7,202,470 is the United States

  equivalent of PCT375, and was cited on the face of the ’553 patent.

        EP1114437 is the European equivalent of PCT375. The ’553 Patent states

  that “EP1114437 discloses a method and apparatus for removing ions from an ion

  beam to reduce the gas load on the collision cell which serves to minimise the

  formation, or reformation, of unwanted artefact ions in the collision cell.” Ex.

  1001, 2:49-52. But the ’533 Patent does not discuss the two mass filtering stages

  disclosed therein. PCT375 and/or any of its foreign equivalents were not discussed

  during the prosecution or reissue proceeding.

        PCT375 discloses an ICP mass spectrometer with two quadrupoles in

  tandem. Ex. 1012, 5:13–23; Ex. 1004 ¶60. Both quadrupoles are operated

  preferably as mass selective ion optical devices. Id., 8:11–31; Ex. 1004 ¶60.

  PCT375 further teaches vacuum pumps and pressure ranges for the respective

  chambers. Id., 7:18–28; Ex. 1004 ¶60. Thus, PCT375 teaches all the structural

  limitations of the apparatus Claim 1 and many of its dependent Claims. Id., 7:18–

  28, 8:11–31; Ex. 1004 ¶60.




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        Moreover, PCT375 discloses operation of a mass spectrometer according to

  the methods of claims 13, 18, 25, 28, and 32. Id., 6:15–9:6; Ex. 1004 ¶61. Thus,

  PCT375 anticipates these claims and many of their respective dependent claims.

               1.     PCT375 Anticipates Claim 1

  [1Pre.] — Mass filter apparatus for filtering a beam of ions having
             mass/charge ratios in a range of mass/charge ratios to transmit
             ions of a selected mass/charge ratio in the said range, comprising:

        Although the preamble is nonlimiting (supra, XI.D.), PCT375 nevertheless

  discloses a mass filter apparatus that fulfills the recited purpose of filtering a beam

  of ions in a range of m/z ratios. Ex. 1012, 5:13–23.


        Moreover, as discussed in Section XI.B., Claim 1 is an apparatus claim

  reciting a manner of operation. And PCT375 discloses an apparatus that meets all

  the structural limitations of Claim 1 and is capable of operating as described. Id.,

  6:15–9:6. Thus, PCT375 anticipates Claim 1. To the extent that it is held to

  require transmitting only a selected range of ions, that Element is present as

  discussed in Elements 1C and 1D below.

  Element [1A.] — an ion beam source for emitting the ion beam,




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        PCT375 discloses an “ion beam source” in the form of an inductively

  coupled plasma source that emits an ion beam. Ex. 1012, 1:18–30, 9:7–14; Ex.

  1004 ¶64.

  Element [1B.] — first and second mass filter stages in series to receive the
             beam from the beam source, and a vacuum system arranged to
             maintain both the first and second filter stages at operating
             pressures below 10−3 torr,

        PCT375 discloses two quadrupoles that are the recited “first and second

  mass filter stages in series,” as can be clearly seen in Figure 2. Ex. 1012, Fig. 2;

  Ex. 1004 ¶65. In PCT375, the ion beam passes from the beam source to a first ion

  optical device located in a first evacuated chamber and eventually to a mass

  analyzer located in a third evacuated chamber. Id., 5:3–29; Ex. 1004 ¶65. PCT375

  discloses that the first ion optical device may be a “mass selective device” that

  “can be driven so as to transmit only ions of a specific mass to charge ratio (m/e)

  or a range of m/e” and “functions as an auxiliary mass filter.” Id., 8:9–16; Ex.

  1004 ¶65. Therefore, the first optical device, which PCT375 refers to as the

  “auxiliary mass filter,” is a first mass filter stage. Ex. 1004 ¶65. PCT375’s mass

  analyzer may “include[] a main mass filter.” Id., 8:5–8; Ex. 1004 ¶65. Therefore,

  PCT375’s main mass filter is a “second mass filter stage.” Ex. 1004 ¶65. The


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  filter stages are in series, as the ion beam passes from the source to the auxiliary

  mass filter and then eventually to the main mass filter. Id., 8:17–20; Ex. 1004 ¶65.

  Figure 2 (annotations added) shows ICP ion source 1 directing an ion beam into

  the first filter stage located in first evacuated chamber 6 and then, in series, to mass

  filter 37 (the second filter stage) in the third evacuated chamber 33. Ex. 1004 ¶65.




          PCT375 discloses a vacuum system that maintains both filters at a pressure

  below 10-3 torr. First, it discloses that the first evacuated chamber is maintained at

  a pressure of 10-2 to 10-4 mbar, which is 10-2 to 10-4 torr.1 Id., 5:30–32, 11:5–10;




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       1 mbar is equivalent to approximately 0.75 torr.

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  Ex. 1004 ¶66. Because the disclosed range overlaps with the claimed range of

  “below 10-3 torr,” PCT375 discloses this limitation. See Atlas Powder Co. v. Ireco,

  Inc., 190 F.3d 1342, 1345 (Fed. Cir. 1999) (finding anticipation because prior art

  references disclose compositions with ingredients identical to those of the claimed

  compositions in overlapping amounts). Second, PCT375 discloses that the third

  evacuated chamber 33 is maintained at a pressure “less than 10-4 mbar, typically

  about 10-6 mbar.” Id., 14:25–31; Ex. 1004 ¶66.

  Element [1C.] — wherein the first mass filter stage is configured to select for
             transmission on to the second filter stage only ions having a sub-
             range of mass/charge ratios which includes the selected
             mass/charge ratio;

        PCT375 discloses that the first filter stage is configured to select only a

  particular m/e or range of m/e, which is a sub-range of the range of ions emitted

  from the ion source. Ex. 1012, 8:9–16; Ex. 1004 ¶67. PCT375 further discloses

  that the second filter stage selects ions of the same m/e as the first filter stage. Id.,

  8:17–23; Ex. 1004 ¶67. As the m/e ranges at the first and second filter stages are

  the same, the second range (the selected range) is necessarily included in the first

  range (the sub-range). Ex. 1004 ¶67.




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  Element [1D.] — the second mass filter stage is configured to select only ions
             of the said selected mass/charge ratio.

        PCT375 discloses that the second filter stage only selects ions of the same

  m/e as the first filter stage for mass analysis. Ex. 1012, 8:9–23; Ex. 1004 ¶68.

  These ions correspond to the claimed selected mass/charge range. Ex. 1004 ¶68.

               2.    PCT375 Anticipates Claim 13

  [13Pre.] — A method for filtering a beam of ions having mass/charge ratios
             within a range of mass/charge ratios to transmit ions of a selected
             mass/charge ratio in said range, the method comprising:

        Even if the preamble of method Claim 13 were limiting (which it is not),

  PCT375 discloses a method of filtering a beam of ions. Id., 5:13–23. Because

  claim 13’s method tracks the purpose of the mass filter apparatus of Claim 1, claim

  1 is anticipated for the same reasons as Claim 13. Ex. 1004 ¶78.

  Element [13A.] — emitting the ion beam from a beam source into a first mass
             filter stage that is arranged in series with a second mass filter
             stage,

        PCT375 discloses emitting an ion beam source from an “inductively coupled

  plasma” source. Ex. 1012, 1:18–30, 9:7–14; Ex. 1004 ¶79. The ion beam passes

  from the source to a first ion optical device located in a first evacuated chamber

  and eventually to a mass analyzing means located in a third evacuated chamber.


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  Id., 5:3–29; Ex. 1004 ¶79. PCT375 discloses that the first ion optical device is

  preferably a “mass selective device” that “can be driven so as to transmit only ions

  of a specific mass to charge ratio (m/e) or a range of m/e” and “functions as an

  auxiliary mass filter.” Id., 8:9–16; Ex. 1004 ¶79. The filter stages are in series, as

  the ion beam passes from the source to the auxiliary mass filter and then eventually

  to the main mass filter, as explained for element [1B] above. Id., 8:17–20; Ex.

  1004 ¶79.

  Element [13B.] — selecting at the first mass filter stage for transmission on to
             the second mass filter stage only ions having a sub-range of
             mass/charge ratios which includes the selected mass/charge ratio,
             and

        PCT375 discloses Element 13B for the same reasons as Element 1C. Id.,

  8:9–23; Ex. 1004 ¶80.

  Element [13C.] — selecting at the second mass filter stage only ions having the
             selected mass/charge ratio,

        PCT375 discloses Element 13C for the same reasons as Element 1D. Ex.

  1004 ¶81.

  Element [13D.] — wherein the first and second filter stages operate at
             pressures below 10−3 torr.



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        PCT375 discloses Element 13D for the same reasons as Element 1B. Id.,

  Figure 2, 5:3–29, 8:5–8, 8:17–20; Ex. 1004 ¶82.

               3.     PCT375 Anticipates Claim 18

  [18Pre.] — supra.

        Although the preamble is nonlimiting (see Section XI.D.), PCT375 discloses

  a method for producing a mass spectrum of an ion beam. Id., 2:27-32, 5:13–23;

  Ex. 1004 ¶85.

  Element [18A.] — emitting the ion beam from a beam source into a first mass
             filter stage,

  Element [18B.] — selecting only ions having a sub-range of mass/charge ratios
             which includes a selected mass/charge ratio at the first mass filter
             stage for transmission on to a second mass filter stage arranged in
             series with the first mass filter stage,

  Element [18C.] — selecting only ions having the selected mass/charge ratio at
             the second mass filter stage for transmission on to a detector for
             detecting any ions having the selected mass/charge ratio,

  Element [18F.] — wherein the first and second filter stages operate at
             pressures below 10−3 torr.

        These claim elements are substantively identical to Elements [13A.]–[13D.]

  and are thus disclosed in PCT375 for the reasons above. Ex. 1004 ¶¶87-90; supra,

  at XI.E.2.


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  Element [18D.] — controlling the second filter stage so that the selected
             mass/charge ratio is scanned over a scanned range, and

  Element [18E.] — detecting the number of ions selected by the second filter
             stage at any given mass/charge ratio to provide a mass spectrum,

        PCT375 discloses scanning the first and second mass filter stages. Ex. 1012,

  8:36–9:4; Ex. 1004 ¶89. The result of scanning the mass filter stage at the mass

  analyzing means (i.e., before the detector) is a mass spectrum. Id., 5:24–29; Ex.

  1004 ¶89. The detector detects the number of ions selected at any given moment.

  Id.; Ex. 1004 ¶89.

              4.       PCT375 Anticipates Claims 28 and 32

  [28Pre.] — supra.

  [32Pre.] — A method for reducing the deposition of material on multipole
             elements of a primary resolving filter of a mass spectrometer,
             comprising:

        PCT375 anticipates Claims 28 and 32 based on the same disclosures. As

  explained above in Section XI.D., the preambles of these claims are nonlimiting.

  Even if they were somehow limiting, PCT375’s experiments are directed toward

  the same purpose and achieve the same results. Id., 1:31–2:7; Ex. 1004 ¶¶99, 108.

  Element [28A.] — emitting an ion beam from a beam source into a first mass
             filter stage that is in series with a second mass filter stage, the ions


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               in the beam having mass/charge ratios within a range of
               mass/charge ratios,

  Element [32A.] — supra.

        PCT375 discloses emitting an ion beam source from an “inductively coupled

  plasma” source. Id., 1:18–30, 9:7–14; Ex. 1004 ¶¶100, 109. The ion beam passes

  from the source to a first ion optical device located in a first evacuated chamber

  and eventually to a mass analyzing means located in a third evacuated chamber.

  Id., 5:3–29; Ex. 1004 ¶¶100, 109. PCT375 discloses that the first ion optical

  device is preferably a “mass selective device” that “can be driven so as to transmit

  only ions of a specific mass to charge ratio (m/e) or a range of m/e” and “functions

  as an auxiliary mass filter.” Id., 8:9–16; Ex. 1004 ¶¶100, 109. The filter stages are

  in series, as the ion beam passes from the source to the auxiliary mass filter and

  then, eventually, to the main mass filter, as explained for Element [1B.] above. Id.,

  8:17–20; Ex. 1004 ¶¶100, 109.

  Element [28B.] — selecting at the first mass filter stage only ions having a sub-
             range of mass/charge ratios which includes a selected mass/charge
             ratio, the range being broader than the sub-range, the sub-range
             being broader than the selected mass/charge ratio,

  Element [28C.] — receiving only ions in said sub-range at the second mass
             filter stage,


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  Element [32B.] — supra.

  Element [32C.] — receiving only ions in said sub-range at a second mass filter
             stage in series with said first mass filter stage, said second mass
             filter stage constituting said primary resolving filter, and

        PCT375 discloses passing ions in the sub-range from the first filter stage to

  the second filter stage. Id., 8:17–20; Ex. 1004 ¶¶101-102, 109-110. PCT375

  discloses mass selecting at the second filter stage the ions of the same m/z as the

  first filter stage for analysis. Id., 8:23–9:4; Ex. 1004 ¶¶101-102, 109-110. These

  ions correspond to the claimed “selected” mass/charge range. Id.; Ex. 1004 ¶¶101-

  102, 109-110. Furthermore, PCT375 discloses that the sub-range at the filter stage

  (the “auxiliary filter”) can be a range of m/z, which is broader than the selected

  mass/charge range at the second filter stage. Id., 8:9–16; Ex. 1004 ¶¶101-102,

  109-110.

  Element [28D.] — selecting at the second mass filter stage only ions having the
             selected mass/charge ratio,

  Element [28E.] — whereby the second filter stage can operate with reduced
             ion beam current.

  Element [32D.] — selecting at the second mass filter stage only ions having a
             selected mass/charge ratio within the sub-range,

  Element [32E.] — thereby reducing the number of ions rejected in said
             primary resolving filter.

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         In the experiments described in Elements [28B.] and [32B.], the quadrupole

  mass filter selects analyte ions having a particular mass/charge ratio. Because the

  first mass filter removes ions having m/z ratios outside of the transmission

  bandpass, the downstream quadrupole mass filter operates with an ion current of

  reduced intensity. Ex. 1004 ¶¶103-104, 111-112. PCT375 describes an identical

  experiment. Id., 8:36–9:4 (“The ion beam that leaves the devices is much less

  intense . . . .”).


         PCT375 also teaches filtering the range of ions at the auxiliary mass filter to

  a single mass-to-charge ratio or range, which would decrease the number of ions

  that reach the main mass filter, which corresponds to the claimed “primary

  resolving filter.” Ex. 1012, 8:12-20; Ex. 1004 ¶112.

                 5.    PCT375 Anticipates Claim 25

  [25Pre.] — selecting at the second mass filter for transmission on to the
              detector or output only the filtered ions, the second mass filter
              being disposed between the first mass filter and the detector or
              output.

         PCT375 discloses this limitation for the same reasons it discloses each

  limitation of Claim 1 and Element [13D]. Id., Figure 2, 5:3–29, 8:5–8, 8:17–20;

  Ex. 1004 ¶94.

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  Element [25A.] — emitting the ion beam from a beam source into a first mass
             filter,

        PCT375 discloses the limitation of Element [25A] for the same reasons it

  discloses Element [13A]. Ex. 1012, 8:9–23; Ex. 1004 ¶95.

  Element [25B.] — selecting at the first mass filter for transmission on to a
             second mass filter only ions having a range of mass/charge ratios
             which includes the mass/charge ratio of the filtered ions, the range
             being broader than the mass/charge ratio and narrower than the
             array of mass/charge ratios of the ion beam, and

        PCT375 discloses the limitation of Element [25B] for the same reasons it

  discloses Element [13B]. Ex. 1012, 8:9–23; Ex. 1004 ¶96.

  Element [25C.] — selecting at the second mass filter for transmission on to the
             detector or output only the filtered ions, the second mass filter
             being disposed between the first mass filter and the detector or
             output.

        PCT375 discloses the limitation of Element [25C] for the same reasons it

  discloses Element [13C]. Id.; Ex. 1004 ¶96.

              6.    PCT375 Anticipates Many Dependent Claims

  Claim [2.] — An apparatus according to claim 1, wherein the ions within the
              sub-range comprise 1%, or less, of the ions within the beam.

  Claim [3.] — An apparatus according to claim 1, wherein the ions within the
              sub-range comprise 0.01%, or less, of the ions within the beam.


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  Claim [14.] — A method according to claim 13, wherein the ions within the
             sub-range comprise 1%, or less, of the ions within the beam.

  Claim [15.] — A method according to claim 13, wherein the ions within the
             sub-range comprise 0.01%, or less, of the ions within the beam.

  Claim [20.] — A method according to claim 18, wherein the ions within the
             sub-range comprise 1%, or less, of the ions within the beam.

  Claim [21.] — A method according to claim 18, wherein the ions within the
             sub-range comprise 0.01%, or less, of the ions within the beam.

  Claim [26.] — A method according to claim 25, wherein the ions within the
             range comprise 1%, or less, of the ions within the beam.

  Claim [27.] — A method according to claim 25, wherein the ions within the
             range comprise 0.01%, or less, of the ions within the beam.

  Claim [29.] — A method according to claim 28, wherein the ions within the
             sub-range comprise 1%, or less, of the ions within the beam.

  Claim [30.] — A method according to claim 28, wherein the ions within the
             sub-range comprise 0.01%, or less, of the ions within the beam.

  Claim [33.] — A method according to claim 32, wherein the ions within the
             sub-range comprise 1%, or less, of the ions within the beam.

  Claim [34.] — A method according to claim 32, wherein the ions within the
             sub-range comprise 0.01%, or less, of the ions within the beam.

        Each of the dependent claims listed here requires that the ions within the

  sub-range comprise 1% or less, or 0.01% or less, of the ions within the beam.

  Ordinarily most of the ions that are produced in a mass spectrometer consist of the

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  plasma gas, not the sample. Id., 1:37–2:4. Necessarily then, as explained in

  PCT375, “the most abundant ions in the plasma beam are rejected by the mass

  selective device.” Id., 9:7–11. Dr. Yost concurs, emphasizing that the actual ratio

  of sample to plasma ions in any particular experiment would depend on the sample

  used, as well as the sub-range selected by the user. Ex. 1004 ¶¶69-71. However,

  Dr. Yost attests that the selection of a sub-range of a single m/z would result in

  ions within the sub-range comprising less than 0.01% of the ions in the beam. Id.


        Furthermore, PCT375 discloses synchronously scanning the auxiliary mass

  filter across a specific mass-to-charge ratio. Ex. 1012, 8:36–9:6; Ex. 1004 ¶70. A

  POSA would understand that when scanning through various particular mass-to-

  charge ratios, some will have effectively no ions present, which means that the

  percentage of the ions within the beam that are in the sub-range would be

  effectively zero. Ex. 1004 ¶70.

  Claim [4.] — An apparatus according to claim 1, wherein each filter stage
              comprises a multi-pole analyzer.

  Claim [5.] — An apparatus according to claim 4, wherein each filter stage
              comprises rods in a quadrupole arrangement




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        PCT375 explains that each of the filter stages is preferably a quadrupole

  arrangement, which is a multipole analyzer. Ex. 1012, 8:5–16; Ex. 1004 ¶¶72-73.

  Claim [8.] — An apparatus according to claim 1, further comprising a
              scanner for controlling the second filter stage so that the
              mass/charge ratio of transmitted ions is scanned over a scanned
              range to provide a mass spectrum.

  Claim [9.] — An apparatus according to claim 8, wherein the scanner is
              arranged to control also the first filter stage so that a center point
              of the sub-range of mass/charge ratios transmitted by said first
              filter stage substantially tracks the scanned mass/charge ratio
              transmitted by the second filter stage.

  Claim [19.] — A method according to claim 18, further comprising controlling
              the mass/charge of ions selected by the first filter stage so that a
              center point of the sub-range of mass/charge ratios selected by
              said first filter stage substantially tracks the selected mass/charge
              ratio during scanning of the selected mass/charge ratio by the
              second filter stage.

  Claim [38.] — An apparatus according to claim 1, further comprising a
              scanner configured to scan the first filter stage and the second
              filter stage together to provide a mass spectrum.

  Claim [41.] — An apparatus according to claim 8, wherein the scanned range
              is the sub-range.

  Claim [43.] — A method according to claim 13, further comprising: scanning
              the first mass filter stage and the second mass filter stage together
              to provide a mass spectrum.




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  Claim [46.] — A method according to claim 13, further comprising: scanning
              the second mass filter stage over a scanned range to provide a
              mass spectrum, wherein the scanned range is the sub-range.

  Claim [48.] — A method according to claim 18, wherein the first mass filter
              stage and the second mass filter stage are scanned together to
              provide the mass spectrum.

  Claim [51.] — A method according to claim 18, wherein the scanned range is
              the sub-range.

  Claim [53.] — A method according to claim 25, further comprising: scanning
              the first mass filter and the second mass filter together to provide
              a mass spectrum.

  Claim [56.] — A method according to claim 25, further comprising: scanning
              the second mass filter over a scanned range to provide a mass
              spectrum, wherein the scanned range is the range.

  Claim [58.] — A method according to claim 28, further comprising: scanning
              the first mass filter stage and the second mass filter stage together
              to provide a mass spectrum.

  Claim [61.] — A method according to claim 28, further comprising: scanning
              the second mass filter stage over a scanned range to provide a
              mass spectrum, wherein the scanned range is the sub-range.

  Claim [63.] — The method of claim 32, wherein the first mass filter stage and
              the second mass filter stage are scanned together to provide a
              mass spectrum.

  Claim [66.] — The method of claim 32, further comprising: scanning the
              second mass filter stage over a scanned range to provide a mass
              spectrum, wherein the scanned range is the sub-range.


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        PCT375 discloses scanning the two filter stages (the “auxiliary mass filter”

  and the “main mass filter”) synchronously, such that the same m/e is being filtered

  at each stage. Id., 8:37–9:6; Ex. 1004 ¶¶74-75. The result of the synchronous scan

  is a mass spectrum. Id.; Ex. 1004 ¶¶74-75. The total range scanned for each of the

  two filters is the same, comprising the entire sub-range. Id.; Ex. 1004 ¶¶74-75.

  Furthermore, as the total range scanned for the two filters is the same, the center of

  the scan ranges for the two mass filters is substantially the same. Id.; Ex. 1004

  ¶¶74-75. This method would necessarily mean that the center point of the sub-

  range of mass/charge ratios selected by said first filter stage would substantially

  track the selected mass/charge ratio during scanning. Ex. 1004 ¶91. Thus, each of

  the claims set forth above is disclosed in PCT375. Ex. 1004 ¶¶74-75, 91, 116-127.

  Claim [10.] — An apparatus according to claim 1, wherein the first filter stage
              is arranged off axis with respect to the second filter stage.

        PCT375 discloses that the axis of the mass analyzing means (which

  corresponds to the claimed second filter stage) is preferably offset from the first

  axis (which corresponds to the claimed first filter stage). Id., 9:20–23; Ex. 1004

  ¶76. In particular, PCT375 discloses that the first axis is the ion beam at element 9

  in Figure 2 (annotation added), which continues through the first and second


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  evacuated chambers (6 and 20). The second axis, 36, is along the mass analyzing

  means 37 in chamber 33. Id., 16:32–35.




  Claim [12.] — Mass spectrometer comprising a mass filter apparatus
              according to claim 1.

        PCT375 discloses that the two-stage mass filter apparatus described in the

  independent claims above is incorporated into a mass spectrometer. Id., 1:6–14,

  5:1–25; Ex. 1004 ¶77.

  Claims [31.] — A method according to claim 28, wherein the first and second
              filter stages operate at pressures below 10−3 torr.

  Claim [35.] — A method according to claim 32, wherein the first and second
              filter stages operate at pressures below 10−3 torr.



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         PCT375 discloses maintaining the first evacuated chamber at a pressure of

  10-2 to 10-4 mbar, which is 10-2 to 10-4 torr. Id., 5:30–32; 11:5–10; Ex. 1004 ¶¶107,

  115. PCT375 discloses maintaining the third evacuated chamber 33 at a pressure

  “less than 10-4 mbar, typically about 10-6 mbar.” Id., 14:25–31; Ex. 1004 ¶¶107,

  115.

         F.     GROUND 2: PCT375 RENDERS OBVIOUS CLAIM 11

  Claim [11.] — An apparatus according to claim 10, wherein the longitudinal
              axis of the first filter stage is arranged to intersect with the
              longitudinal axis of the second filter stage substantially at the end
              of the second filter stage nearest to the first filter stage.

         Figures 1 and 2 of PCT375 together teach a mass filter apparatus “wherein

  the longitudinal axis of the first filter stage [an ion optical device (17)] is arranged

  to intersect with the longitudinal axis of the second filter stage [mass analyzer (37)]

  substantially at the end of the second filter stage nearest to the first filter stage.”

  Id., Figures 1 and 2; Ex. 1004 ¶¶128-130.


         Specifically, PCT375 describes a prior art ICP mass spectrometer in

  Figure 1. Id., 10:11–30; Ex. 1004 ¶¶128-130. In this earlier mass spectrometer,

  the ion optical device (17) is a lens stack in one evacuated chamber (60), and the

  mass analyzer (37) is in a separate evacuated chamber (33). Id. As shown in

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  Figure 1, the longitudinal axis of the ion optical device intersects with the

  longitudinal axis of the mass analyzer substantially at the end of the mass analyzer

  nearest to the ion optical device. Id.; Ex. 1004 ¶¶128-130.




        PCT375 also describes an embodiment of the present invention in Figure 2.

  Id., 10:31–33, Figure 2 (annotations added); Ex. 1004 ¶¶128-130. It states that in

  this embodiment, the evacuated chamber (60) of the prior art is divided into two

  chambers, the first evacuated chamber (6) and a second evacuated chamber (20).

  Id., 11:3–5. The ion optical device (17) is the first filter stage in the first evacuated

  chamber. Id. at 12:8–9. The mass analyzer (37) is the second filter stage in the

  third evacuated chamber (33). Id.

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         As explained above regarding Claim 10, PCT375 further states that

  preferably the second axis of the mass analyzer is offset from the first axis of the

  ion source (1) and the ion optical device (17). Id., 9:20–21. Based on this teaching

  and the two mass spectrometers in Figures 1 and 2, a POSA would have

  understood that one way for the two axes to be offset from each other is for the

  longitudinal axis of the first filter stage (the ion optical device) to intersect the

  longitudinal axis of the second filter stage (the mass analyzer). Ex. 1004 ¶¶128-

  130. A POSA would also have at once envisaged that the intersection could be

  placed substantially at the end of the second filter stage (the mass analyzer) nearest

  to the first filter stage (the ion optical device). Id.



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          G.    GROUND 3: TANNER ANTICIPATES CLAIMS 1, 4–6, 8–9, 12–13, 16,
                18–19, 22, 24–25, 28, 31–32, 35, 38–41, 43–46, 48–51, 53–56, 58–61,
                63–66 UNDER § 102(B)

          Tanner (Ex. 1006) was published in 1999 and thus qualifies as prior art

  under 35 U.S.C. § 102(b). Ex. 1008 ¶21. Tanner was not submitted or discussed

  during the prosecution and the reissue proceeding.

          As detailed below, Tanner discloses an ICP mass spectrometer with two

  quadrupoles in tandem. Ex. 1006, 1086-87; Ex. 1004 ¶131. The first quadrupole

  is a bandpass filter,2 and the second quadrupole is a mass analyzer. Id.; Ex. 1004

  ¶131. Tanner further discloses vacuum pumps for their respective chambers. Id.;

  Ex. 1004 ¶131. As explained in Section XI.B, Tanner discloses all the structural

  limitations of apparatus Claim 1 and many of its dependent claims. Id.

          Tanner states that “the basic configuration of these instruments has been

  described previously” in Baranov (Ex. 1011). Id., 1087. For illustration purposes




   2
       A mass filter that allows transmission of ions above a specified m/z ratio is
       commonly referred to a “highpass filter,” passing all ions higher than the set
       value. Similarly, a quadrupole used as a “lowpass filter” transmits all ions
       lower than a high m/z threshold. Ex. 1004 ¶131 n.4. A “bandpass filter”
       transmits ions in a range, or band, spanning between high and low m/z cutoff
       values. Id.

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  only, a schematic of the instrumental configuration from Figure 11 of Baranov is

  shown below. Ex. 1011, 1139; Fig. 11 (annotations added).




        Moreover, as explained in Section XI.C, Tanner’s instrument performs the

  methods of claims 13, 18, 25, 28, and 32 during normal operation. Ex. 1004 ¶133.

  Thus, Tanner anticipates these claims and many of their respective dependent

  claims.




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               1.     Tanner Anticipates Claim 1

        [1Pre.] — Although the preamble is nonlimiting (see Section XI.D), Tanner

  nevertheless discloses a mass filter apparatus that fulfills the recited purpose of

  filtering a beam of ions in a range of m/z ratios. Id., 1085; Ex. 1004 ¶134.


        Moreover, as discussed in Section XI.B., claim 1 is an apparatus claim

  reciting a manner of operation. And Tanner discloses an apparatus that meets all

  the structural limitations of claim 1 and is capable of operating as described. Id.,

  1088; Ex. 1004 ¶135.


        Element [1A.] — Tanner discloses an ion beam source, namely an

  inductively coupled plasma ion source. Id., 1083; Ex. 1004 ¶136.


        Element [1B.] — Tanner discloses two quadrupoles as the first and second

  mass filter stages in series. Id., 1086; Ex. 1004 ¶137. The first mass filter stage is

  a mass filter stage, capable of operating in a bandpass mode which selects ions in a

  range of mass-to-charge ratios. Id., 1083 (abstract), 1086; Ex. 1004 ¶137. The

  second mass filter stage is a “mass analyzer quadrupole.” Id., 1087; Ex. 1004

  ¶137. Tanner discloses operating each filter stage at an operating pressure below

  10-3 torr. Id. (“operating in the low 10-5 torr range”).

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          Element [1C.] — Tanner discloses that “the quadrupole reaction cell offers

  the potential to define a mass bandpass window”; i.e., it is configured to select only

  ions having a sub-range of m/z values between high and low m/z cutoff values.

  Id., 1085; Ex. 1004 ¶138. Tanner discloses two types of bandpass filters: a fixed

  bandpass filter and a dynamic bandpass filter. Id., 1086; Ex. 1004 ¶138.


          In Tables 1 and 2, Tanner discloses experiments in which the bandpass filter

  selects ions having a sub-range of m/z ratios that includes a selected mass/charge

  ratio of an analyte ion. Id., 1089–90; Ex. 1004 ¶139.


          Element [1D.] — As discussed above in Elements [1B.] and [1C.], Tanner

  discloses that the quadrupole mass filter as the second mass filter stage is

  configured to select only ions of the said mass/charge ratio. Tanner discusses the

  “mass of the ion being analyzed in the downstream mass filter” and “the analyte

  mass being passed through the downstream mass filter.” Id., 1086, 1091; Ex. 1004

  ¶140.




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               2.    Tanner Anticipates Claim 13

        [13Pre.] — Although the preamble is nonlimiting (see Section XI.D),

  Tanner nevertheless discloses a method of filtering a beam of ions in the

  experiment described for Figure 2. Id., 1088, Tables 1-2; Ex. 1004 ¶147.


        Element [13A.] — In Figure 2 experiment, a sample containing 18 trace

  elements is introduced to the ion source, which emits an ion beam into the

  bandpass reaction cell as the first mass filter stage. Id., 1088; Ex. 1004 ¶148.


        Element [13B.] — In Figure 2 experiment, Tanner sets the bandpass

  reaction cell such that only ions having a sub-range of mass/charge ratios are

  transmitted. Id., Figure 2 (caption); Ex. 1004 ¶149. This sub-range of m/z ratios

  includes the “selected mass/charge ratio” of each of the 18 trace elements in the

  sample. Id., Tables 1-2; Ex. 1004 ¶149. As Dr. Yost explains, in Tanner Figure 2

  experiment, the quadrupole is operated in the bandpass filter mode, with RF and

  DC voltages that place the ion of interest (i.e., the ion synchronously scanned in

  the following quadrupole mass filter, mset) at Mathieu parameters of a = 0.005, q =

  0.11. Id., Figure 2 (caption); Ex. 1004 ¶149. Thus, there is a lower m/z limit (low

  mass cut-off or “LMCO”) as well as an upper m/z limit (high mass cut-off or


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  “HMCO”). Id. For 11B, for instance, the range of stable m/z values would be from

  ~m/z 2 to 20; for 208Pb, the range of stable m/z values would be from ~m/z 28 to

  375. Id.


        Element [13C.] — Tanner sets the quadrupole mass analyzer to select only

  ions having a specific m/z ratio of each of the 18 trace elements. Ex. 1006, Tables

  1-2, Figure 2; Ex. 1004 ¶150.


        Element [13D.] — The operating pressures of first and second mass filter

  stages are “below 10-3 torr” or roughly 10-5 torr. Id., 1088 (“[the spectra] were

  obtained with the dynamic reaction cell vented to the high vacuum chamber and

  without addition of reaction gas (cell pressure ~2 x 10-5 torr)”), Tables 1-2; Ex.

  1004 ¶151.

               3.     Tanner Anticipates Claim 18

        [18Pre.] — Although the preamble is nonlimiting (see Section XI.D),

  Tanner nevertheless discloses a method for producing a mass spectrum of an ion

  beam in Figure 2 experiment. Id., 1088, Tables 1-2; Ex. 1004 ¶153.




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        Elements [18A.], [18B.], [18C.], [18F.] — These claim elements are

  substantively identical to Elements [13A.]-[13D.] and are thus disclosed in Tanner

  for the reasons above. Id., 1088, Tables 1-2; Ex. 1004 ¶¶154-159.


        Element [18D.] — As discussed above in Element [13C.], Tanner sets the

  quadrupole mass analyzer to scan at each specific m/z ratio of the 18 trace

  elements over a scanned range. Id., 1087, Tables 1-2; Ex. 1004 ¶157.


        Element [18E.] — Tanner detects the ions selected by the quadrupole at

  each of the m/z ratios. Id., 1090; Ex. 1004 ¶158.

               4.    Tanner Anticipates Claim 25
        [25Pre.] — Tanner discloses this limitation for the same reasons it discloses

  each limitation of Claim 1 and Element [13D.]. Id., 1088, Tables 1-2; Ex. 1004

  ¶¶163-164. Tanner discloses the limitation of Element [25A.] for the same reasons

  it discloses Element [13A.]. Id.; Ex. 1004 ¶165. Tanner discloses the limitation of

  Element [25B.] for the same reasons it discloses Element [13B.]. Id., 1085; Ex.

  1004 ¶166. Tanner discloses the limitation of Element [25C.] for the same reasons

  it discloses [13C.]. Id., 1088, Tables 1-2; Ex. 1004 ¶167.




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               5.     Tanner Anticipates Claims 28 and 32

        [28Pre.], [32Pre.] — Tanner anticipates Claims 28 and 32 based on the

  same disclosures, and so the two are addressed simultaneously. Although the

  preamble is nonlimiting (see Section XI.D), Tanner nevertheless discloses methods

  that fulfill the recited purposes in these claims. Ex. 1004 ¶¶168, 178.


        Elements [28A.], [32A.] — Tanner discloses emitting an ion beam into a

  first mass filter stage in series with a second mass filter stage. Id., 1084–85; Ex.

  1004 ¶¶169, 179. In the experiments described therein, Tanner introduces samples

  into an ICP mass spectrometer having a bandpass filter and a quadrupole mass

  filter. Id., 1088 (“a 1-ppb mixed analyte sample”); Ex. 1004 ¶¶169, 179. Tanner

  further discloses that the ion beam contains ions within a range of mass/charge

  ratios. Id., 1084–85 (“impurity gas”), Tables 1-2; Ex. 1004 ¶¶169, 179.


        Elements [28B.], [32B.] — For the same reasons Tanner discloses Element

  [1C.], it discloses a sub-range at the first filter that is broader than the range and

  further discloses the second filter having a selected ratio within that sub-range. Id.,

  1085–86, 1089–90.




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         The Tanner Figure 2 experiment discloses this limitation for the same

  reasons as Element [13B.]. Ex. 1004 ¶¶170, 180.


         The Tanner Figure 6 experiment sets the reaction cell’s bandpass to be

  between 30 and 86 amu, and mass analyzes analyte ions having mass/charge ratios

  of 39, 40, 48, 52, 55, 56, 58, 60, 63, 65, 64, and 66, respectively, at the quadrupole

  mass filter. Id., 1091–92, Tables 1-2; Ex. 1004 ¶¶171, 181.


         The Tanner Figure 8b experiment sets the reaction cell’s bandpass to be

  between 19 and 55 amu, and mass analyzes analyte ions having a mass/charge ratio

  of 27 at the mass filter. Id., 1092–93, Tables 1-2; Ex. 1004 ¶¶172, 182.


         The Tanner Figure 9 experiment sets the reaction cell’s bandpass to be

  between 6–16 amu, and mass analyzes analyte ions having mass/charge ratios of 6

  and 7 amu, respectively, at the mass filter. Id., 1093, Tables 1-2; Ex. 1004 ¶¶173,

  183.


         Elements [28C.], [32C.] — In the experiments described in Elements [28B.]

  and [32B.], the quadrupole mass filter as the primary resolving filter receives ions




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  within the transmission bandpass of the reaction cell. Id., 1091–93, Tables 1-2;

  Ex. 1004 ¶¶174, 184.


        Elements [28D.], [28E.], [32D.], [32E.] — In the experiments described in

  Elements [28B.] and [32B.], the quadrupole mass filter selects analyte ions having

  a particular mass/charge ratio within the transmission bandpass of the reaction cell.

  Id., Tables 1-2; Ex. 1004 ¶¶175, 185. Because the reaction cell filters out ions

  having m/z ratios outside of its transmission bandpass, the downstream quadrupole

  mass filter operates with a reduced number of ions (i.e., a reduced ion beam

  current). Ex. 1004 ¶¶176, 186.

               6.    Tanner Anticipates Many Dependent Claims

        Claims [4.], [5.], [6.], [16.], [22.] — Tanner discloses a quadrupole

  bandpass reaction cell as the first mass filter stage, and a quadrupole mass analyzer

  as the second mass filter stage. Id., 1086–87; Ex. 1004 ¶¶141-142. Each of these

  quadrupoles has a DC and an AC voltage supply for applying driver voltages to the

  rods. Id.; Ex. 1004 ¶¶143, 152, 161.


        Claims [8.], [9.], [19.], [24.], [38.] — In Tanner’s dynamic bandpass cell

  instrument, “a center point of the sub-range of mass/charge ratios selected by said

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  first filter stage [the center point of the bandpass of the dynamic reaction cell]

  substantially tracks the selected mass/charge ratio during scanning of the selected

  mass/charge ratio by the second filter stage [‘the mass bandpass window of the

  [dynamic reaction cell] was dynamically adjusted with the reference q and a

  defined for the mass being transmitted through the mass filter’].” Id., 1087; Ex.

  1004 ¶145. A POSA would have understood that Tanner discloses a scanner for

  controlling the two filter stages as described in Claims 8, 9, 24, and 38. Ex. 1004

  ¶¶144-145, 162, 188.


        Claim [12.] — Tanner discloses a mass spectrometer comprising a two-

  stage mass filter apparatus. Id.; Ex. 1004 ¶146.


        Claims [31.], [35.] — Tanner discloses the limitations of these claims for

  the same reasons as it discloses Element [13D.]. Id., 1088, Tables 1-2; Ex. 1004

  ¶¶177, 187.


        Claims [39.], [43.], [44.], [48.], [49.], [53.], [54.], [58.], [59.], [63.], [64.] —

  With the dynamic reaction cell, Tanner discloses a method in which the first mass

  filter stage and the second mass filter stage are scanned together to provide a mass

  spectrum, and the scan is stepped from transmission peak to another peak (also

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  called a jump scan). Id., 1087 (“The bandpass is adjusted on a per element basis;

  that is, a value of q and of a is defined for each analyte in the peak hopping mode

  and the bandpass is adjusted prior to measurement of each signal.”); Ex. 1004

  ¶¶189-192, 195-196, 199-200, 203-204, 207-208.


        Claims [40.], [41.], [45.], [46.], [50.], [51.], [55.], [56.], [60.], [61.], [65.],

  [66.] — Tanner discloses a method wherein the scan is a smooth scan and the

  scanned range is the sub-range. Id., 1086 (“the mass analyzer scanned through the

  bandpass of the reaction cell”); Figure 2 (showing a smooth scan across mass-to-

  charge ratios); Ex. 1004 ¶¶190, 193-194, 197-198, 201-202, 205-206, 209-210.

        H.     GROUND 4: DOUGLAS IN COMBINATION WITH TANNER RENDERS
               OBVIOUS CLAIMS 1-6, 8-9, 12-16, 18-22, AND 24-66 UNDER § 103
        Douglas (Ex. 1007) qualifies as prior art under 35 U.S.C. § 102(b) because it

  was published on February 20, 2001. The ’553 Patent specification states that

  Douglas “teaches a spectrometer comprising two filters operating with similar

  mass resolution to improve the resolution of the whole device.” Ex. 1001, 2:43–

  48.




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        During the prosecution of the ’788 Patent, the applicant admitted that

  “Douglas teaches an apparatus having two mass filters arranged in series.” Ex.

  1002, 11. The applicant argued that in Douglas, however, “both filters pass

  essentially the same range of mass/charge ratios (i.e., at the same resolution), but

  typically with a mass offset between them.” Id. But that is wrong.


        Douglas teaches a mass spectrometer with two quadrupoles, wherein each is

  operated in mass analyzing mode. Ex. 1007, 2:65–67; Ex. 1004 ¶212. Figure 7a

  of Douglas shows an embodiment of a double-quadrupole apparatus, which is

  reproduced below. Id., 5:35–38, Figure 7a (annotations added); Ex. 1004 ¶212.




        Douglas teaches that the two quadrupoles operate in tandem and mass select

  ions with the same m/z ratio. Id., 9:13–17; Ex. 1004 ¶213. Their two peak shapes

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  can then be combined to give a single, enhanced, higher resolution peak. Id.; Ex.

  1004 ¶213. The two quadrupoles can be scanned with no mass shift or offset

  between them, or with a mass offset between them. Id., 12:2–6, 11:44–47, Figures

  11C and 12D; Ex. 1004 ¶213.


        Douglas teaches that each quadrupole may operate at the same constant

  resolution. Id., 13:15–16; Ex. 1004 ¶214. Significantly, Douglas also teaches that

  the two quadrupoles may just as easily operate at different resolutions. Id. at

  13:25–27; Ex. 1004 ¶214.

               1.     Douglas in Combination with Tanner Renders Obvious
                      Claim 1
        [1Pre.] — Although the preamble is nonlimiting (see Section XI.D),

  Douglas nevertheless teaches a mass filter apparatus that fulfills the recited

  purpose of filtering a beam of ions in a range of m/z ratios. Id., 12:2–6, 11:44-47;

  Ex. 1004 ¶¶217-218.


        As discussed in Section XI.B., Claim 1 is an apparatus claim reciting a

  manner of operation. Id. Douglas discloses an apparatus that meets all the




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  structural limitations of Claim 1 and is capable of operating as described. Ex. 1004

  ¶217.

          Element [1A.] — Douglas teaches “an inductively coupled plasma source”

  as an ion beam source for emitting the ion beam. Id., 13:43.; Ex. 1004 ¶219.

          Element [1B.] — Douglas teaches two quadrupoles in tandem as the first

  and second mass filter stages in series. Id., 2:65–67; Ex. 1004 ¶220. Douglas also

  teaches that quadrupoles typically “require pressures as low as 10-5 torr,” id.,

  18:44–45, and the mass filter apparatus described therein may operate at “a

  pressure of 2×10[-4] Torr, i.e., a factor of 10 higher than is conventional or

  common.” Id. at 20:48–50; Ex. 1004 ¶220.


          Elements [1C.], [1D.] — Douglas teaches two quadrupoles in series that are

  capable of operating in the manner described in Elements [1C.] and [1D.]. Ex.

  1004 ¶221. Douglas also teaches that the two quadrupoles mass select ions with

  the same m/z ratio. Id., 9:13–17; Ex. 1004 ¶221. To do so, they may operate at

  different resolutions at the same tip of a given stability region. Id., 13:25–27; Ex.

  1004 ¶221. In other words, the first quadrupole may operate at a lower resolution

  (i.e., to select ions having a sub-range of m/z ratios that includes the selected m/z


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  ratio) as described in Element [1C.], and the second quadrupole may operate at a

  higher resolution (i.e., to select only ions of the selected m/z ratio) as described in

  Element [1D]. Id.; Ex. 1004 ¶221.


        To the extent that the Board finds that Douglas does not teach Elements

  [1C.] and [1D.], a POSA would have been motivated to operate the two mass filter

  stages as described in Elements [1C.] and [1D.] in light of Tanner’s teaching.

               2.     Motivation to Combine Douglas and Tanner

        As discussed in Ground 3, Tanner is directed to improving the detection of

  ICP-MS using two mass filter stages. Specifically, Tanner teaches the first mass

  filter stage is a bandpass reaction cell, and the second mass filter stage is a

  conventional quadrupole mass analyzer. Ex. 1006, 1088, Tables 1-2; Ex. 1004

  ¶215. Tanner teaches that a bandpass filter as the first filter stage eliminates

  interfering ions and prevents the formation of new interfering ions before the ion

  beam enters into the second mass analyzing stage. Id., 1086; Ex. 1004 ¶215.


        Douglas is also directed to using two filter stages to improve the resolution

  of ICP-MS. Douglas discusses that the two filter stages may be in different

  resolution at the same tip of a given stability region. Ex. 1007, 13:25–27; Ex. 1004

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  ¶216. A POSA would have understood Douglas’s teaching to mean that the first

  filter stage may be a bandpass filter (i.e., at a lower resolution), and the second

  filter stage may be a conventional mass analyzer (i.e., at a higher resolution). Ex.

  1004 ¶216. In view of Tanner, a POSA would have been motivated to operate

  Douglas’s instrument in a manner taught by Tanner—i.e., having a bandpass filter

  as the first filter stage and a conventional mass analyzer as the second filter

  stage—to improve the resolution of ICP-MS. Ex. 1004 ¶216.

               3.     Douglas in Combination with Tanner Renders Obvious
                      Several Additional Independent Claims

        Claim [13.], [18.], [25.], [28.], [32.] — Douglas teaches experiments using

  an ICP source with two mass filter stages. Ex. 1007, 13:35–15:55. However,

  Douglas does not explicitly disclose an experiment with a first filter stage selecting

  ions having a sub-range of m/z ratios that includes a selected m/z ratio, and a

  second filter stage selecting ions having the selected m/z ratio in manners

  described in these claims.


        As explained in Ground 3, Tanner teaches various methods of operating the

  two filter stages in manners as described in these claims. Ex. 1006, 1086–87,

  Tables 1-2. And as discussed in this Ground for Claim 1, in view of Tanner, a

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  POSA would have been motivated to operate the two filter stages in Douglas’s

  instrument as described in these claims. These methods are normal operations of a

  double-quadrupole mass spectrometer, as set forth in Section XI.C., and as shown

  by Tanner.

                4.    Douglas in Combination with Tanner Renders Obvious
                      Claim 13

          [13Pre.] — Although the preamble is nonlimiting (see Section XI.D.),

  Douglas nevertheless teaches a method for filtering a beam of ions. Ex. 1004

  ¶234.


          Element [13A.] — Douglas teaches emitting an ion beam containing Co+

  ions (m/z =59) into a first mass filter stage in series with a second mass filter stage.

  Ex. 1007, 13:43–49 (“two quadrupoles operated in tandem”); Ex. 1004 ¶235.


          Elements [13B.]-[13C.] — As described above in Ground 3 for Elements

  [13B.] and [13C.], Tanner teaches these two mass filter stages. Ex. 1006, 1086–

  87. A POSA would have been motivated to carry out Tanner’s mass analysis on

  Douglas’s instrument for the same reasons set forth above regarding Claim 1. Ex.

  1004 ¶236.



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        Element [13D.] — Douglas also teaches operating the first and second filter

  stages at pressures below 10−3 torr. Ex. 1007, 18:44–45, 20:48–50; Ex. 1004 ¶237.

               5.     Douglas in Combination with Tanner Renders Obvious
                      Claim 18

        [18Pre.] — Although the preamble is nonlimiting (supra, Section XI.D.),

  Douglas nevertheless teaches a method for producing a mass spectrum of an ion

  beam. Ex. 1004 ¶241.


        Element [18A.] — Douglas teaches emitting an ion beam containing Co+

  ions (m/z =59) into a first mass filter stage in series with a second mass filter stage.

  Id., 13:43–49 (“two quadrupoles operated in tandem”); Ex. 1004 ¶242.


        Elements [18B.]-[18E.] — As described above in Elements [18A.]-[18E.] in

  Ground 3, Tanner teaches such manner of operating these two mass filter stages.

  Ex. 1006, 1086–87; Ex. 1004 ¶243. A POSA would have been motivated to carry

  out Tanner’s mass analysis on Douglas’s instrument for the same reasons set forth

  above regarding claim 1.


        Element [18F.] — Douglas teaches this element for the same reasons it

  teaches Element [1B.]. Ex. 1004 ¶244.


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               6.     Douglas in Combination with Tanner Renders Obvious
                      Claim 25
        [25Pre.] — As discussed above in this Ground for Claim 1, Douglas teaches

  a mass spectrometer comprising an ion beam source for emitting the ion beam, a

  detector, and two mass filters disposed in series between the beam source and the

  detector (Ex. 1007, 3:17–18), the filters having the same operating pressures at or

  below 10−3 torr. Id., 18:44–45, 20:48–50; Ex. 1004 ¶252.


        Element [25A.] — Douglas teaches emitting an ion beam containing Co+

  ions (m/z =59) into a first mass filter stage in series with a second mass filter stage.

  Id., 13:43–49 (“two quadrupoles operated in tandem”); Ex. 1004 ¶253.


        Elements [25B.]-[25C.] — As described above in Elements [25B.]-[25C.] in

  Ground 3, Tanner teaches such manner of operating these two mass filter stages.

  Ex. 1006, 1086–87, Tables 1-2; Ex. 1004 ¶254. A POSA would have been

  motivated to carry out Tanner’s mass analysis on Douglas’s instrument for the

  same reasons set forth above regarding claim 1. Ex. 1004 ¶254.




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               7.    Douglas in Combination with Tanner Renders Obvious
                     Claims 28 and 32
        [28Pre.], [32Pre.] — Although the preamble is nonlimiting (supra, Section

  XI.D.), Douglas’s methods nonetheless are used in part for the recited purpose.

  Ex. 1004 ¶¶257, 263.


        Elements [28A.]-[32A.] — Douglas teaches emitting an ion beam

  containing Co+ ions (m/z =59) into a first mass filter stage in series with a second

  mass filter stage. Ex. 1012, 13:43–49 (“two quadrupoles operated in tandem”); Ex.

  1004 ¶¶258, 264. It was well known in the art as of 2002 that an ion beam

  generated from an ICP source would contain ions within a range of m/z ratios. Ex.

  1004 ¶¶258, 264.


        Elements [28B.],[28E.], [32B.], [32E.] — As described above in Elements

  [28B.]–[28E.] and [32B.]–[32E.] in Ground 3, Tanner teaches such manner of

  operating these two mass filter stages. Ex. 1006, 1086–87, Tables 1-2; Ex. 1004

  ¶¶259, 265. A POSA would have been motivated to carry out Tanner’s mass

  analysis on Douglas’s instrument for the same reasons set forth above regarding

  claim 1. Ex. 1004 ¶¶259, 265.



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                8.     Douglas in Combination with Tanner Renders Obvious
                       Dependent Claims on Certain Sub-Ranges
         Claims [2.], [14.], [20.], [26.], [29.], [33.] — These claims variously

  describe that “the ions within the sub-range comprise 1%, or less, of the ions

  within the beam.” In the vast majority of situations, this reduction in ions occurs

  naturally whenever a mass filter is applied to the ion beam. Ex. 1012, 1:37–2:4;

  Ex. 1004 ¶¶223-225, 238-239, 247-248, 266-267.


         Claims [3.], [15.], [21.], [27.], [30.], [34.] — These claims variously

  describe that “the ions within the sub-range comprise 0.01%, or less, of the ions

  within the beam.” Again, in the vast majority of situations, this reduction in ions

  occurs naturally whenever a mass filter is applied to the ion beam. Ex. 1012, 1:37–

  2:4; Ex. 1004 ¶¶223-225, 238-239, 247-248, 266-267.


         Notably, the ’553 Patent does not explicitly teach how to obtain sub-ranges

  of 1% or less, or 0.01% or less, for the first mass filter stage (the sacrificial filter).

  Instead, it gives an example on a range of RF/DC ratios for the sacrificial filter to

  obtain a desired filter resolution. Ex. 1001, 7:29–35 (“[W]ilter resolution can be

  controlled by varying the RF to DC voltage ratio. . . . The ratio for the sacrificial



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  filter should lie between −5.983 to −6.00 [for ions having amu = 115 as an

  example].”); Ex. 1004 ¶¶223-225.


        Before May 2002, it was routine in the art to adjust the RF/DC ratio to

  control the bandpass of a quadrupole. Ex. 1004 ¶¶223-225. After reviewing

  Douglas and Tanner, a POSA would have understood that the first quadrupole

  disclosed in Douglas can normally operate in certain RF/DC ratios when a specific

  result is desired, such as transmitting 0.01% of ions within the beam. Id. Thus, as

  discussed above in Sections XI.B. and XI.C., Douglas and Tanner anticipate these

  apparatus and the method claims. At the very least, these claims are rendered

  obvious in light of the combined teachings of Douglas and Tanner on adjusting

  RF/DC ratios to achieve certain resolution. Ex. 1007, 7:18–8:58; Ex. 1006, 1085–

  16; Ex. 1004 ¶¶223-225.

              9.     Douglas in Combination with Tanner Renders Obvious Other
                     Dependent Claims

        Claims [4.], [5.], [6.], [16.], [22.] — Douglas teaches a quadrupole analyzer,

  which is a multi-pole analyzer, for each mass filter stage. Ex. 1007, 2:65–67; Ex.

  1004 ¶¶226-228. Each of these quadrupoles has a DC voltage supply and an AC



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  voltage supply for applying driver voltages to the rods. Id., 3:9–14, 3:59–62; Ex.

  1004 ¶¶228, 240, 249.


        Claims [8.], [9.], [19.], [24.], [38.] — As explained above in Ground 3 for

  Claims 8, 9, 19, 24, and 38, Tanner teaches the use of a dynamic bandpass filter as

  the first filter stage, which teaches the elements of Claims 8, 9, 19, 24, and 38. Ex.

  1006, 1086–87, Tables 1-2; Ex. 1004 ¶¶229-232, 245-246, 250-251, 271-272.


        Likewise, Douglas discloses scanning the two mass filter stages

  synchronously over the same mass range, which would result in the center point of

  the sub-range substantially tracking the selected mass/charge ratio during scanning.

  Ex. 1007, 6:5–38, Figures 14–16; Ex. 1004 ¶¶229-232.


        Claim [12.] — Douglas teaches a mass spectrometer comprising a two-stage

  mass filter apparatus. Id., 1:7–10, 2:65–67; Ex. 1004 ¶233.


        Claims [31.], [35.] — Douglas also teaches operating the first and second

  filter stages at pressures below 10−3 torr. Ex. 1007, 18:44–45, 20:48–50; Ex. 1004

  ¶¶262, 268.




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        Claim [36] — Douglas in combination with Tanner discloses the limitations

  of this claim for the same reasons as Elements [1C.] and [1D.]. Id., 13:25–27,

  9:13–17; Ex. 1006, 1086–87, Tables 1-2; Ex. 1004 ¶269.


        Claims [37.], [42.], [47.], [52.], [57.], [62.] — Douglas teaches experiments

  in which the first and second quadrupoles operate at the same stability region. Id.,

  5:31–34 (third stability region), 5:43–53 (third stability region), 6:5–52, 14:30–43;

  Ex. 1004 ¶¶270, 275.


        Claims [39.], [43.], [44.], [48.], [49.], [53.], [54.], [58.], [59.], [63.], [64.] —

  As described in Ground 3 for these claims, using the dynamic bandpass reaction

  cell, Tanner teaches a method in which the first mass filter stage and the second

  mass filter stage are scanned together to provide a mass spectrum and the scan is

  stepped from transmission peak to another peak. Ex. 1006, 1086–87, Tables 1-2;

  Ex. 1004 ¶¶273, 276-278.


        Likewise, Douglas discloses scanning the two mass filter stages

  synchronously over the same mass range to provide a mass spectrum. Ex. 1007,

  6:5–38, Figures 14-16; Ex. 1004 ¶¶273, 276-278.



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        Claims [40.], [41.], [45.], [46.], [50.], [51.], [55.], [56.], [60.], [61.], [65.],

  [66.] — As described in Ground 3 for these claims, using a fixed bandpass reaction

  cell, Tanner teaches a method wherein the scan is a smooth scan and the scanned

  range is the sub-range. Ex. 1006, 1086–87, Tables 1-2; Ex. 1004 ¶274.

        I.       GROUND 5: VANDERMEY IN COMBINATION WITH DOUGLAS AND
                 TANNER RENDERS OBVIOUS CLAIMS 6–7, 16–17, 22–23, 37, 42, 47,
                 52, 57, AND 62
        U.S. Patent No. 6,340,814 (“Vandermey,” Ex. 1013) was issued on January

  22, 2002 and thus qualifies as prior art under § 102(a).


        A POSA would have been motivated to combine the teaching in Tanner and

  Douglas with the teaching in Vandermey. Ex. 1004 ¶306. Vandermey, like

  Douglas and Tanner, teaches improvements in the operation of mass spectrometers

  with multiple mass analysis stages. Id. Specifically, Vandermey teaches the

  operation of two quadrupole mass analyzers in order to have greater resolution of

  ion signals. Ex. 1013 at Abstract; Ex. 1004 ¶306. Similarly, Tanner teaches

  improvement in the removal of interferences to improve the resolution of ion

  signals. Ex. 1009 at 1:9–14; Ex. 1004 ¶306. Vandermey is cited on the face of the

  ’553 patent.


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        Claims [6.], [16.], [22.] — Tanner and Douglas render obvious Claims [1],

  [13], and [18] as described above. Vandermey teaches the use of two quadrupole

  filter stages, configured to select certain mass to charge ratios. Ex. 1013, 4:56–60.

  Each quadrupole has a DC voltage supply and an AC voltage supply for applying a

  driver voltage [an RF voltage is applied] to the rods of each filter stage. Id., 3:9–

  25; Ex. 1004 ¶307.


        Claims [7.], [17.], [23.] — Vandermey teaches that AC voltage supply is

  attached to one quadrupole filter stage, and that the two quadrupole filter stages are

  electronically coupled by an RF coupler. Id., 1:53–57; 3:9–25; 6:5–18; Ex. 1004

  ¶308. The RF coupler in this case is the RF driver circuit that couple the two

  quadrupole filter stages in a controlled manner. Id., 1:53–57; Ex. 1004 ¶308.


        Claims [37.], [42.], [47.], [52.], [57.], [62.] — Tanner and Douglas render

  obvious Claims 1, 13, 18, 25, 38, and 32 as described above. Vandermey teaches

  operation of the first and second mass filter stages in the same stable operating

  system, specifically, the third stability region as shown in Figure 2. Ex. 1013,

  3:51–4:14, Figure 2; Ex. 1004 ¶313.




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        J.     GROUND 6: SAITO ANTICIPATES CLAIMS 1, 4–6, 12, 28, 32, 57, AND
               62.

        Saito is a Japanese Patent Application Publication published in January 1997

  (Ex. 1009, and Ex. 1010 (a certified translation)). It thus qualifies as prior art

  under § 102(b). It is not cited in the ’553 Patent, and was not discussed during the

  prosecution and reissue proceeding.


        Saito discloses a double-quadrupole mass spectrometer for isotopic analysis.

  Ex. 1010, ¶¶[0048-0057], Figure 7 (annotations added). Ex. 1004 ¶315. The first

  quadrupole operates as a bandpass filter, and the second quadrupole operates as a

  mass analyzer. Id., ¶¶[0049-0065]; Ex. 1004 ¶315. Saito further discloses an

  experiment for determining the abundance ratio of 12CO2 and 13CO2 using this

  instrument. Id., ¶¶[0050-0065]; Ex. 1004 ¶315.




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               1.     Saito Anticipates Claim 1

        [1Pre.] — Although the preamble is nonlimiting (see Section XI.D.), Saito

  nevertheless discloses a mass filter apparatus that fulfills the recited purpose of

  filtering a beam of ions in a range of m/z ratios. Ex. 1004 ¶316.


        Moreover, as discussed in Section XI.B., Claim 1 is an apparatus claim

  reciting a manner of operation. Saito discloses an apparatus that meets all the

  structural limitations of Claim 1 and is capable of operating as described. Thus,

  Saito anticipates Claim 1.




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          Element [1A.] — Saito discloses “an ion beam source [an ionization device

  4] for emitting the ion beam.” Id., ¶¶[0011], [0057], Figure 7; Ex. 1004 ¶317.


          Element [1B.] — Saito discloses “first and second mass filter stages in

  series” because it discloses the “front stage filter 34” and the “rear stage filter 40”

  in series. Id., ¶¶[0049], [0057]; Ex. 1004 ¶318. Saito further discloses “a vacuum

  system pump 12 in Figure 7,” which can be arranged to “maintain both the first

  and second filter stages at operating pressures below 10−3 torr.” Id.; Ex. 1004

  ¶318.


          Element [1C.] — Saito discloses that “the first mass filter stage [the front

  stage filter 34] is configured to select for transmission onto the second filter stage

  [the rear stage filter 40] only ions having a sub-range of mass/charge ratios [12CO2

  (mass number 44) and 13CO2 (mass number 45)] which includes the selected

  mass/charge ratio [13CO2 (mass number 45)].” Id., ¶¶[0050-0052], [0063-0065],

  Figure 6; Ex. 1004 ¶319.


          Element [1D.] — Saito discloses that “the second mass filter stage [the

  second stage filter 40] is configured to select only ions of the said selected



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  mass/charge ratio [13CO2 (mass number 45)].” Id., ¶¶[0050-0052], [0063-0065],

  Figure 6; Ex. 1004 ¶320.

               2.    Saito Anticipates Claims 28 and 32

        [28Pre.] and [32Pre.] — Saito anticipates Claims [28.] and [32.] based on

  the same disclosures, and so these two claims will be discussed together here. To

  the extent that the preambles of method Claims [28.] and [32.] are limiting (which

  they are not), Saito’s experiment is performed toward the same purposes to achieve

  the same results. Ex. 1004 ¶¶325-332.


        In addition, Saito discloses Elements [28A.] and [32A.] for the same reasons

  it discloses Element [1A.]. Ex. 1004 ¶¶325-332. Saito discloses Elements [28B.],

  [28C.], [32B.], [32C.] for the same reasons it discloses Elements [1B.] and [1C.].

  Ex. 1004 ¶¶325-332. Saito discloses Elements [28D.], [28E.], [32D.], and [32E.]

  for the same reasons it discloses Element [1D.]. Ex. 1004 ¶¶325-332.

               3.    Saito Anticipates Several Dependent Claims

        Claim [4.] — Saito discloses that “each filter stage comprises a multi-pole

  analyzer [quadrupole filter].” Id., ¶¶[0028], [0049]; Ex. 1004 ¶321.




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        Claim [5.] — Saito discloses that “each filter stage comprises rods in a

  quadrupole arrangement [quadrupole filter].” Id.; Ex. 1004 ¶322.


        Claim [6.] — Saito discloses “a DC voltage supply [U1 for the first filter

  stage and U2 for the second filter stage] and an AC voltage supply [V1 for the first

  filter stage and V2 for the second filter stage] for applying driver voltages to rods

  of each filter stage.” Id., ¶¶[0050-0051]; Ex. 1004 ¶323.


        Claim [12.] — Saito discloses every limitation of this claim for the same

  reasons as it discloses Claim [1.].


        Claims [57.], [62.] — Saito discloses “operating the first and second mass

  filters stages in a same stable operating region [the first stability region as shown in

  Figure 6].” Id., ¶¶[0050–0051], Figure 6; Ex. 1004 ¶¶333-334.

        K.     GROUND 7: SAITO IN COMBINATION WITH DOUGLAS RENDERS
               OBVIOUS CLAIMS 1–6, 12–16, 18, 20–22, 25–38, 42–43, 47–48, 52–
               53, 57–58, AND 62–63 UNDER § 103

        A POSA would have viewed Saito in combination with Douglas as teaching

  each element of claims 1–6, 12–16, 18, 20–22, 25–38, 42–43, 47–48, 52–53, 57–

  58, and 62–63.


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               1.     Motivation to Combine Saito and Douglas

        A POSA would have been motivated to combine the teaching in Douglas

  with Saito. Ex. 1004 ¶¶336-337. As discussed in Ground 4, Douglas teaches the

  use of two filter stages to improve the resolution of ICP-MS. Douglas discusses

  that the two filter stages may be at different resolutions. Ex. 1007, 13:25–27. A

  POSA would have understood Douglas’s teaching to mean that the first filter stage

  may be a bandpass filter (i.e., at a lower resolution), and the second filter stage

  may be a conventional mass analyzer (i.e., at a higher resolution), similar to the

  teaching in Saito. Ex. 1004 ¶¶336-337.


        Douglas improves Saito by teaching that the double-quadrupole instrument

  can be operated at the conventional pressure of 2 x 10-5 torr for quadrupoles or at a

  slightly higher pressure. Ex. 1007, 18:38–45; Ex. 1004 ¶¶336-337. Specifically,

  Douglas teaches that the quadrupoles may be able to operate at a pressure of 2 x

  10-4 torr, a factor of 10 higher than the conventional pressure. Id., 20:46–50; Ex.

  1004 ¶¶336-337. Accordingly, lower speed and lower cost vacuum pumps can be

  used with these instruments. Id., 18:47–50; Ex. 1004 ¶¶336-337. Thus, a POSA




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  would have been motivated to use the teaching in Douglas to operate Saito’s

  instrument at a pressure of 10-4 or 10-5 torr. Ex. 1004 ¶¶336-337.

               2.     Claim 1

        As explained in Ground 6, Saito discloses every limitation of apparatus

  Claim 1. To the extent that Patent-Owner argues that Saito does not disclose a

  vacuum system arranged to maintain operating pressures below 10-3 torr in Element

  [1B.], Douglas teaches this limitation. As discussed above, in view of Douglas’s

  teaching, a POSA would have been motivated to operate Saito’s vacuum system to

  maintain a pressure of 10-4 or 10-5 torr. Ex. 1004 ¶338. Thus, Saito in combination

  with Douglas teaches every limitation of Claim 1.

               3.     Claim 13
        As for [13Pre.], to the extent that the preamble of method claim 13 is

  limiting (which it is not), Saito teaches a method of filter a beam of ions. Saito in

  view of Douglas teaches Element [13A.] for the same reasons it teaches Elements

  [1A.] and [1B.]. Saito in view of Douglas teaches Element [13B.] for the same

  reasons it teaches Element [1C.]. Saito in view of Douglas teaches Element [13C.]

  for the same reasons it teaches Element [1D.]. Saito in view of Douglas teaches

  Element [13D.] for the same reasons it teaches Element [1B.].

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               4.    Claim 18

        As for [18Pre.] to the extent that the preamble of method claim 18 is

  limiting (which it is not), Saito teaches a method of producing a mass spectrum of

  an ion beam because Saito’s instrument has a detector and a processing device to

  produce such mass spectrum. Ex. 1004 ¶349.


        Elements [18A.], [18B.], [18C.], [18F.] — These claim elements are

  substantively identical to Elements [13A.]-[13D.] and are thus taught by Saito in

  view of Douglas for the reasons above.


        Element [18D.]: As discussed above in Element [13C.], Saito sets the

  quadrupole mass analyzer to scan at mass number 45. Id., ¶¶[0050-0052], [0063-

  0065], Figure 6; Ex. 1004 ¶351.


        Element [18E.]: Saito detects the number of ion selected at mass number

  45 to provide a mass spectrum. Id., ¶¶[0050-0052], [0063-0065], Figure 6; Ex.

  1004 ¶352.

               5.    Claim 25

        As for [25Pre.], Saito in view of Douglas teaches this limitation for the same

  reasons it teaches each limitation of Claim 1 and Element [13D.]. Saito in view of

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  Douglas teaches the limitation of Element [25A.] for the same reasons it teaches

  Element [13A.]. Saito in view of Douglas teaches the limitation of Element [25B.]

  for the same reasons it teaches Element [13B.]. Saito in view of Douglas teaches

  the limitation of Element [25C.] for the same reasons it teaches Element [13C.].

               6.    Claims 28 and 32
        A POSA would have understood that Saito teaches each limitation of these

  claims for the same reasons discussed in Ground 6.

               7.    Dependent Claims on Certain Sub-ranges

        Claims [2.], [14.], [20.], [26.], [29.], [33.] — These claims variously

  describe that “the ions within the sub-range comprise 1%, or less, of the ions

  within the beam,” which is ordinarily achieved automatically in the operation of a

  multi-quadrupole mass filter. Ex. 1004 ¶¶339-340.


        Claims [3.], [15.], [21.], [27.], [30.], [34.] — These claims variously

  describe that “the ions within the sub-range comprise 0.01%, or less, of the ions

  within the beam.” Ex. 1004 ¶¶339-340.


        As discussed in Ground 4, a POSA would have known how to adjust the

  RF/DC ratio to control the bandpass of a quadrupole. Ex. 1004 ¶¶339-340. After

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  reviewing Saito and Douglas, a POSA would have understood that the first

  quadrupole disclosed in Saito can normally operate in certain RF/DC ratios when a

  specific result is desired, such as transmitting 1% of ions within the beam. Id.

  Also, Saito teaches methods of determining the number of ions that passed through

  a filter stage. Id.; Ex. 1010, ¶¶[0053-0054]. Thus, these claims are rendered

  obvious in light of the combined teaching of Saito and Douglas.

               8.     Other Dependent Claims

        Claims [4.], [5.], [6.], [12.] — As discussed in Ground 6 for these claims

  and in this ground for Element [1B.], Saito in view of Douglas teaches every

  limitation of these claims.


        Claims [16.], [22.] — Saito in view of Douglas teaches every limitation of

  these claims for the same reason it teaches Claim 6. Id.


        Claims [31.], [35.] — Saito in view of Douglas teaches every limitation of

  these claims for the same reason it teaches Element [1B.]. Id., ¶¶[0050-0052],

  [0063-0065], Figure 6.


        Claim [36.] — Saito in combination with Douglas discloses the limitations

  of this claim for the same reasons as Elements [1C.] and [1D.] and Claim 6. Id.

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        Claims [37.], [42.], [47.], [52.], [57.], [62.] — Saito teaches experiments in

  which the first and second quadrupoles operate at the first stability region. Ex.

  1010, ¶¶[0048]–[0052], Figure 6; Ex. 1004 ¶369.


        Claims [38.], [43.], [48.], [53.], [58.], [63.] — Douglas teaches scanning the

  two mass filter stages synchronously to provide a mass spectrum. Id., 6:5–38,

  Figures 14–16; Ex. 1004 ¶370. A POSA would have understood that Douglas

  discloses a scanner for controlling the two filter stages as described in Claim 38.

  Ex. 1004 ¶370.

  XII. CONCLUSION

        For all of the reasons set forth above, there is a reasonable likelihood that the

  petitioner would prevail with respect to at least one of the sixty-six claims

  challenged in this petition.

  XIII. CERTIFICATE OF WORD COUNT

        Pursuant to 37 C.F.R. § 42.24, the undersigned attorney for the Petitioner

  declares that the argument section of this Petition (Section I, III-XII) has a total of

  13,935 words, according to the word count tool in Microsoft Word™.




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  DATED: December 13, 2017           Respectfully Submitted,

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                           CERTIFICATE OF SERVICE



            The undersigned certifies service pursuant to 37 C.F.R. §§ 42.6(e) and

  42.105(a), (b) on the Patent-Owner via UPS overnight mail of a copy of this

  Petition for Inter Partes Review and supporting materials at the Patent-Owner at

  the correspondence address of record for the ’553 Patent:

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  DATED: December 13, 2017              By: /Brian M. Buroker/
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            UNITED STATES PATENT AND TRADEMARK OFFICE



             BEFORE THE PATENT TRIAL AND APPEAL BOARD

                            _____________________

                            Agilent Technologies, Inc.,
                                    Petitioner

                                        v.

                        Thermo Fisher Scientific Inc. and
                    Thermo Fisher Scientific (Bremen) GmbH,
                                 Patent Owner.

                            _____________________

                               Case No. Unassigned

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   1001               U.S. Patent No. 7,230,232 (“the ’232 Patent”)
   1002               RESERVED
   1003               RESERVED
   1004               Declaration of Richard Yost, Ph.D.
   1005               The Complaint (served copy)
   1006               Tanner, Scott D., and Vladimir I. Baranov. “A dynamic
                      reaction cell for inductively coupled plasma mass
                      spectrometry (ICP-DRC-MS). II. Reduction of
                      interferences produced within the cell.” Journal of the
                      American Society for Mass Spectrometry 10.11 (1999):
                      1083-1094. (“Tanner”)
   1007               U.S. Patent No. 6,191,417 (“Douglas”)
   1008               Declaration of Sylvia Hall-Ellis, Ph.D.
   1009               JPH10214591A (“Saito”)
   1010               Certified Translation of JPH10214591A (“Saito”)
   1011               Baranov, Vladimir, and Scott D. Tanner. “A dynamic
                      reaction cell for inductively coupled plasma mass
                      spectrometry (ICP-DRC-MS). Part 1. The rf-field energy
                      contribution in thermodynamics of ion-molecule reactions.”
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   Exhibit Number     Document
   1017               Yost, R. A., and C. G. Enke. “Triple quadrupole mass
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   1018               European Patent Application Publication No.
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   1019               U.S. Patent No. 4,234,791 (“Enke”)
   1020               U.S. Patent No. 6,093,929 (“Javahery”)
   1021               Dawson, P. H., J. B. French, J. A. Buckley, D. J. Douglas,
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   1022               Johnston, M., “Energy Filtering in Triple Quadrupole
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   1023               Eiden, Gregory C., Charles J. Barinaga, and David W.
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                      Spectrometry 11, no. 1 (1997): 37-42.
   1024               U.S. Patent No. 6,222,185 (“Speakman”)
   1025               U.S. Patent No. 6,011,259 (“Whitehouse”)
   1026               Koppenaal, David W. “Atomic mass
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   1027               Sass, Samuel, and Timothy L. Fisher. “Chemical ionization
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   Exhibit Number     Document
                      317.
   1029               Douglas, D. J. “Some current perspectives on ICP-
                      MS.” Canadian Journal of Spectroscopy 34, no. 2 (1989):
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   1030               Louris, John N., Larry G. Wright, R. Graham Cooks, and
                      Alan E. Schoen. “New scan modes accessed with a hybrid
                      mass spectrometer.” Analytical Chemistry 57, no. 14
                      (1985): 2918-2924.
   1031               Houk, R. S. “Elemental and isotopic analysis by inductively
                      coupled plasma mass spectrometry.” Accounts of Chemical
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   1032               Tanner, Scott D., Vladimir I. Baranov, and Dmitry R.
                      Bandura. “Reaction cells and collision cells for ICP-MS: a
                      tutorial review.” Spectrochimica Acta Part B: Atomic
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   1033               Rowan, John T., and R. S. Houk. “Attenuation of
                      polyatomic ion interferences in inductively coupled plasma
                      mass spectrometry by gas-phase collisions.” Applied
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   1034               Kishi, Yoko. “A benchtop inductively coupled plasma mass
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   1035               Montaser, Akbar et al., An Introduction to ICP
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                      Coupled Plasma Mass Spectrometry (Akbar Montaser, ed.
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   1036               U.S. Patent No. 6,140,638 (“Tanner”)
   1037               King, F.L., et al., “Collision-Induced Dissociation of
                      Polyatomic Ions in Glow Discharge Mass Spectrometry,”
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                      Processes, 1989, vol. 89, pp. 171-185.


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   Exhibit Number     Document
   1038               Turner, Patrick, et al., “Instrumentation For Low and High-
                      Resolution ICP/MS”: Inductively Coupled Plasma Mass
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                      Montaser, 1998, p. 421-501. (“Turner”)
   1039               Terzić, I., and D. Ćirić. “The double cylindrical
                      electrostatic sector as an ion energy analyzer.” Nuclear
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                      Analysis” Short Course, Lecture 7




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        INTRODUCTION

        Pursuant to 35 U.S.C. § 311, Agilent Technologies, Inc. (“Agilent” or

  “Petitioner”) submits this petition for inter partes review (“IPR”), seeking

  cancellation of claims 1-34 of U.S. Patent No. 7,230,232 (“the ’232 Patent,” Ex.

  1001). These claims are unpatentable under 35 U.S.C. §§ 102 and 103 over the

  prior art references identified and applied in this petition.

        MANDATORY NOTICES
        Pursuant to 37 C.F.R. § 42.8, Petitioner provides the following mandatory

  disclosures:

                 Real Parties-in-Interest
        Agilent Technologies, Inc. (“Agilent”) is the real party-in-interest.

                 Related Matters
        Pursuant to 37 C.F.R. § 42.8(b)(2), the ’232 Patent is the subject of a patent

  litigation suit brought by Patent-Owner. See Ex. 1005. Petitioner is concurrently

  filing three other petitions for IPR of two other patents asserted in that litigation:

  related U.S. Patent No. RE45,386 and U.S. Patent No. RE45,553, respectively.

                 Lead and Back-Up Counsel

        Petitioner provides the following designation of counsel:



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       A Power of Attorney accompanies this petition in accordance with 37 C.F.R.

  § 42.10(b). Service via hand delivery or postal mail may be made at the addresses

  of the lead and back-up counsel above. Petitioner hereby consents to electronic

  service, and service via electronic mail may be made at the email addresses

  provided above for the lead and back-up counsel.

        PAYMENT OF FEES

       Pursuant to 37 C.F.R. §§ 42.103 and 42.15(a), $33,400 is being paid via

  deposit account 501408. Any additional fees due in connection with this petition

  may be charged to the foregoing account.

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        STANDING

       Pursuant to 37 C.F.R. § 42.104(a), Petitioner certifies that the ’232 Patent is

  available for IPR and that Petitioner is not barred or estopped from requesting IPR

  of the claims on the grounds identified herein.

        IDENTIFICATION OF CHALLENGE AND STATEMENT OF
        PRECISE RELIEF REQUESTED

        Pursuant to 37 C.F.R. § 42.104(b), Petitioner requests that the Board

  institute inter partes review of all claims of the ’232 Patent on one or more

  grounds under pre-AIA 35 U.S.C. §§ 102 and/or 103.

        THRESHOLD REQUIREMENT FOR INTER PARTES REVIEW
       Under 35 U.S.C. § 314(a), institution of inter partes review requires “a

  reasonable likelihood that the petitioner would prevail with respect to at least one

  of the claims challenged in the petition.” This petition meets this threshold for

  each of the asserted grounds of unpatentability.

        STATEMENT OF REASONS FOR THE RELIEF REQUESTED

        Petitioner predicates its challenge on eight prior art references. These

  references render all claims of the ’232 Patent unpatentable based on six grounds.




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               Grounds
               Ground 1: Speakman anticipates claims 1-3, 6-12, and 16-34 under
                         § 102(e);

               Ground 2: Speakman in combination with King and King II renders
                         obvious claims 1-3, 5-12, and 16-34 under § 103;

               Ground 3: Speakman in combination with Yost renders obvious
                         claims 4 and 14 under § 103;

               Ground 4: Speakman in combination with Terzic renders obvious
                         claims 13 and 15 under § 103;

               Ground 5: Tanner-Patent anticipates claims 1-3, 5-7, 17-20, 23-24,
                         27, 29, and 34 under § 102(e);

               Ground 6: Tanner-Patent in combination with Kishi renders obvious
                         claims 1-3, 5 13, and 16-34 under § 103.

        The Declaration of Richard Yost, Ph.D., a world-renowned expert in mass

  spectrometry, accompanies this petition. Ex. 1004.

               Priority Date of the ’232 Patent

        The ’232 Patent issued from U.S. Application No. 11/299,250 and ultimately

  claims priority to Great Britain Patent Application No. GB9820210.4, filed on

  September 16, 1998. For purposes of this petition only, Agilent assumes that the

  claims are entitled to a priority date of September 16, 1998.




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        STATE OF THE ART

               Person of Ordinary Skill in the Art

       A person of ordinary skill in the art in September 1998 would have a Ph.D. or

  a Master’s degree, or an equivalent education or practical experience, in chemistry,

  physics, or a related field, and at least two-to-three years of experience in

  developing the instrumentation and/or the applications of plasma ionization mass

  spectrometry and/or tandem mass spectrometry (hereinafter, “POSA”). Ex. 1004

  ¶¶20-22.

               Scope and Content of the Art Before September 1998

                      Mass Spectrometry
       Mass spectrometry (“MS”) is an analytical technique used to identify and

  quantify chemical elements and compounds (i.e., atoms and molecules,

  respectively) in a sample based on the atomic mass and charge state of the

  constituents in the composition. Ex. 1014, 281-282; Ex. 1004 ¶29.

       Typically, a sample containing atoms or molecules of interest is introduced

  into the ion source of a mass spectrometer. Ex. 1014, 281-282; Ex. 1015, 6-9; Ex.

  1004 ¶¶30-31. The ion source induces either a positive or a negative charge in the

  neutral atoms and molecules, generating positive or negative ions. Ex. 1014, 281-

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  282; Ex. 1015, 6-9; Ex. 1004 ¶¶30-31. In most instruments, only the positive ions

  are electrostatically guided by ion optics into a portion of the mass spectrometer

  called a “mass analyzer.” Ex. 1014, 281-282; Ex. 1015, 9; Ex. 1004 ¶¶30-31. The

  mass analyzer allows ions of a specific mass-to-charge ratio (m/z) to pass through

  to a detector apparatus while preventing all other ions from reaching the detector

  when the detector is measuring ions of a set m/z value. Ex. 1015, 16; Ex. 1004

  ¶¶30-31.

                      Quadrupole Mass Analyzer

       A quadrupole is the most common mass analyzer used in modern mass

  spectrometry. Ex. 1016, 617; Ex. 1004 ¶32. It comprises four parallel rods

  arranged in a radial array at 90° intervals, with opposite pairs of rods electrically

  connected. Id., 618; Ex. 1004 ¶32. There are two main modes of operating a

  quadrupole: RF-only and RF-DC mode. Id., 621-622; Ex. 1004 ¶32. In the RF-

  only mode, the quadrupole would transmit all ions above a certain m/z cutoff

  (“total ion mode”). Id.; Ex. 1004 ¶32. When a combination of RF and DC

  voltages is applied between the rod pairs, the quadrupole transmits ions between

  upper and lower m/z cutoffs. Id.; Ex. 1004 ¶32. As the DC-to-RF ratio increases,

  the quadrupole’s transmission band narrows. Id.; Ex. 1004 ¶32. At a certain DC-

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  to-RF ratio, this transmission band would be so narrow as to allow only ions of a

  specific integer m/z to pass through (“unit mass resolution”). Id.; Ex. 1004 ¶32. If

  the magnitude of the DC and RF voltages is continuously increased over time

  while keeping the DC/RF ratio constant, the mass filter will scan over a range of

  m/z values and generate a mass spectrum (“full-scan mode”). Ex. 1016, 621; Ex.

  1004 ¶32.

                      Tandem Mass Spectometry
       Quadrupole mass spectrometers may have two or more quadrupoles arranged

  in tandem. Exs. 1018-1020; Ex. 1004 ¶33. Each of the quadrupoles can be

  designed to operate independently and/or with one another. Exs. 1018-1020; Ex.

  1004 ¶33.

       Dr. Yost and his colleagues were the first to introduce a RF-driven collision

  cell in a triple-quadrupole instrument. Ex. 1019; Ex. 1004 ¶34. This instrument

  comprised a first quadrupole, an enclosed RF-only quadrupole used as a

  collision/reaction cell, and a third quadrupole. Id., Figure 2; Ex. 1004 ¶34. In that

  device, the first quadrupole mass filters the selected ions of interest. Id., 9:14-20;

  10:12-17; Ex. 1004 ¶34. The second RF-only quadrupole is part of a

  collision/reaction cell pressurized with a gas, where fragmentation and/or reactions

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  of the ions may take place. Id., 5:51-64; 9:27-61; Ex. 1004 ¶34. The third

  quadrupole mass analyzes the resulting ions transmitted from the collision cell. Id.

  at 9:14-20; 10:12-17; Ex. 1004 ¶34. Such triple-quadrupole instruments are also

  known as tandem mass or MS/MS spectrometers. Exs. 1014-1016; Ex. 1004 ¶34.

       There are a few fundamental control parameters in the triple-quadrupole

  instrument. Exs. 1014-1015, 1016, 1021-1022; Ex. 1004 ¶35. For instance, each

  of the first and third quadrupoles can be individually set to pass only ions of a

  single m/z, ions within a range of m/z ratios, or all ions (above a lower m/z limit

  inherent in the quadrupole). Ex. 1015, 3-5; Ex. 1021, 207-211; Ex. 1022, 1; Ex.

  1004 ¶35. Where either a range of ions or all ions are passed by a quadrupole, that

  may be accomplished by either (i) allowing all ions in the selected range of m/z

  values to pass at once, or (ii) incrementally scanning over a range of m/z values

  such that at any given time only those ions having an m/z value within the open

  “window” will pass through the quadrupole. Ex. 1004 ¶35. The middle

  quadrupole can be pressurized with a target gas (acting as a collision/reaction cell)

  or not pressurized. Ex. 1015, 3-5; Ex. 1004 ¶35. These user-selectable parameters




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  provide a variety of operational modes in a triple-quadrupole instrument. Exs.

  1014-1015, 1016, 1021-1022; Ex. 1004 ¶¶36-46.

       Figure 2 below depicts tandem MS (MS/MS) modes commonly used on a

  triple-quadrupole instrument. Ex. 1004 ¶39. In each of the four schemes of Figure

  2, collision/reaction gas is introduced into the central quadrupole Q2, which is

  operating in RF-only mode. Id. Interaction with the collision/reaction gas might

  cause: fragmentation of polyatomic species, energy transfer, charge transfer, and/or

  ion-molecule reactions between the affected ions and the collision/reaction gas.

  Exs. 1028-1029; Exs. 1032-1033; Ex. 1004 ¶39. Fragmentation results in new ions

  with lower m/z values, sometimes referred to as a neutral loss; energy transfer may

  result in ions with less kinetic energy, charge transfer may neutralize an interfering

  ion; and ion-molecule reactions may result in new ions with new, often higher, m/z

  values, sometimes referred to as a neutral gain. Exs. 1028-1029; Exs. 1032-1033;

  Ex. 1004 ¶39.




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       Figure 2. MS/MS scan modes on a triple-quadrupole mass spectrometer.

       Daughter Scan: In the top scheme of Figure 2, Q1 is set to pass only ions

  with a specific m/z value, often referred to as “parent ions.” Ex. 1015, 3; Ex. 1017,



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  1252; Ex. 1004 ¶40. Q3 incrementally scans over a user-specified range of m/z

  values from low to high. Ex. 1004 ¶40. This mode may be used to identify all the

  “daughter ions” formed in Q2 by either collisional fragmentation of the selected

  parent ion, or reaction of the collision/reaction gas with the selected parent ion. Id.

  If no reaction with the parent ion occurs, Q3 would pass the parent ion when Q3

  scans over the m/z value of the parent ion. Id. Notably, when interrogating

  elemental samples, collisional fragmentation of selected ions would not be

  expected to occur because the elements are already reduced to atomic ions from the

  previous ionization process. Id.

       Parent Scan: In the second scheme of Figure 2, Q1 incrementally scans a

  user-specified range of m/z values from low to high, and Q3 is set at a fixed m/z

  value to pass only daughter ions with that specific m/z value. Ex. 1004 ¶41. This

  type of scan may be used to identify all the parent ions from the ion source that

  form the selected daughter ion by collision or reaction in Q2. Ex. 1015, 3; Ex.

  1017, 1252; Ex. 1004 ¶41. If the daughter ion is initially present in the sample and

  no reaction occurs in Q2, then the parent ion m/z value is the same as the daughter

  ion m/z value. Ex. 1004 ¶41.



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        Neutral Loss [or Gain] Scan: In the third scheme of Figure 2, Q1 and Q3 are

  both set to scan synchronously over an equivalent user-selected range of m/z

  values with a fixed difference in m/z values (e.g, scanning of Q1 over a m/z value

  range of 80 to 100 with Q3 scanning a set m/z value range of 60 to 80). Ex.

  1004 ¶42. The scheme depicts a neutral loss; i.e., a mass shift from a parent ion

  with a higher m/z value to a daughter ion having a lower m/z value as a result of

  collisions/reactions. Id. This scan may be used to identify all the daughter ions

  which arise from a specific neutral loss known or hypothesized by the researcher

  during collision or reaction in Q2. Ex. 1015, 3; Ex. 1017, 1252; Ex. 1004 ¶42.

  Also, using a reaction gas, ions transmitted by Q1 could react in Q2 to form

  product ions of higher m/z. These could be monitored by a neutral gain scan, with

  Q3 synchronously scanning with a positive mass offset from Q1. Ex. 1004 ¶42.

        Neutral Loss of Zero Scan. Where ions of interest that pass through Q1 do

  not fragment or react in the collision cell and thus retain their initial m/z value, the

  neutral offset is zero. Ex. 1004 ¶¶43-45. If there are interfering ions that also pass

  through Q1, they may fragment to form lower m/z ions or react to form higher m/z

  ions in Q2. Id. Under these circumstances, Q1 and Q3 are synchronously scanned



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  with no offset. Id. That is, both Q1 and Q3 are set to transmit ions having the same

  m/z value. Ex. 1022, Figs. 2 and 4; Ex. 1030, 2924; Ex. 1004 ¶¶43-45. Neutral

  loss of zero scan modes were known and routinely used since the 1980s. Ex. 1030,

  2919, 2924; Ex. 1022, 1-3; Ex. 1004 ¶¶43-45.

       Selected Reaction Monitoring (SRM): In the last scheme of Figure 2, each of

  Q1 and Q3 are set to filter out all but either a single parent ion and single daughter

  ion at selected m/z values, or a series of selected parent ion/daughter ion pairs. Ex.

  1015, 3-5; Ex. 1017, 1252; Ex. 1004 ¶46. In an SRM experiment, a researcher

  typically knows the m/z value of the parent ions and can predict the m/z value of

  the daughter ions resulting from collision/reaction in Q2. Ex. 1029, 47-49

  (describing an SRM experiment in which the parent ion resulted in a 16 amu mass

  shift after reacting with a target gas in Q2); Ex. 1004 ¶46.

       A schematic of a triple-quadrupole instrument available in the 1980s is

  shown below. Ex. 1015, 21; Figure 5. This instrument offered automatic control

  and data handling by a computer system. Id.; Ex. 1004 ¶47.




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       Moreover, the quadrupoles may be placed in separate chambers with one or

  more vacuum pumps. Exs. 1020, 1025; Ex. 1004 ¶¶47-48. The use of differential

  pumping in mass spectrometers has been implemented by researchers and on

  commercial instruments for over 40 years. Exs. 1018, 1020, 1025; Ex. 1004 ¶¶47-

  48. The introduction of ion sources that operate at pressures higher than those at

  which mass analyzers and detectors can efficiently operate has made differential

  pumping a common element of most modern mass spectrometers. Ex. 1004 ¶¶47-

  48. High vacuum is required in the mass analysis and detection region of the mass

  spectrometer system for two primary reasons – first, to increase the mean-free-path



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  of ions (i.e., how far ions travel between collisions with background gas

  molecules) to prevent collisions from diverting ions, and second, to prevent arcing

  of the high voltages generally employed in mass analyzers and detectors. Id.

  Since the primary source of gas into the vacuum system arises from the ion source,

  the pressures in successive stage of vacuum pumping generally are highest in the

  first stage (by the ion source) and are lowest in the last stage (mass analyzer and

  detector). Ex. 1035, 18-19; Ex. 1004 ¶¶47-48.

                     Plasma Ion Source

       All ion sources serve the same purpose—to convert atoms and/or molecules

  in a sample into ions that can be conveyed into a mass analyzer. Ex. 1015, 6-9;

  Exs. 1026-1028; Ex. 1004 ¶¶49-50. A number of ion sources have been developed

  for analyzing the elemental species (atoms) in a sample. Ex. 1026; Ex. 1004 ¶¶49-

  50. Classic ion sources for ionizing atoms include a DC arc and an AC spark.

  Exs. 1026, 1029; Ex. 1004 ¶¶49-50. The preferred ionization source for the past

  twenty years is the inductively coupled plasma (“ICP”). Ex. 1031, 333; Ex. 1032,

  1431-1444; Ex. 1004 ¶¶49-50. The ICP ion source typically uses argon gas to

  form a plasma and converts the sample into atomic ions. Ex. 1031, 333; Ex. 1004

  ¶¶49-50. Other common types of plasma ion sources for elemental analysis are

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  microwave-induced plasma (“MIP”) and glow discharge plasma (“GD”). Ex.

  1026, 322-326; Exs. 1028-1029; Ex. 1004 ¶¶49-50.

                      Spectroscopic Interferences
       In elemental mass spectrometry, only certain atomic ions from the ion source

  are of interest. Ex. 1026, 321; Ex. 1004 ¶51. However, one significant problem

  with plasma ion sources remains to be other atomic or molecular ions from the ion

  source that have m/z ratios similar to those of the atomic ions of interest. Ex.

  1024, 1:7-32; Ex. 1004 ¶51. They would interfere with the detection of the atomic

  ions of interest. Id. For example, the polyatomic ion 40Ar16O+ can interfere with

  the detection of 56Fe+. Ex. 1033, 976; Ex. 1004 ¶51. These interfering ions come

  from the plasma gas, the sample matrix, and/or the vacuum background gases,

  alone or in combination. Ex. 1029, 47; Ex. 1012, 3:34–4:10; Ex. 1004 ¶51.

       Researchers have used a collision/reaction cell to reduce the number of

  interfering ions that reach the detector, and thereby reduce their impact on

  elemental analysis. Exs. 1006; 1012; 1023-1024; 1028-1029; 1032-1033; Ex. 1004

  ¶¶52-54. As a result of the collisions/reactions with a target gas, interfering ions

  from the ion source may form new ions with m/z ratios different from that of the



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  atomic ion of interest and thereby no longer interfere with the detection. Exs.

  1028-1029; Exs. 1032-1033; Ex. 1033, 979-980; Ex. 1004 ¶¶52-54.

        However, there may also be other ions in the ion beam with m/z ratios

  different from that of the atomic ion of interest. Ex. 1033, 979-980; Ex. 1004

  ¶¶52-54. These ions may form new product ions in the collision/reaction cell with

  an m/z ratio similar to that of the atomic ion of interest (i.e., new interfering ions).

  Id.; Ex. 1004 ¶¶52-54. Consequently, researchers suggested using a mass selective

  device to filter out these ions before the collision cell. Id.; Ex. 1004 ¶¶52-54. By

  allowing only ions with the m/z of interest to enter into the collision cell, any new

  product ions formed in the cell would probably not have that m/z of interest. Id.;

  Ex. 1004 ¶¶52-54. Thus, the formation of new interfering ions is reduced by mass

  selecting the ions prior to the collision cell. Id.; Ex. 1004 ¶¶52-54.

                      Photons and Neutral Species

        Many ion sources inevitably generate some amount of neutral species and

  photons, including ICP and GD sources. Ex. 1012, 3:34–4:10; Ex. 1018, 2:1-19;

  Ex. 1004 ¶55. In the absence of other means to divert their path (e.g., vacuum

  systems), these neutral species and photons are assumed to travel in a straight line

  from the ion source to the detector, increasing the background noise. Ex. 1018,

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  2:57-3:20; Ex. 1004 ¶55. To reduce such background noise, many instruments use

  ion optics to bend the path of the ions so that the ions would either travel around a

  photon stop or be sent off-axis towards a detector mounted off-axis. Ex. 1034, 2-3;

  Ex. 1004 ¶55. In contrast, the neutral species and the photons would still travel in

  a straight line and strike the photon stop or not be bent towards an off-axis

  detector. Id.; Ex. 1018, 2:57-3:20; Ex. 1004 ¶55.

         The ’232 Patent Specification and Claims
         The claims of the ’232 Patent are directed to mass spectrometers and

  methods for reducing gas loading from the plasma ion source on the collision cell

  in a plasma mass spectrometer. The ’232 Patent acknowledges that the use of a

  collision cell to remove unwanted artefact ions is known in the prior art. Ex. 1001,

  1:50-54. It states that the gas loading from the plasma ion source on the collision

  cell can be significant. Id., 2:45-47. It further states that if the collision cell

  contains a significant partial pressure of argon (the plasma gas), the instrument

  may be affected in two ways: (1) the ion beam will be attenuated by the collisions

  between the ions in the beam and neutral argon atoms; and (2) these collisions

  form argon-containing interfering ions. Id., 3:3-9. The alleged inventions

  variously claimed in the ’232 Patent aim to reduce gas loading by using an ion

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  optical device upstream of the collision cell, multiple vacuum pumping stages,

  and/or deflecting the ion beam.

        The ’232 Patent has only two independent claims, claims 1 and 23. Claim 1

  describes a mass spectrometer with three main structural components: a plasma ion

  source, an ion optical device, a collision cell, and a mass-to-charge ratio analyzer.

  The ion optical device is configured to reduce gas loading from the ion source on

  the collision cell. Claim 23 describes a method of operating a mass spectrometer

  with four main steps: generating an ion beam, reducing gas loading upstream of a

  collision cell, pressurizing the collision cell with a target gas, receiving the ion

  beam from the collision cell in a mass-to-charge analyzer.

        The full text of all the challenged claims can be found in the chart below,

  with an element-by-element breakdown for the independent claims. In the

  following discussion, brackets are used to identify claim elements (e.g., “[1D.]”).

                           Challenged Claims of ’232 Patent
[1PRE.] A mass spectrometer, comprising:
[1A.] an ion source for generating an ion beam from a sample introduced into a
plasma, the beam containing unwanted gas components and artifact ions;
[1B.] a collision cell within an evacuation chamber, the collision cell being disposed to
receive at least a portion of the ion beam from the ion source and arranged to be


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pressurized with a target gas for removing unwanted artifact ions from the ion beam in
the collision cell;
[1C.] an ion optical device configured upstream of the collision cell to reduce gas
loading from the ion source on the collision cell; and
[1D.] a mass-to-charge ratio analyzer disposed within an analyzing chamber and
arranged to receive at least a portion of the ion beam from the collision cell and to
mass analyze the received ion beam to produce a mass spectrum of the received ion
beam.
2. The mass spectrometer of claim 1, further comprising an ion transmission-
enhancing device, the ion transmission-enhancing device comprising the ion optical
device.
3. The mass spectrometer of claim 1, wherein the ion optical device comprises a
quadrupole, multipole, ion guide, ion lens or sector.
4. The mass spectrometer of claim 3, wherein the ion optical device comprises a
magnetic sector.
5. The mass spectrometer of claim 1, wherein the ion optical device is mass-selective.
6. The mass spectrometer of claim 1, further comprising a sampling aperture
configured to transmit some of the ions from the ion source into an evacuation
expansion chamber upstream of the ion optical device.
7. The mass spectrometer of claim 6, further comprising an aperture to transmit some
of the ion beam from the expansion chamber into the evacuation chamber.
8. The mass spectrometer of claim 1, wherein the mass spectrometer is configured to
transmit ions of the ion beam through the ion optical device along an axis.
9. The mass spectrometer of claim 8, wherein the mass spectrometer is configured
such that neutral gas of the unwanted gas components diverges from the axis at the ion
optical device.
10. The mass spectrometer of claim 9, wherein the mass spectrometer is configured to
deflect the ion beam off the axis upstream of the mass-to-charge analyzer.


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11. The mass spectrometer of claim 1, wherein the mass spectrometer is configured
such that the ion beam extends along a path that includes a first portion in which ions
are transmitted along an axis and a second portion in which the ion beam is deflected
off the axis upstream of the mass-to-charge analyzer.
12. The mass spectrometer of claim 11, further comprising a deflector to deflect the
ion beam off the axis upstream of the mass-to-charge analyzer.
13. The mass spectrometer of claim 12, wherein the deflector comprises a double
deflector.
14. The mass spectrometer of claim 12, wherein the deflector comprises an
electrostatic sector.
15. The mass spectrometer of claim 14, wherein the electrostatic sector comprises two
cylindrical electrostatic sectors in series.
16. The mass spectrometer of claim 11, wherein the mass spectrometer is configured to
deflect the ion beam off the axis downstream of the collision cell.
17. The mass spectrometer of claim 1, wherein the mass spectrometer is configured
such that the ion beam passes along a path and neutral gas of the unwanted gas
components diverges from the path.
18. The mass spectrometer of claim 1, wherein the ion optical device is configured
such that the at least a portion of the ion beam received by the collision cell is
substantially free of neutral gas components from the ion source.
19. The mass spectrometer of claim 1, further comprising an ion optical device
disposed within the collision cell, the ion optical device configured for containing the
ion beam as it passes through the collision cell.
20. The mass spectrometer of claim 1, further comprising a first pump for maintaining
the evacuation chamber at a first vacuum pressure, and a second pump for maintaining
the analyzing chamber at a second vacuum pressure.
21. The mass spectrometer of claim 1, further comprising an intermediate evacuation
chamber in which the ion optical device is disposed.


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22. The mass spectrometer of claim 21, further comprising a first pump for
maintaining the intermediate evacuation chamber at a first vacuum pressure, and a
second pump for maintaining the evacuation chamber at a second vacuum pressure
lower than the first vacuum pressure.
[23PRE.] A method of operating a mass spectrometer, the method comprising the
steps of:
[23A.] generating at an ion source an ion beam from a sample, the beam containing
unwanted gas components and artifact ions from the ion source;
[23B.] reducing gas loading from the ion source on a collision cell, the reducing
occurring upstream of the collision cell;
[23C.] pressurizing the collision cell with a target gas for removing unwanted artifact
ions from the ion beam in the collision cell;
[23D.] receiving in the collision cell at least a portion of the ion beam substantially
free of neutral gas components from the ion source; and
[23E.] receiving at least a portion of the ion beam from the collision cell in a mass-to-
charge ratio analyzer.
24. The method of claim 23, wherein reducing gas loading comprises passing the ion
beam through a transmission enhancing device.
25. The method of claim 24, wherein reducing gas loading comprises transmitting ions
of the ion beam through the transmission enhancing device along a first axis.
26. The method of claim 24, wherein reducing gas loading comprises diverging neutral
gas of the unwanted gas components from the first axis.
27. The method of claim 24, further comprising transmitting some of the ions from the
ion source through a sampling aperture into an evacuated expansion chamber upstream
of the transmission enhancing device.
28. The method of claim 24, wherein the ion transmission enhancing device is located
within an intermediate evacuation chamber, the collision cell is located within an
evacuation chamber, and the method includes evacuating the intermediate evacuation

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chamber to a first vacuum pressure, and evacuating the evacuation chamber to a
second vacuum pressure that is lower than the first pressure.
29. The method of claim 23, wherein the collision cell is located within an evacuation
chamber, the mass-to-charge ratio analyzer is located within an analyzer chamber, and
the method includes evacuating the evacuation chamber to a first vacuum pressure,
evacuating the analyzer chamber to a second vacuum pressure that is lower than the
first pressure.
30. The method of claim 23, wherein the ion beam includes a portion in which ions are
transmitted along an axis, and the method comprises deflecting the ion beam off the
axis upstream of the mass-to-charge analyzer.
31. The method of claim 30, wherein deflecting the ion beam includes electrostatically
deflecting the ion beam.
32. The method of claim 30, wherein deflecting the ion beam includes twice deflecting
the ion beam.
33. The method of claim 30, wherein the ion beam is deflected off the axis
downstream of the collision cell.
34. The method of claim 23, wherein the ion beam passes along a path and neutral gas
of the unwanted gas components diverges from the path.
        GROUNDS FOR UNPATENTABILITY

               General Principles

        Under 35 U.S.C. § 102, if a single prior art reference discloses each

  limitation of the claimed invention, a patent claim is anticipated. Schering Corp. v.

  Geneva Pharms., 339 F.3d 1373, 1377 (Fed. Cir. 2003). Moreover, “a reference

  can anticipate a claim even if it ‘d[oes] not expressly spell out’ all the limitations

  arranged or combined as in the claim, if a person of skill in the art, reading the

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  reference, would ‘at once envisage’ the claimed arrangement or combination.”

  Kennametal, Inc. v. Ingersoll Cutting Tool Co., 780 F.3d 1376, 1381 (Fed. Cir.

  2015) (quoting In re Petering, 301 F.2d 676, 681 (1962)).

        Under 35 USC § 103, a patent claim is obvious and invalid “if the

  differences between the subject matter sought to be patented and the prior art are

  such that the subject matter as a whole would have been obvious at the time the

  invention was made to a person having ordinary skill in the art to which said

  subject matter pertains.” Multiple pieces of prior art render the claims of the ’232

  Patent anticipated and/or obvious.

               Apparatus Claims Reciting Manners of Operation
        “[A]pparatus claims cover what a device is, not what a device does.”

  Hewlett-Packard Co. v. Bausch & Lomb Inc., 909 F.2d 1464, 1469 (Fed. Cir.

  1990) (emphasis in original). “[T]he patentability of apparatus or composition

  claims depends on the claimed structure, not on the use or purpose of that

  structure.” Catalina Marketing Intern. v. Coolsavings.Comm., 289 F.3d 801, 809

  (Fed. Cir. 2002); In re Gardiner, 171 F.2d 313, 315-16 (C.C.P.A. 1948) (“It is trite

  to state that the patentability of apparatus claims must be shown in the structure

  claimed and not merely upon a use, function, or result thereof.”). Thus, a claim

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  containing a “recitation with respect to the manner in which a claimed apparatus is

  intended to be employed does not differentiate the claimed apparatus from a prior

  art apparatus” if the prior art apparatus teaches all the structural limitations of the

  apparatus claim. Ex parte Masham, 2 U.S.P.Q. 2d 1647 (Bd. Pat. App. & Inter.

  1987).

        Method Claims Reciting Operations of an Apparatus
        When a prior art apparatus is the same as the apparatus described in a claim

  for carrying out a claimed method, the prior art apparatus presumably will perform

  the claimed method in its normal and usual operation. In re King, 801 F.2d 1324

  (Fed. Cir. 1986). Moreover, when a prior art reference describes using a prior art

  apparatus towards a particular purpose, a claimed method is anticipated if the claim

  merely recites newly discovered results of using the same apparatus for the same

  purpose. Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc., 246 F.3d 1368 (Fed.

  Cir. 2001).

                Claim Elements Directed to the Intended Use of a Component

        Statements of an intended use or purpose of a component in a claimed

  structure or composition are not included in invalidity analysis under Sections 102

  and 103. Boehringer Ingelheim Vetmedica, Inc. v. Schering-Plough Corp., 320

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  F.3d 1339, 1345 (Fed. Cir. 2003) (“[A]n intended use or purpose usually will not

  limit the scope of the claim because such statements usually do no more than

  define a context in which the invention operates.”).

        “Although such statements often appear in the claim’s preamble, a statement

  of intended use or purpose can appear elsewhere in a claim.” Ex Parte Mewherter,

  Appeal No. 2012-007692, Decision on Appeal, 18-19 (P.T.A.B. May 8, 2013)

  (internal annotations omitted).

               Ground 1: Speakman Anticipates Claims 1-3, 6-12, and 16-34

        Speakman (Ex. 1024) qualifies as prior art under 35 U.S.C. § 102(e) because

  the non-provisional patent application that led to the issuance of Speakman on

  April 24, 2001 was filed on May 30, 1997. The ’232 Patent acknowledges that a

  European counterpart of Speakman, EP Patent Application No. 0813228A1,

  discloses the use of a collision cell to remove unwanted artefact ions. Ex. 1001,

  1:50-53. Speakman was not discussed in any substantive communications during

  prosecution of the ’232 Patent.

        Speakman discloses a mass spectrometer with a plasma ion source, an ion

  optical device, an enclosed hexapole as a collision cell (in Figure 1), and a mass

  analyzer (e.g., in Figure 3). Ex. 1024, 8:42-9:35, 11:37-67; Ex. 1004 ¶¶59-60.

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  Thus, Speakman discloses all the structural limitations of the apparatus claim 1 and

  methods of mass analysis that perform all the steps recited in method claim 23.

                     Speakman Anticipates Claim 1
        [1PRE.]: Speakman discloses a plasma mass spectrometer. Ex. 1024, 8:42-

  9:35, 11:37-67, Figures 1 and 3; Ex. 1004 ¶63.

        Element [1A.]: Speakman discloses “an ion source [a plasma (inductively-

  coupled or microwave induced)] for generating an ion beam from a sample

  introduced into a plasma.” Ex. 1024, 1:3-6, 8:25-26, 8:42-47, (ICP source (1) and

  (2) in Figure 1 as shown below); Ex. 1004 ¶¶64-66.




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        Speakman also discloses “the beam containing unwanted gas components

  [neutral particles from the plasma] and artifact ions [atomic or molecular ions such

  as Ar+, Ar++, ArH+, ArN+ and molecular ions such as oxides, argides and hydride

  ions].” Ex. 1024, 1:14-20, 9:30; Ex. 1004 ¶¶65-66.

        Element [1B.]: Speakman discloses “a collision cell in an evacuation

  chamber” because in Figure 1, Speakman discloses a hexapole ion guide means

  (12) disposed in an evacuated chamber (11), and the front portion of the hexapole

  ion guide is enclosed by a tube (21). Ex. 1024, 8:66-9:14, 11:37-46, Figure 1; Ex.

  1004 ¶¶67-68. The enclosed portion of the hexapole ion guide means serves as a

  collision cell into which an inert gas can be introduced through an inlet (22). Ex.

  1024, 8:66-9:14, 11:37-46, Figure 1; Ex. 1004 ¶67. And because a portion of the

  ions generated from the plasma source are transmitted to the collision cell, the

  collision cell is “disposed to receive at least a portion of the ion beam from the ion

  source.” Ex. 1024, 8:66-9:3, Figure 1; Ex. 1004 ¶67.

         Speakman discloses that the collision cell is “arranged to be pressurized

  with a target gas [Speakman suggests helium, neon, argon, krypton, xenon, and/or

  nitrogen] for removing unwanted artifact ions from the ion beam in the collision



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  cell.” Ex. 1024, 3:37-40, 4:10-15; Ex. 1004 ¶68. For example, Speakman teaches

  that “the addition of 0.5% of xenon to a helium inert gas surprisingly has been

  found to further reduce the intensity of oxygenated molecular ions, and

  approximately 0.5% of hydrogen or water [to an inert gas] can result in a further

  reduction of ions such as Ar+.” Ex. 1024, 8:17-21; Ex. 1004 ¶¶67-68.

        Element [1C.]: Speakman discloses “an ion optical device [e.g., an

  electrostatic lens] configured upstream of the collision cell [Speakman’s ion guide

  means/tube]” because Speakman discloses that “electrostatic lens means are

  provided between the nozzle-skimmer interface and the entrance of the ion-guiding

  means.” Ex. 1024, 7:51-8:8; Ex. 1004 ¶¶69-73. Figure 1 discloses an electrostatic

  lens element (10) of hollow conical form upstream of the hexapole collision cell.

  Ex. 1024, 8:59-65; Ex. 1004 ¶69.

        Speakman discloses that the electrostatic lens can “reduce gas loading from

  the ion source on the collision cell” because it is an ion transmission-enhancing

  device and provides an additional vacuum pumping stage. Ex. 1004 ¶73. It

  teaches that “the potential applied to the electrostatic lens means is adjusted to

  improve the transmission efficiency of ions from the nozzle-skimmer interface to



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  the ion guiding means,” which is the collision cell, (Ex. 1024, 7:63-65); and “when

  the potential is correctly set, the lens means increases the transmission efficiency

  by more than a factor of 100,” (id., 7:66-8:1). See also Ex. 1004 ¶¶70-72. A

  POSA would have understood that because the electrostatic lens does not confine

  the neutral gas components, the neutral gas components diverge at the lens, thereby

  reducing the amount of gas components in the beam. Id. Speakman further

  teaches that “the lens reduces the transmission of ions such as ArO+, consequently

  improving the detection sensitivity for Fe,” thereby further reducing the amount of

  unwanted ions in the beam. Ex. 1024, 8:4-6; Ex. 1004 ¶70-73.

        Speakman teaches that “[t]he lens electrode may also serve as a second

  diaphragm to define an additional evacuated chamber and therefore provide an

  additional stage of differential pumping between the nozzle-skimmer interface and

  the ion-guiding means.” Id., 7:59-63; Ex. 1004 ¶72. A POSA would have

  understood that having an additional vacuum pumping stage further reduces the

  neutral gas components from the beam. Ex. 1001, 3:49-67; Ex. 1004 ¶73.

        Element [1D.]: Speakman discloses “a mass-to-charge ratio analyzer

  disposed within an analyzing chamber” because it discloses: (i) a quadrupole mass



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  analyzer in a chamber in Figure 3 (shown below); (ii) a magnetic sector in a

  chamber in Figure 4; (iii) a time-of-flight mass analyzer in a chamber in Figure 5;

  and (iv) an ion trap in a chamber in Figure 6. Ex. 1024, 9:22-11:36; Ex. 1004

  ¶¶74-75. These figures show that any of these mass analyzers can receive a

  portion of the ion beam from the collision cell to produce a mass spectrum.




                     Speakman Anticipates Claim 23

        [23PRE.]: As explained in Section XI.C, claim 23 is a method claim

  reciting a normal operation of a prior art apparatus. Speakman discloses methods

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  of mass analysis, using the plasma mass spectrometer, which perform all the steps

  of the method described in claim 23. Ex. 1024, 6:15-44, claims 29-38; Ex. 1004

  ¶109.

          Element [23A.]: Speakman discloses this element for the same reasons as

  Element [1A.]. Ex. 1024, 1:14-20, 9:30; Ex. 1004 ¶¶63-66, 109.

          Element [23B.]: Speakman discloses this element for the same reasons as

  Element [1C.]. Ex. 1024, 7:51-8:65; Ex. 1004 ¶¶69-73, 109.

          Element [23C.]: Speakman discloses this element for the same reasons as

  Element [1B.]. Ex. 1024, 8:66-9:14, 11:37-46, Figure 1; Ex. 1004 ¶¶67-68, 109.

          Element [23D.]: For the same reasons as Elements [1C.] and [23B.],

  Speakman discloses an ion optical device [an electrostatic lens] that enhances ion

  transmission and provides an additional vacuum pumping stage to further reduce

  neutral gas components. Ex. 1024, 7:51-8:9, Figure 1; Ex. 1004 ¶¶69-73, 109.

  Consequently, the portion of the ion beam received by the collision cell is

  substantially free of neutral gas components from the ion source. Ex. 1024, 7:63-

  8:1, 6:31-44, 8:17-21; Ex. 1004 ¶¶63-75, 109.




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        Element [23E.]: Speakman discloses this element for the same reasons as

  Element [1D.]. Ex. 1024, 9:22-11:36; Ex. 1004 ¶¶63-75, 109.

                      Speakman Anticipates Many Dependent Claims
        Claim 2: For the same reasons as Element [1C.], Speakman discloses an

  “ion transmission-enhancing device comprising the ion optical device [electrostatic

  lens element]” because Speakman discloses that the electrostatic lens element

  enhances ion transmission. Ex. 1004 ¶¶69-73, 109. Specifically, Speakman

  teaches that “the potential applied to the electrostatic lens means is adjusted to

  improve the transmission efficiency of ions from the nozzle-skimmer interface to

  the ion guiding means (i.e., the collision cell),” (Ex. 1024, 7:63-65); and “when the

  potential is correctly set, the lens means increases the transmission efficiency by

  more than a factor of 100” (Ex. 1024, 7:66-8:1). See also Ex. 1004 ¶¶69-73, 76.

        Claim 3: For the same reasons as Element [1C.], Speakman discloses “the

  ion optical device comprises . . . ion lens [Speakman’s electrostatic lens element is

  an ion lens].” Ex. 1024, 7:51-8:8; Ex. 1004 ¶¶69-73, 77.

        Claim 6: Speakman in Figure 1 discloses “a sampling aperture [a sampling

  cone (3) with an aperture] to transmit some of the ions from the ion source [plasma

  torch (1)] into an evacuation expansion chamber [the region (6)] upstream of the

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  ion optical device [Speakman’s electrostatic lens element].” Ex. 1024, 8:47-59,

  Figure 1; Ex. 1004 ¶¶78-79. As explained in Section VIII.B.5, the ions from the

  ICP source enter through a sampling aperture into an evacuated chamber, which is

  typically called an expansion chamber. Ex. 1024, 8:47-59, Figure 1; Ex. 1004

  ¶¶73, 78-79. In Speakman’s instrument, the evacuated chamber designated as

  region (6) is immediately after the sampling aperture and serves as an expansion

  chamber. Ex. 1024, 8:59-61, Figure 1; Ex. 1004 ¶78-79.

        Claim 7: Speakman in Figure 1 discloses “an aperture [a skimmer (5) with

  an aperture] for transmitting some of the ion beam from the expansion chamber

  [region (6)] to another evacuation chamber [an evacuated region (8)].” Ex. 1024,

  8:47-59, Figure 1; Ex. 1004 ¶¶80-81.

        Claim 8: Speakman discloses that “the mass spectrometer is configured to

  transmit ions of the ion beam through the ion optical device [electrostatic lens

  element] along an axis [the axis of the nozzle-skimmer interface].” Ex. 1024,

  8:59-61, 9:10-21, Figure 1; Ex. 1004 ¶¶82-83.

        Claim 9: Speakman discloses that “the mass spectrometer is configured

  such that neutral gas of the unwanted gas components diverges from the axis [the



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  axis of the nozzle-skimmer interface] at the ion optical device [electrostatic lens

  element]” because the electrostatic lens element provides “an additional stage of

  differential pumping between the nozzle-skimmer interface and the ion-guiding

  means” in Speakman’s instrument. Ex. 1024, 7:59-63; Ex. 1004 ¶¶84-87. The

  neutral gas components are not confined by the electrostatic lens, and so they

  diverge from the axis of the beam and get pumped away as the ion beam passes

  through the electrostatic lens into the evacuation chamber (8) upstream of the

  collision cell. Ex. 1024, 7:59-63; Ex. 1004 ¶¶84-87; Ex. 1001, 3:49-67.

        Claim 10: Speakman discloses “the mass spectrometer is configured to

  deflect the ion beam off the axis upstream of the mass-to-charge analyzer” because

  Speakman’s instrument is configured such that the ions are transmitted along an

  axis (i.e., the axis (16) of the collision cell) and then are deflected off that axis (16)

  upstream of the mass-to-charge analyzer to the axis (32) of the mass analyzer. Ex.

  1024, 9:19-21, Figure 1, 9:27-38, Figure 3; Ex. 1004 ¶¶88-90.

        Claim 11: For the same reasons as claim 8, Speakman discloses “the mass

  spectrometer is configured such that the ion beam extends along a path that

  includes a first portion in which ions are transmitted along an axis [of the nozzle-



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  interface].” Ex. 1024, 8:59-61, 9:10-21, Figure 1; Ex. 1004, 91-94. For the same

  reason as claim 10, Speakman discloses “a second portion in which the ion beam is

  deflected off the axis upstream of the mass-to-charge analyzer.” Specifically,

  Speakman’s instrument is configured such that the ions are transmitted along an

  axis of the nozzle interface and then are deflected to the axis (16) of the collision

  cell, and then again, are deflected off that axis (16) upstream of the mass-to-charge

  analyzer to the axis (32) of the mass analyzer. Id., 9:19-21, Figure 1, 9:27-38,

  Figure 3; Ex. 1004 ¶¶91-94.

        Claim 12: Speakman discloses a tapered electrode (18), which acts as a

  deflector to electrostatically deflect the ion beam upstream of the mass analyzer.

  Ex. 1024, 9:27-38, Figure 3; Ex. 1004 ¶95.

        Claim 16: Speakman discloses claim 16 for the same reasons as claims 8

  and 10. Ex. 1024, 9:19-21, Figure 1, 9:27-38, Figure 3; Ex. 1004 ¶¶96.

        Claim 17: Speakman discloses “the mass spectrometer is configured such

  that the ion beam passes along a path and neutral gas of the unwanted gas

  components diverges from the path” because Speakman’s instrument is configured

  such that the ion beam is twice deflected for the same reasons as claim 10, and the



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  neutral gas components are not deflected and thus diverge from the ion path. Ex.

  1024, 9:10-11, 9:35, Figure 1, Figure 3; Ex. 1004 ¶97-98.

        Claim 18: Speakman discloses “the ion optical device is configured such

  that the at least a portion of the ion beam received by the collision cell is

  substantially free of neutral gas components from the ion source” because for the

  same reasons as claim 9, the neutral gas components diverge from the ion path at

  the ion optical device. So a portion of the ion beam received by the collision cell is

  substantially free of the neutral gas components from the ion source. Ex. 1024,

  7:59-63; Ex. 1004 ¶¶99-100.

        Claim 19: As discussed in Element [1B.], the collision cell is made of a

  hexapole ion guide enclosed by a tube. An AC voltage can be applied to the

  hexapole ion guide such that the ions are transmitted in the space between the

  poles. Ex. 1024, 4:6-9, 4:50-5:9, 12:1-10, Claim 1. Thus, Speakman discloses “an

  ion optical device [hexapole ion guide] disposed within the collision cell, the ion

  optical device [hexapole ion guide] configured for containing the ion beam as it

  passes through the collision cell [when an AC voltage is applied].” Ex. 1024, 8:66-

  9:14, 11:37-46, Figure 1; Ex. 1004 ¶101.



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        Claim 20: Speakman discloses “a first pump [a turbomolecular pump] for

  maintaining the evacuation chamber [an evacuation chamber (11) that contains the

  hexapole collision cell in Figure 1] at a first vacuum pressure, and a second pump

  [another vacuum pump in Figure 3] for maintaining the analyzing chamber [second

  evacuated chamber (20) that contains a quadrupole mass filter (29) in Figure 3] at a

  second vacuum pressure.” Ex. 1024, 8:54-65, Figure 1, 9:22-35, Figure 3; Ex.

  1004 ¶¶102-04.

        Claim 21: Speakman discloses “an intermediate evacuation chamber [an

  evacuated region 8] in which the ion optical device [electrostatic lens element 10]

  is disposed.” Ex. 1024, 8:54-65, Figure 1; Ex. 1004 ¶105.

        Claim 22: Speakman discloses “a first pump [a turbomolecular pump] for

  maintaining the intermediate evacuation chamber [an evacuated region 8 that

  contains the electrostatic lens element] at a first vacuum pressure, and a second

  pump [a turbomolecular pump] for maintaining the evacuation chamber [an

  evacuated chamber (11) that contains the hexapole collision cell] at a second

  vacuum pressure [about 10-3 torr] lower than the first vacuum pressure

  [approximately 10-2 torr].” Ex. 1024, 8:54-65; Ex. 1004 ¶¶106-08. Moreover, as



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  explained in Section XI.B, the pressure requirements are merely modes of

  operating the vacuum pumps and do not add any further structural limitations to

  this claim.

        Claim 24: For the same reasons as Elements [1C.] and [23B.], Speakman

  discloses “reducing gas loading comprises passing the ion beam through a

  transmission enhancing device [Speakman’s electrostatic lens element enhances

  transmission].” Ex. 1024, 7:51-8:65; Ex. 1004 ¶110. Specifically, Speakman

  teaches that “the potential applied to the electrostatic lens means is adjusted to

  improve the transmission efficiency of ions” (Ex. 1024, 7:63-65); and “when the

  potential is correctly set, the lens means increases the transmission efficiency by

  more than a factor of 100,” (id., 7:66-8:1).

        Claim 25: Speakman discloses that “reducing gas loading comprises

  transmitting ions of the ion beam through the transmission enhancing device

  [electrostatic lens element] along a first axis [the axis of the nozzle-skimmer

  interface].” Id., 9:10-21, Figure 1; Ex. 1004 ¶111. As discussed above in Element

  [1C.], this electrostatic lens is an ion transmission enhancing device.




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          Claim 26: Speakman discloses the limitations of this claim for the same

  reasons as claims 9 and 17. Ex. 1024, 9:10-11, 9:35, Figure 1, Figure 3; Ex. 1004

  ¶112.

          Claim 27: Speakman discloses claim 27 for the same reasons as claim 6.

  Ex. 1004 ¶113.

          Claim 28: Speakman discloses claim 28 for the same reasons as claims 21-

  22. Ex. 1024, 8:54-65, Figure 1; Ex. 1004 ¶114.

          Claim 29: Speakman discloses “the collision cell is located within an

  evacuation chamber” and “the mass-to-charge ratio analyzer is located within an

  analyzer chamber” for the same reasons as claim 20. Ex. 1024, 8:54-65, Figure 1,

  9:22-35, Figure 3; Ex. 1004 ¶¶115-18.

          Speakman discloses “the method includes evacuating the evacuation

  chamber to a first vacuum pressure, evacuating the analyzer chamber to a second

  vacuum pressure that is lower than the first pressure” as follows. Because these

  two chambers have two different pumps, Speakman’s instrument can maintain the

  pressure of the analytical chamber to be lower or higher than, or similar to the

  pressure of the evacuation chamber that contains the collision cell. Ex. 1024, 8:54-



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  9:35, Figure 1, Figure 3; Ex. 1004 ¶¶115-18. As discussed in Section XI.A, a

  POSA would have “at once envisage[d]” that one of the three alternatives is that

  the pressure in the analyzing chamber is lower than that of the chamber containing

  the collision cell. Ex. 1004 ¶¶115-18.

        Claim 30: Speakman discloses claim 30 for the same reasons as claim 11.

        Claim 31: Speakman discloses “deflecting the ion beam includes

  electrostatically deflecting the ion beam” for the same reasons as claim 12.

        Claim 32: Speakman discloses “deflecting the ion beam includes twice

  deflecting the ion beam” because in Speakman’s instrument, the ion beam is

  deflected once at the entrance of the collision cell, and a second time at the tapered

  electrode between the exit of the collision cell and the mass analyzer. Ex. 1024,

  9:19-21, Figure 1, 9:27-38, Figure 3; Ex. 1004 ¶¶121-23.

        Claim 33: Speakman discloses “the ion beam is deflected off the axis

  downstream of the collision cell” for the same reasons as claims 10 and 32. Ex.

  1004 ¶124.

        Claim 34: Speakman discloses claim 34 for the same reasons as claim 17.

  Id. ¶125.



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               Ground 2: Speakman in combination with King and King II
               renders obvious 1-3, 5-12, and 16-34

        King (Ex. 1037) was published in 1989 and thus qualifies as prior art under

  35 U.S.C. § 102(b). Ex. 1008 ¶24. King II (Ex. 1028) was published in 1990 and

  thus qualifies as prior art under 35 U.S.C. § 102(b). Ex. 1008 ¶22.

        King discloses plasma triple-quadrupole mass spectrometers for elemental

  analysis. Specifically, King discloses a glow-discharge triple quadrupole mass

  spectrometer. Ex. 1037, 171-72; Ex. 1004 ¶¶127-30. The first and third

  quadrupoles can operate in RF-only mode (passing ions above an m/z cutoff) or in

  a mass selective mode. Ex. 1037, 180-83. The second quadrupole in the collision

  cell operates in RF-only mode and has a nonlinear geometry. Id. A schematic of

  this instrument was later disclosed in the King II review paper. Ex. 1028, 302-303,

  Figure 13.




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        In King’s instrument, the first quadrupole acts as an ion optical device. Ex.

  1037, 174; Ex. 1028, Figure 13; Ex. 1004 ¶¶132-34. In one of King’s experiments,

  the first quadrupole serves as a mass selective device that enhances transmission of

  specific analyte ions and does not confine the neutral gas components. Ex. 1037,

  183; Ex. 1004 ¶¶127-31. In other experiments, the first quadrupole serves as an

  ion guide that enhances the transmission of all ions with m/z ratios above a low

  m/z cutoff. Ex. 1037, 181-83; Ex. 1004 ¶¶127-30. In either mode, the neutral gas

  components diverge as the beam moves through the first quadrupole, thereby

  reducing gas loading on the collision cell. Ex. 1037, 175; Ex. 1004 ¶¶127-30.



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        King II reviews King’s instrument and the collision-induced dissociation

  experiments described therein. It discusses that the nonlinear collision cell in

  King’s instrument “serves effectively to remove neutral species from the ion beam

  reaching the detector.” Ex. 1028, 303; Ex. 1004 ¶¶132-34. It also teaches that the

  “utilization of various tandem mass spectrometry techniques such as daughter,

  parent, and neutral loss spectra permits the prediction and identification of isobaric

  interferences due to polyatomic ions.” Ex. 1028, 303; Ex. 1004 ¶¶132-33.

        A POSA would have been motivated to combine the teachings of Speakman

  King, and King II, because they all relate to elemental analysis using plasma mass

  spectrometry and attempt to remove interfering ions using a collision cell. In fact,

  Speakman explicitly mentions King. Ex. 1024, 2:15-20. It discusses that King

  “described the use of collision-induced dissociation to remove polyatomic ion

  interferences in glow-discharge mass spectrometry … [King] employed a triple

  quadrupole mass spectrometer and used the centre quadrupole as a collision cell.”

  Id.

        Moreover, Speakman attempts to use other inert gases instead of argon to

  induce dissociations of polyatomic ions. Ex. 1024, 5:63-6:4; Ex. 1004 ¶134. King



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  and King II improve Speakman by teaching that a mass selective ion optical device

  like a quadrupole upstream of a collision cell allows one to utilize various tandem

  mass spectrometry techniques to remove, identify, and/or predict polyatomic

  interferences. Ex. 1004 ¶134.

                     Speakman in combination with King and King II renders
                     obvious claims 1-3, 6-12, and 16-34
        As explained in Ground 1, Speakman discloses each and every limitation of

  Claims 1-3, 6-12, and 16-34. To the extent that Patent-Owner argues that

  Speakman does not disclose an ion optical device to reduce gas loading from the

  ion source on a collision cell in Elements [1C.] and [23B.], King and King II teach

  a mass-selective ion optical device (a quadrupole) upstream of the collision cell.

  Ex. 1037, 174; Ex. 1028, 303. It was well known as of 1998 that a mass-selective

  ion optical device increases ion-transmission, while the neutral gas components

  diverge from the beam as they are not confined by the ion optical device. Ex. 1004

  ¶¶126-37. Moreover, King and King II both teach, various tandem mass

  spectrometry techniques that allow the identification of atomic ions and

  polyatomic interfering ions in elemental analysis. Ex. 1037, 174-75; Ex. 1028,

  303. In view of King and King II, a POSA would have been motivated to improve


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  Speakman’s instrument by adding a mass-selective ion optical device (a

  quadrupole) upstream of the collision cell. Ex. 1004 ¶¶126-37.

                     Speakman in view of King and King II renders obvious
                     claim 5

        Claim 5: The combined teachings of Speakman, King, and King II disclose

  the features of claim 5 because, as discussed for claim 1, King and King II teach a

  mass-selective ion optical device. Ex. 1037, 174; Ex. 1028, 303; Ex. 1004 ¶¶135-

  36.

               Ground 3: Speakman in combination with Yost renders obvious
               claims 4 and 14 under § 103

        Yost (Ex. 1015) was published in 1983 and thus qualifies as prior art under

  35 U.S.C. § 102(b). Ex. 1008 ¶21. Yost is a review paper on the instrumentation

  of tandem mass spectrometry, particularly triple quadrupole and other tandem

  instruments, as of 1983. Yost discloses that a research group at Purdue University

  designed a hybrid mass spectrometer that “incorporate[d] a magnetic sector

  followed by an RF-only quadrupole collision cell and a quadrupole mass filter.”

  Ex. 1039, 29; Ex. 1004 ¶¶138-40. Yost teaches that “[c]ompared with the tandem

  quadrupole instruments, the hybrid provides better mass resolution in the first stage

  and allows collisions to be observed at collision energies up to a few hundred

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  volts.” Ex. 1039, 29. In Figure 8, Yost discloses a VG 70-70 hybrid instrument

  with an electrostatic sector, magnetic section, a quadrupole collision cell and a

  quadrupole mass analyzer. Id., 30.




        A POSA would have been motivated to combine Yost with the teaching of

  Speakman. Ex. 1004 ¶140. Speakman teaches using a hexapole collision cell and

  inert gases to remove interfering ions in ICP-MS. Ex. 1024, 8:66-9:14, 11:37-46.

  Moreover, Speakman in Figure 4 discloses a magnetic sector as one of the

  preferred mass analyzers for isotopic ratio determination. Id., 9:55-61, Figure 4.

        Yost improves the teaching of Speakman by teaching that a magnetic sector

  can be placed upstream of the collision cell to provide better mass resolution and to

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  allow for higher collision energies. Ex. 1039, 29-30; Ex. 1004 ¶¶139-40. Yost

  discusses the various designs and operations of tandem mass spectrometers,

  including sector-based instruments, as of 1983. Ex. 1039, 29-30. A POSA would

  have been motivated to combine the teachings of Yost and Speakman to design a

  better tandem mass spectrometer for elemental analysis. Ex. 1004 ¶140.

        Claim 4: As discussed immediately above, Speakman and Yost teach that

  “the ion optical device comprises a magnetic sector.” A POSA would have been

  motivated to improve Speakman’s instrument by using a magnetic sector as an ion

  optical device upstream of the collision cell. Ex. 1004 ¶¶141-42.

        Turner (Ex. 1038) provides an example of the way that a POSA would read

  and combine the teachings of Speakman and Yost. Turner is a book chapter

  review of the various components of the ICP-MS instruments as of 1998, including

  mass analyzers and collision cells used in ICP-MS. Ex. 1038, 436-479. Turner

  discusses Speakman’s hexapole collision-cell ICP-MS instrument and the initial

  conclusions from the experiment results. Id., 477-479. Turner also discusses the

  use of a magnetic sector as a mass analyzer in high-resolution ICP-MS, as in Yost.

  Id., 446-49; Ex. 1004 ¶142.



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         With respect to Speakman’s hexapole collision cell ICP-MS, Turner

  discusses that this instrument uses “a hexapole collision cell to thermalize the ions

  transmitted through the MS interface” and “to reduce mass spectral interferences

  resulting from argon-based molecular ions.” Ex. 1038, 477. Compared to other

  approaches like a “cold plasma” to reduce unwanted ions, “the collision cell

  ICPMS approach removes unwanted ions while operating with a hot plasma.” Id.,

  479. “The sensitivity of the system remains excellent,” even though additional

  molecular ions are introduced. Id.

         With respect to a magnetic mass analyzer, Turner discusses that the concepts

  of a high-resolution ICPMS based on the use of a magnetic sector to separate ions.

  Id., 446. Turner teaches that typically, “high-resolution ICPMS is the preferred

  method for investigating low levels of components in complicated matrices.” Id.,

  455.

         Turner’s example shows that a POSA would understand that Speakman and

  Yost should be combined so that a magnetic sector is placed upstream of the

  collision cell to provide better mass resolution and to allow for higher collision

  energies. Ex. 1015, 29-30.



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        Claim 14: A POSA would have been motivated to combine Speakman with

  the electrostatic sensor in Yost. Ex. 1039, 29-30; Ex. 1024, 8:66-9:14, 11:37-46;

  Ex. 1004 ¶¶146-47.

        Turner provides an example of how a POSA at the time would understand

  the combination of Yost and Speakman. Turner includes a curved electrostatic

  sensor to overcome the energy spread problems that arise from use of a magnetic

  sector as a mass-selective ion optical device. Ex. 1038, 446-450. Turner’s

  electrostatic sector is upstream of the collision cell as set forth in the combination

  of Yost and Speakman. Id. As the ions travel through the curved electrostatic

  sector, they are deflected off the axis of the ion source. Id. As Turner

  demonstrates, for the same reasons set forth in this Ground above, a POSA would

  have been motivated to modify Speakman’s instrument by using an electrostatic

  sector to deflect the ions and to improve the resolution of the instrument. Ex. 1004

  ¶¶146-48.

               Ground 4: Speakman in combination with Turner and Terzic
               renders obvious claims 13 and 15 under § 103
        Terzic (Ex. 1039) was published in 1979 and thus qualifies as prior art under

  35 U.S.C. § 102(b). Ex. 1008 ¶25. Terzic discloses a double curved electrostatic


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  sector that “consists of two identical cylindrical electrostatic sectors.” Id., 419, and

  Figure 2 (shown below). Thus, it was well known as of 1998 that an electrostatic

  sector can be made of a double cylindrical electrostatic sector. Ex. 1004 ¶¶149-50.




        In addition to the reasons for combining Speakman and Yost (supra, 53-57),

  a POSA would have been motivated to combine Terzic with these references.

  Speakman and Yost discuss improving the resolution of a mass spectrometer using

  a magnetic sector. Ex. 1024, 5:31-46, 10:39-51; Ex. 1039, 29-30. Terzic teaches a



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  curved double electrostatic sector that can improve the resolution and transmission

  of ions in mass and energy analyzers.

        Turner provides an example of how a POSA would combine the teachings of

  Terzic and Speakman. Specifically, Turner uses a curved electrostatic sector

  upstream of the collision cell as described in Terzic and Speakman respectively, in

  order to overcome the energy spread problems if a magnetic sector is used as a

  mass analyzer. Ex. 1038, 49-50; Ex. 1004 ¶¶151-52.

        Claim 13: Terzic discloses a “deflector [that] comprises a double

  deflector.” Specifically, Terzic teaches an electrostatic sector comprised of two

  curved cylindrical electrostatic sectors. Ex. 1039, 419. Terzic Figure 2 shows ions

  are deflected the first time as they pass through the first sector, and then are

  deflected a second time as they pass through the second sector. Id., 420. A POSA

  would have understood that Terzic’s electrostatic sector also functions as a double

  deflector. Ex. 1004 ¶153. And for the same reasons set forth above, in view of

  Yost and Terzic, a POSA would have been motivated to use Terzic’s double

  electrostatic sector on Speakman’s instrument to improve the instrument’s

  resolving power and reduce neutral background gas. Ex. 1004 ¶¶150-53. Turner



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  provides an example of how a POSA would view and combine the disclosures in

  Yost, Speakman, and Terzic as of 1998. Ex. 1004 ¶153.

        Claim 15: Terzic discloses that an “electrostatic sector comprises two

  cylindrical electrostatic sectors in series.” Ex. 1039, 419. For the same reasons

  described in claims 4, 13, and 14, a POSA would have been motivated to use

  Terzic’s double electrostatic sector on Speakman’s instrument to improve the

  instrument’s resolving power and reduce neutral background gas. Ex. 1004 ¶154.

                 Ground 5: Tanner-Patent Anticipates Claims 1-3, 5-7, 17-20, 23-
                 24, 27, 29, and 34

        Tanner-Patent (Ex. 1036) qualifies as prior art under 35 U.S.C. § 102(e)

  because the non-provisional patent application that led to the issuance of Tanner-

  Patent on October 31, 2000 was filed on May 29, 1998. Tanner-Patent is cited on

  Page 2 of the ’232 Patent, but its substance was not discussed during the

  prosecution.

        Tanner-Patent discloses a double-quadrupole mass spectrometer in Figure 1.

  The ion source (12) is typically an ICP or GD source. Ex. 1036, 3:55-60. The first

  quadrupole (34) serves a bandpass filter inside a collision cell (collectively called,

  a bandpass reactive collision cell). Id., 4:2-8, 4:20-25, 8:3-44. Reactive gases like


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  ammonia, hydrogen, and helium can be introduced into the cell. Id., 7:59-62, 11:6-

  13. The second quadrupole (66) acts as a mass analyzer before the detector (74).

  Id., 4:26-35; Ex. 1004 ¶¶155-56.




        Tanner-Patent also discloses a time-of-flight mass spectrometer in Figure 21.

  Ex. 1036, 11:53-12:38. The ion source (12) is also an ICP or GD source. Id. Q1


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  is a mass selective quadrupole, and the mass analyzer (212) is a conventional time-

  of-flight mass analyzer. Id. Q2 may be a standard collision cell or a bandpass

  reactive collision cell. Id.; Ex. 1004 ¶¶157-58.




                     Tanner-Patent Anticipates Claim 1

        [1PRE.]: Tanner-Patent discloses plasma mass spectrometers. Ex. 1004

  ¶¶158-59.




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        Element [1A.]: Tanner-Patent discloses “an ion source [a plasma ion source

  (12) in Figures 1 and 21] for generating an ion beam from a sample introduced into

  a plasma.” Ex. 1036, 3:55-60, 11:53-12:38; Ex. 1004 ¶¶159-63.

        Tanner-Patent also discloses “the beam containing unwanted gas

  components [neutral metastable species] and artifact ions [Ar+, ArH+, ArO+, and

  Ar2+].” Ex. 1036, 1:52-55, 5:30-61; Ex. 1004 ¶¶164-65.

        Tanner-Patent discloses a series of experiments performed using the

  instrument disclosed in Figure 1. In the experiments described for Figures 3-4,

  Tanner-Patent further discloses that the ion source generates artefact ions like Ar+,

  ArH+, ArO+, and Ar2+. Ex. 1036, 5:30-61. These artefact ions have m/z ratios that

  interfere with the detection of atomic ions, Mg, Sc, Cu, and Ge. Id. In the

  experiments described for Figures 5-6, these artefact ions interfere with the

  detection of atomic ions, Mn, Fe, and Co. Id., 5:62-6:13, 7:28-39; Ex. 1004 ¶¶164-

  65.

        Tanner-Patent discloses that the beam has unwanted neutral gas components

  where it states that “non-spectral interferences are also commonly encountered,”




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  which “typically derive from neutral metastable species, and produce an elevated

  continuum background.” Id., 1:52-55; Ex. 1004 ¶¶163-65.

        Element [1B.]: Tanner-Patent discloses “a collision cell [collision cell 41 in

  Figure 1 and Q2 in Figure 21] within an evacuation chamber [second evacuated

  chamber 28].” Ex. 1036, 3:66-67, 4:5-8, 11:63-64, Figures 1 and 21. The collision

  cell is placed after the ion source “to receive at least a portion of the ion beam from

  the ion source.” Id., Figures 1 and 21; Ex. 1004 ¶¶166-67.

        Tanner-Patent discloses that the collision cell is “arranged to be pressurized

  with a target gas [ammonia] for removing unwanted artifact ions from the ion

  beam in the collision cell.” Ex. 1036, 5:48-57, 5:62-6:13. In the experiments

  described for Figures 5-6, the collision cell is pressurized with a reactive gas,

  ammonia. Id., 5:62-6:13, 7:28-39. Artefact ions like Ar+, ArH+, ArO+, and Ar2+

  react with ammonia and form product ions with m/z ratios that do not interfere

  with the detection of the atomic ions like Mn, Fe, and Co. Id. These product ions

  are removed from the ion beam as they pass through the mass analyzer. Id.; Ex.

  1004 ¶¶166-67.




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        Element [1C.]: Tanner-Patent discloses “an ion optical device [any desired

  conventional ion optical device in Figure 1, and the quadrupole Q1 in Figure 21]

  configured upstream of the collision cell to reduce gas loading from the ion source

  on the collision cell.” Ex. 1036, 3:64-4:2, Figure 1, 11:52-62, Figure 21.

  Specifically, for the instrument in Figure 1, Tanner-Patent discusses that “[t]he

  ions continue through an orifice 22 in a skimmer plate 24, through any desired

  conventional ion optics 26 in a second vacuum chamber 28” to the collision cell.

  Id., 3:64-4:2. As Dr. Yost explains, a conventional ion optical device enhances ion

  transmission and does not confine any neutral gas components, and so the neutral

  gas components diverge under vacuum. Ex. 1004 ¶¶168-69. As such, the ion

  optical device reduces gas loading from the ion source onto the collision cell. Id.

        In Figure 21, Tanner-Patent discloses a mass selective quadrupole (Q1) that

  receives a portion of the ion beam from the ICP source and is upstream of the

  collision cell. Ex. 1036, 11:52-62. Here, Q1 is the ion optical device that can be

  configured to mass select at the first mass-to-charge ratio of the first atomic ion

  and does not confine the neutral gas components. Id.; Ex. 1004 ¶¶168-69.




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        Element [1D.]: Tanner-Patent discloses in Figure 1 “a mass-to-charge ratio

  analyzer [a mass analyzer 66] disposed within an analyzing chamber [third vacuum

  chamber (60)].” Ex. 1036, 4:25-38. Tanner-Patent further discloses that the mass

  analyzer (66) in Figure 1 is “arranged to receive at least a portion of the ion beam

  from the collision cell and to mass analyze the received ion beam to produce a

  mass spectrum of the received ion beam.” Id. Specifically, for the experiments

  described therein, the mass analyzer produces a mass spectrum of the received ion

  beam from the collision cell. See id., Figures 5-6; Ex. 1004 ¶¶170-71.

        Tanner-Patent’s Figure 21 discloses a time-of-flight mass analyzer (212) in

  an evacuation chamber (i.e., an analyzing chamber) that receives the ion beam

  from the collision cell (Q2). Ex. 1036, 12:1-11; Ex. 1004 ¶¶170-71.

                     Tanner-Patent Anticipates Claim 23
        [23PRE.]: Tanner-Patent discloses experiments that teach all the steps of

  claim 23 using the instrument in Figure 1. Id., 5:48-6:13, 7:28-47, 8:45-11:38; Ex.

  1004 ¶188, Section XI.C. Tanner-Patent discloses a method of operating a mass

  spectrometer as follows.

        Elements [23A-23C.]: Tanner-Patent discloses these element for the same

  reasons as Elements [1A-1C.].

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        Element [23D.]: Tanner-Patent discloses “receiving in the collision cell at

  least a portion of the ion beam substantially free of neutral gas components from

  the ion source” because Tanner-Patent uses an ion optical device upstream of the

  collision cell. Ex. 1036, 3:64-4:2. The ion optical device does not confine any

  neutral gas components, and consequently, the neutral gas components diverge

  while the ions pass through the ion optical device into the collision cell. Ex. 1004

  ¶¶168-71. Thus, the portion of the ion beam received by the collision cell is

  substantially free of the neutral gas components from the ion source.

        Element [23E.]: Tanner-Patent discloses this element for the same reason

  as Element [1D.].

                      Tanner-Patent anticipates many dependent claims

        Claim 2: For the same reasons as Element [1C.], Tanner-Patent discloses an

  “ion transmission-enhancing device comprising the ion optical device [quadrupole

  Q1 in Figure 21].” Ex. 1036, 11:52-62. A POSA as of 1998 would have

  understood that a quadrupole enhances ion transmission. Ex. 1004 ¶172.

        Claim 3: For the same reasons as Element [1C.], Tanner-Patent discloses

  that “the ion optical device comprises . . . ion lens [any desired conventional ion



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  optics 26].” Ex. 1036, 3:64-4:2. A POSA as of 1998 would have understood that

  an ion lens is a conventional ion optical device. Ex. 1004 ¶173.

        Claim 5: For the same reasons as Element [1C.], Tanner-Patent discloses

  that “the ion optical device [resolving quadrupole mass spectrometer Q1] is mass

  selective.” Ex. 1036, 11:52-62; Ex. 1004 ¶174.

        Claim 6: Tanner-Patent discloses in Figure 1 “a sampling aperture [a

  sampling plate (16) with an aperture (14)] configured to transmit some of the ions

  from the ion source [plasma source (12)] into an evacuation expansion chamber

  [first vacuum chamber (18)] upstream of the ion optical device [conventional ion

  optics].” Ex. 1036, 3:60-67; Ex. 1004 ¶¶175-76.

        Claim 7: Tanner-Patent in Figure 1 discloses “an aperture [a skimmer plate

  (24) with an aperture (22)] for transmitting some of the ion beam from the

  expansion chamber [first vacuum chamber (18)] to another evacuation chamber [a

  second vacuum chamber (28)].” Ex. 1036, 3:60-67; Ex. 1004 ¶¶177-78.

        Claim 17: Tanner-Patent discloses the limitations of this claim for the same

  reasons as Elements [1C.] and [23D.]. Ex. 1004 ¶179.




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        Claim 18: Tanner-Patent discloses that “the ion optical device is configured

  such that the at least a portion of the ion beam received by the collision cell is

  substantially free of neutral gas components from the ion source” for the same

  reasons as Elements [1C.] and [23D.]. Ex. 1004 ¶¶180-82.

        Claim 19: Tanner-Patent discloses “an ion optical device [quadrupole (34)

  in Figure 1] disposed within the collision cell [collision cell (41)].” Ex. 1036,

  3:64-4:2. Tanner-Patent further discloses “the ion optical device [quadrupole (34)]

  configured for containing the ion beam as it passes through the collision cell

  [collision cell (41)]” because quadrupole (34) may operate as an RF-only device,

  i.e., as an ion transmission device, or as a bandpass filter when low level DC

  voltage is also applied to the rods. Ex. 1036, 5:4-19; Ex. 1004 ¶¶183-84.

        Claim 20: Tanner-Patent discloses “a first pump [high vacuum turbo pump

  (30)] for maintaining the evacuation chamber [second vacuum chamber (28)] at a

  first vacuum pressure, and a second pump [high vacuum turbo pump (62)] for

  maintaining the analyzing chamber [third vacuum chamber (60)] at a second

  vacuum pressure.” Ex. 1036, 3:66-67, 4:26-37, Figure 1; Ex. 1004 ¶¶185-87.




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        Claim 24: Tanner-Patent discloses the limitations of this claim for the same

  reasons as Elements [1C.] and [23D.].

        Claim 27: Tanner-Patent discloses claim 27 for the same reasons as claim

  6.

        Claim 29: Tanner-Patent discloses “the collision cell [collision cell (41)] is

  located within an evacuation chamber [second vacuum chamber (28)], the mass-to-

  charge ratio analyzer [mass analyzer (66)] is located within an analyzer chamber

  [third vacuum chamber (60)].” Ex. 1036, 3:66-67, 4:26-37, Figure 1; Ex. 1004

  ¶¶191-93.

        Tanner-Patent discloses “the method includes evacuating the evacuation

  chamber to a first vacuum pressure, evacuating the analyzer chamber to a second

  vacuum pressure that is lower than the first pressure” as follows. Because these

  two chambers each has a high vacuum pump, Tanner-Patent’s instrument can

  maintain the pressure of the analytical chamber to be lower or higher than, or

  similar to the pressure of the evacuation chamber that contains the collision cell.

  Ex. 1004 ¶¶191-93. As discussed in Section XI.A, a POSA would have “at once




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  envisage[d]” that one of the three alternatives is that the pressure in the analyzing

  chamber is lower than that of the chamber containing the collision cell. Id.

        Claim 34: Tanner-Patent discloses the limitations of this claim for the same

  reasons as Elements [1C.] and [23D.].

               Ground 6: Tanner-Patent in combination with Kishi renders
               obvious claims 1-3, 5-13, 16-34 under § 103

        Kishi (Ex. 1034) was published in August 1997 and thus qualifies as prior

  art under 35 U.S.C. § 102(b). Ex. 1008 ¶23. Kishi is not on the cover of the ’232

  Patent. Its substance was not discussed during the prosecution of the ’232 Patent.

        Kishi describes a commercial ICP-MS instrument, HP 4500, for elemental

  analysis. Ex. 1004 ¶197. This instrument has three evacuation chambers – an

  expansion chamber, a chamber for ion optic devices, and a chamber for the

  quadrupole mass analyzer – to achieve differential vacuum pumping, as

  diagrammed below. Ex. 1034, 1.




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                      Tanner-Patent in combination with Kishi renders obvious
                      claims 1-3, 5-7, 17-20, 23-24, 27, 29, and 34
         As explained in Ground 5, Tanner-Patent discloses each and every

  limitation of claims 1-3, 5-7, 17-19, 23-24, 27, 29, and 34. Ex. 1004 ¶¶195-200.

  To the extent that Patent-Owner argues that Tanner-Patent does not disclose an ion

  optical device upstream of the collision cell, Kishi discloses this limitation.

        A POSA would have been motivated to combine the teachings of Tanner-

  Patent and Kishi because both relate to improving the detection in ICP-MS. Id.

  Tanner-Patent teaches using a bandpass collision cell to remove interfering ions.




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  Id. Kishi teaches using ion optics and deflectors to reduce background gas

  components to improve detection in ICP-MS. Id.




        Kishi improves Tanner-Patent by teaching an evacuation chamber

  containing ion optics systems. Kishi teaches that “[t]he configuration of the ion

  lens system is one of the key design issues because it directly affects the ion

  transmission efficiency of an ICP-MS system.” Ex. 1034, 2; Ex. 1004 ¶¶199-200.

  Kishi discloses an ion optics system comprised of “Einzel” lenses and two

  “Omega” lenses in an evacuation chamber, as shown below. Ex. 1034, 2. The

  Einzel lenses are traditional electrostatic lenses, and the Omega lenses bend the

  path of the ions in the beam. Id. The Einzel lenses focus the ions in the beam

  while the neutral gas components get pumped away from the evacuated chamber.

  Id.



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        Kishi also improves Tanner-Patent by teaching a deflector lens system

  (omega lenses) that bends the path of the ions such that the detector can be

  mounted off the axis of the ion source. Kishi teaches “[an] optics system [that]

  contains two omega lenses, the omega+ and omega- lenses, which bend the ion

  beam, allowing the quadrupole and detector to be mounted off-axis.” Id., 2.

  Together, the two omega lenses comprise a double deflector, which

  electrostatically deflects the ion beam twice. Id. Specifically, the ions get

  deflected once as they pass through the first omega lens, and a second time as they

  pass through the second omega lens. Id. Consequently, the neutral gas

  components diverge from the path of the ions before the quadrupole mass analyzer.

  Id.; Ex. 1004 ¶¶199-200.

                     Tanner-Patent in combination with Kishi renders obvious
                     claims 8-13, 16, 21-22, 25-26, 28, 30-33

        Claim 8: Kishi discloses that “the mass spectrometer is configured to

  transmit ions of the ion beam through the ion optical device [Einzel lenses] along

  an axis [of the plasma ion source].” Ex. 1034, 2-3. As explained above, in view of

  Kishi, a POSA would have been motivated to improve Tanner-Patent’s instrument

  by adding ion optics and deflector lenses. Ex. 1004 ¶203.


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        Claim 9: Tanner-Patent discloses that “the mass spectrometer is configured

  such that neutral gas of the unwanted gas components diverges from the axis at the

  ion optical device” for the same reasons as Elements [1C.] and [23D.]. Id. ¶204.

        Claim 10: Kishi discloses that “the mass spectrometer is configured to

  deflect the ion beam off the axis upstream of the mass-to-charge analyzer” because

  in Kishi’s instrument, the ions are transmitted along a first axis of the ion source

  and then are deflected before the mass analyzer. Ex. 1034, 2-3. In view of Kishi, a

  POSA would have been motivated to improve Tanner-Patent’s instrument by

  adding deflector lenses upstream of the mass analyzer. Ex. 1004 ¶¶205-07.

        Claim 11: For the same reasons as claim 8, Kishi discloses that “the mass

  spectrometer is configured such that the ion beam extends along a path that

  includes a first portion in which ions are transmitted [through the Einzel lenses]

  along an axis [of the plasma ion source].” Ex. 1034, 2-3. For the same reasons as

  claim 10, Kishi discloses “a second portion in which the ion beam is deflected off

  the axis upstream of the mass-to-charge analyzer,” because in Kishi’s instrument,

  the ions are transmitted along a first axis of the ion source and then are deflected

  before the mass analyzer. Id. As explained above, in view of Kishi, a POSA



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  would have been motivated to improve Tanner-Patent’s instrument by adding ion

  optics and deflector lenses. Ex. 1004 ¶¶208-09.

        Claim 12: Kishi discloses “a deflector [omega lenses] to deflect the ion

  beam off the axis upstream of the mass-to-charge analyzer [quadrupole].” Ex.

  1034, 2-3. In view of Kishi, a POSA would have been motivated to improve

  Tanner-Patent’s instrument by adding deflector lenses upstream of the mass

  analyzer. Ex. 1004 ¶210.

        Claim 13: Kishi discloses “the deflector [omega lenses] comprises a double

  deflector” because the ions get deflected once as they pass through the first omega

  lens, and a second time as they pass through the second omega lens. Ex. 1034, 2-3.

  In view of Kishi, a POSA would have been motivated to improve Tanner-Patent’s

  instrument by adding a double deflector. Ex. 1004 ¶¶211-13.

        Claim 16: Kishi discloses “the mass spectrometer is configured to deflect

  the ion beam off the axis” before the mass analyzer. Ex. 1034. 2-3. In view of

  Kishi, a POSA would have been motivated to place Kishi’s deflector upstream or

  “downstream of the collision cell,” or both, in Tanner-Patent’s instrument. Ex.

  1004 ¶214.



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        Claim 21: Kishi discloses “an intermediate evacuation chamber [a vacuum

  chamber with a turbo pump] in which the ion optical device [Einzel and Omega

  lenses] is disposed.” Ex. 1034, 1-3. For the same reasons as claim 1, in view of

  Kishi, a POSA would have been motivated to improve Tanner-Patent’s instrument

  by adding an evacuation chamber containing ion optics systems. Ex. 1004 ¶215.

        Claim 22: Kishi discloses “a first pump [a turbo pump] for maintaining the

  intermediate evacuation chamber [the chamber containing the Einzel and Omega

  lenses] at a first vacuum pressure.” Ex. 1034, 1-3. And Tanner-Patent discloses in

  Figure 1 “a second pump [a high vacuum pump (30)] for maintaining the

  evacuation chamber [a second vacuum chamber (28)] at a second vacuum pressure

  lower than the first vacuum pressure.” Ex. 1036, 3:66-67, Figure 1.

        As explained in Section XI.B, the pressure requirements are merely modes

  of operating the vacuum pumps and do not add any further structural limitations to

  this apparatus claim. Ex. 1004 ¶¶216-19. To the extent that Patent-Owner argues

  that they are claim limitations, it was routine in the art as of 1998 to adjust the

  pressures in these evacuation chambers for optimal experiment conditions, e.g., to




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  maintain the pressure of one evacuation chamber to be higher or lower than that of

  the adjacent evacuation chamber. Id.

        Claim 25: Kishi discloses “reducing gas loading comprises transmitting

  ions of the ion beam through the transmission enhancing device [Einsel lenses]

  along a first axis [of the plasma ion source].” In view of Kishi, a POSA would

  have been motivated to improve Tanner-Patent’s instrument by deflecting the ions

  using Kishi’s deflector lenses onto a second axis of the mass analyzer. Ex. 1004

  ¶¶220-22.

        Claim 26: Tanner-Patent in view of Kishi discloses claim 26 for the same

  reasons as claims 9 and 18. Id. ¶223.

        Claim 28: Tanner-Patent in view of Kishi discloses claim 28 for the same

  reasons as claims 21 and 22. Id. ¶224.

        Claim 30: Kishi discloses that “the ion beam includes a portion in which

  ions are transmitted along an axis [of the plasma ion source].” Ex. 1034, 2-3.

  Kishi further discloses that “the method comprises deflecting [via the omega

  lenses] the ion beam off the axis upstream of the mass-to-charge analyzer

  [quadrupole].” Id. In view of Kishi, a POSA would have been motivated to place



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  Kishi’s deflector upstream of the mass analyzer in Tanner-Patent’s instrument. Ex.

  1004 ¶225.

        Claim 31: Kishi discloses “deflecting the ion beam includes

  electrostatically deflecting the ion beam [by setting omega+ lens (4V) and omega-

  lens (-5V)].” Ex. 1034, 2-3, Figure 3(a). In view of Kishi, a POSA would have

  been motivated to place Kishi’s deflector in Tanner-Patent’s instrument to

  electrostatically deflect the ion beam. Ex. 1004 ¶226-29.

        Claim 32: Tanner-Patent in view of Kishi discloses claim 32 for the same

  reasons as claim 13. Id. ¶230.

        Claim 33: Tanner-Patent in view of Kishi discloses claim 33 for the same

  reasons as claim 16. Id. ¶231.

        CONCLUSION
       Petitioner respectfully requests that this petition be granted, that inter partes

  review be instituted, and that all claims of the ’232 Patent be found unpatentable

  and cancelled.




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        CERTIFICATE OF WORD COUNT

       Pursuant to 37 C.F.R. § 42.24, the undersigned attorney for the Petitioner

  declares that the argument section of this Petition (Sections I, III-XII) has a total of

  13,090 words, according to the word count tool in Microsoft Word™.



  DATED: December 13, 2017                Respectfully Submitted,

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                           CERTIFICATE OF SERVICE

        The undersigned certifies service pursuant to 37 C.F.R. §§ 42.6(e) and

  42.105(a), (b) on the Patent-Owner via UPS overnight mail of a copy of this

  Petition for Inter Partes Review and supporting materials at the Patent-Owner at

  the correspondence address of record for the ’232 Patent:


   Thermo Finnigan LLC
   Legal Department
   355 River Oaks Parkway
   San Jose, CA 95134




  DATED: December 13, 2017              By: /Brian M. Buroker/
                                        (Reg. No. 39125)

                                        Attorney for Petitioner




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Patent Trial and Appeal Board
Statistics
3/31/2017
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6700 Total AIA Petitions*
     Cumulative from 09/16/2012




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                              7%                This pie chart shows the total number of cumulative AIA
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                                        1%      CBM, and PGR).

                                                *Data current as of: 3/31/2017
 Total IPR Petitions   Total CBM Petitions
 Total PGR Petitions




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           Number of AIA Petitions Filed by Fiscal Year by Type
                      IPR       CBM        PGR

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                                                                        and PGR).

                                                                        *Data current as of: 3/31/2017

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       FY 15                  FY 16                    FY 17*




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               Number of IPR Petitions Filed by Month*                                                                                                       Number of CBM Petitions Filed by Month*
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      Narrative:
      These line graphs display the number of IPR, CBM, and PGR petitions filed each month and the
      total number of all petitions filed each month for the last 2 years.

      *Data current as of: 3/31/2017
                                                                                                                                                                                                                                                           4
               Case 1:17-cv-00600-LPS-CJB Document 19-1 Filed 12/15/17 Page 353 of 363 PageID #:
                                                    694
                                                               1683 Total AIA Petitions in FY 16*
        1044 Total AIA Petitions in FY 17*                         (Technology Breakdown)

            (Technology Breakdown)                                             405           115
                                                                               24%           7%

                                                                                           212
                                                                                           13%
                              219                  67                                               16   Narrative:
                                                                          935                       1%
                              21%                  7%                     55%
                                                                                                         This pie chart shows the
                                                                                                         total number of AIA
                                                                                                         petitions filed in the current
                                              116                                                        fiscal year to date as well as
                                              11%                                                        the number and percentage
                                                                                                         of these petitions broken
                                                      13       1897 Total AIA Petitions in FY 15*
                                                                                                         down by technology.
                                                                  (Technology Breakdown)
                    629                               1%
                    60%                                                              443
                                                                                     23%         90
                                                                                                 5%

                                                                                           167
                                                                                           9%
                                                                                                     4
                                                                       1,193
            Electrical/Computer - TCs 2100, 2400, 2600, 2800            63%
                                                                                                    0%

            Mechanical/Business Method - TCs 3600, 3700
            Chemical - TC 1700
            Bio/Pharma - TC 1600
            Design - TC 2900




*Data current as of: 3/31/2017
                                                                                                                      5
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                                           695
   IPR - Number of Patent Owner                     CBM - Number of Patent Owner
Preliminary Responses by Fiscal Year              Preliminary Responses by Fiscal Year

                                                        12
    223           239
                                                                       11
                              134
                                                       154
   1,326         1,238                                                                0
                                                                       94
                              661
                                                                                      21

  FY 15          FY 16      FY 17*                    FY 15          FY 16         FY 17*

      Filed      Waived/Not Filed                        Filed      Waived/Not Filed

  PGR - Number of Patent Owner
Preliminary Responses by Fiscal Year           Narrative:
                                               These three sets of bar graphs show the number of
                   1                           patent owner preliminary responses filed and
                                               waived/not filed each fiscal year in IPR, CBM, and PGR
                              2
                                               proceedings.
                   19
     1                        11
     6


   FY 15         FY 16     FY 17*              *Data current as of: 3/31/2017

         Filed   Waived/Not Filed
                                                                                                    6
                      Case 1:17-cv-00600-LPS-CJB Document 19-1 Filed 12/15/17 Page 355 of 363 PageID #:
                                                           696
               Percent of Petitions Instituted, by Technology

                                                                                                             Narrative:
Mechanical/Business Methods (876 of 1221 petitions)                        72%                               This chart shows the percentage
                                                                                                             of petitions instituted of all
                                                                                                             decisions on petition, by
                                                                                                             technology area.
        Electrical/Computer (1988 of 2820 petitions)                       70%




                          Design (14 of 33 petitions)              42%




                     Chemical (218 of 321 petitions)                      68%

                                                                                                             *Data current as of: 3/31/2017


        Biotechnology/Pharma (286 of 456 petitions)                      63%



                                                        0%   10%   20%   30%   40%   50%   60%   70%   80%

                                                                                                                                     7
             Case 1:17-cv-00600-LPS-CJB Document 19-1 Filed 12/15/17 Page 356 of 363 PageID #:
                                                  697
 IPR - Number of Decisions On Institution Per Fiscal            CBM - Number of Decisions On Institution Per Fiscal
                 Year by Outcome                                               Year by Outcome
 116                  77

                                                                   10

                                          58                                           6
 801                  871                                          91
                                                    242                      43                  45        0         16
           426                  444                                                   51
                                         416                                                              11
                                                                 FY 15               FY 16              FY 17*
FY 15                FY 16              FY 17*

        Instituted           Joinders          Denials                  Instituted           Joinders            Denials

PGR - Number of Decisions On Institution Per Fiscal
               Year by Outcome                            Narrative:
                                                          These three sets of bar graphs show the number of decisions
                       0
                                                          on institution by fiscal year broken out by trials instituted
                                                          (including joinders) and trials denied in IPR, CBM, and PGR
                                                    8     proceedings. A trial that is instituted in part is counted as an
                                           0              institution in these bar graphs.
                      11         7
   0
   3                                      5
            0
                                                          *Data current as of: 3/31/2017
FY 15                FY 16              FY 17*

        Instituted           Joinders          Denials
                                                                                                                           8
           Case 1:17-cv-00600-LPS-CJB Document 19-1 Filed 12/15/17 Page 357 of 363 PageID #:
                                                698
           IPR - Settlements                                                 CBM - Settlements
275
                    229                                                      32
         189                 184
                                          129
                                                   98               14                  13       13
                                                                                                               9        8



   FY 15              FY 16                FY 17*                    FY 15               FY 16                  FY 17*
Settled Before Institution        Settled After Institution        Settled Before Institution         Settled After Institution



         PGR - Settlements                                    Narrative:
                                                              These three sets of bar graphs show settlements in AIA
  2                                        2        2         trials broken down by settlements that occurred prior to
                                                              institution and settlements that occurred after institution
                                                              in IPR, CBM, and PGR proceedings.
                              1



           0         0
                                                              *Data current as of: 3/31/2017
   FY 15              FY 16                FY 17*
Settled Before Institution        Settled After Institution
                                                                                                                                  9
                  Case 1:17-cv-00600-LPS-CJB Document 19-1 Filed 12/15/17 Page 358 of 363 PageID #:
                                                       699
Disposition of IPR Petitions Completed to Date*
                                             4563
                                             Total
                                            Petitions
                                                                                                                                      Narrative:
                                                                                                                                      This graph shows a stepping stone
                2157                                                          2406                                                    visual depicting the outcomes for
              Trials Not                                                      Trials                                                  all IPR petitions filed to-date that
              Instituted                                                    Instituted
                                                                                                                                      have reached a final disposition.




                            840                             829                             1577
   1317                   Terminated                      Terminated                     Trials Completed
  Petitions            Before Institution               After Institution                 (Reached Final
                           Decision:                       Decision:                     Written Decision)
   Denied                 759 Settled                     593 Settled
                         54 Dismissed                    25 Dismissed
                        27 Request for                  211 Request for
                            Adverse                         Adverse
                          Judgement                       Judgement




                                                        1029 Trials                   248 Trials               300 Trials
                                                                                      Some Instituted
                                                     All Instituted Claims                                   No Instituted Claims
                                                                                    Claims Unpatentable
                                                    Unpatentable (23% of                                     Unpatentable (7% of
                                                                                   (5% of Total Petitions,
                                                     Total Petitions, 43%                                    Total Petitions, 12%
                                                                                        10% of Trials
                                                      of Trials Instituted,                                   of Trials Instituted,
                                                                                     Instituted, 16% of
                                                    65% of Final Written                                     19% of Final Written
                                                                                        Final Written
                                                           Decisions)                                             Decisions)
                                                                                         Decisions)

*Data current as of: 3/31/2017
                                                                                                                                                                 10
                  Case 1:17-cv-00600-LPS-CJB Document 19-1 Filed 12/15/17 Page 359 of 363 PageID #:
                                                       700
Disposition of CBM Petitions Completed to Date*
                                              446
                                             Total
                                            Petitions
                                                                                                                                     Narrative:
                 203                                                           243                                                   This graph shows a stepping stone
              Trials Not                                                      Trials                                                 visual depicting the outcomes for
              Instituted                                                    Instituted                                               all CBM petitions filed to-date that
                                                                                                                                     have reached a final disposition.



                             66                              81                              162
    137                   Terminated                      Terminated                     Trials Completed
  Petitions            Before Institution               After Institution                 (Reached Final
                           Decision:                       Decision:                     Written Decision)
   Denied                  60 Settled                      59 Settled
                          6 Dismissed                    9 Dismissed
                         0 Request for                  13 Request for
                            Adverse                         Adverse
                          Judgement                       Judgement




                                                        132 Trials                    24 Trials                  6 Trials
                                                                                     Some Instituted
                                                     All Instituted Claims                                   No Instituted Claims
                                                                                   Claims Unpatentable
                                                    Unpatentable (30% of                                     Unpatentable 1% of
                                                                                  (5% of Total Petitions,
                                                     Total Petitions, 54%                                    Total Petitions 2% of
                                                                                       10% of Trials
                                                      of Trials Instituted,                                  Trials Instituted, 4%
                                                                                    Instituted, 15% of
                                                    81% of Final Written                                       of Final Written
                                                                                       Final Written
                                                           Decisions)                                              Decisions)
                                                                                        Decisions)

*Data current as of: 3/31/2017
                                                                                                                                                                11
                    Case 1:17-cv-00600-LPS-CJB Document 19-1 Filed 12/15/17 Page 360 of 363 PageID #:
                                                         701
                                                                                                    Narrative:
                  IPR Petitions Terminated to Date*                                                 This visual contains four cylinders. The
                                                                                                    first cylinder shows the total number of
                                            5172 Claims Found Patentable by PTAB in Final Written
                                            Decision                                                claims available to be challenged in the
t1                                          8243 Claims Remaining Patentable (Not Subject to
                                                                                                    IPR petitions filed. The second cylinder
                                                                                                    shows the number of claims actually
                                            Final Written Decision)                                 challenged and not challenged. The third
                                            2674 Claims Cancelled or Disclaimed by Patent Owner     cylinder shows the number of claims on
                                                                                                    which trial was instituted and not
                                                                                                    instituted. The fourth cylinder shows the
                                            37283 Claims Challenged but Not Instituted              total number claims found unpatentable
                                                                                                    in a final written decision, the number of
                                            86036 Claims Not Challenged                             claims canceled or disclaimed by patent
                                                                                                    owner after institution, the number of
                                                                                                    claims remaining patentable (not subject
         156096                                                                                     to a final written decision), and the
                                                                                                    number of claims found patentable by
                                                                                                    the PTAB.

                                                                                                    Note: “Completed” petitions include
                              70060                                                                 terminations (before or after a decision
                                                                                                    on institution) due to settlement, request
                                                                                                    for adverse judgment, or dismissal; final
                                               32777                                                written decisions; and decisions denying
                                                                            16688                   institution.

     Total Number of                                                   Claims Found                 *Data current as of: 3/31/2017
     Claims Available to                                               Unpatentable
                            Claims          Claims
     be Challenged                                                     by PTAB in
                            Challenged      Instituted                 Final Written
     within 4563
     Petitions                                                         Decision

                                                                                                                                  12
             Case 1:17-cv-00600-LPS-CJB Document 19-1 Filed 12/15/17 Page 361 of 363 PageID #:
                                                  702
                                                                                               Narrative:
          CBM Petitions Terminated to Date*                                                    This visual contains four cylinders. The
                                      190 Claims Found Patentable by PTAB in Final Written     first cylinder shows the total number of
                                      Decision                                                 claims available to be challenged in the
                                                                                               CBM petitions filed. The second cylinder
                                      1164 Claims Remaining Patentable (Not Subject to Final
                                      Written Decision)                                        shows the number of claims actually
                                                                                               challenged and not challenged. The third
                                      302 Claims Cancelled or Disclaimed by Patent Owner       cylinder shows the number of claims on
                                                                                               which trial was instituted and not
                                      4749 Claims Challenged but Not Instituted                instituted. The fourth cylinder shows the
                                                                                               total number claims found unpatentable
                                      7236 Claims Not Challenged                               in a final written decision, the number of
                                                                                               claims canceled or disclaimed by patent
                                                                                               owner after institution, the number of
                                                                                               claims remaining patentable (not subject
    15998                                                                                      to a final written decision), and the
                                                                                               number of claims found patentable by
                                                                                               the PTAB.
                         8762
                                                                                               Note: “Completed” petitions include
                                                                                               terminations (before or after a decision
                                                                                               on institution) due to settlement, request
                                         4013                                                  for adverse judgment, or dismissal; final
                                                                                               written decisions; and decisions denying
                                                                       2357                    institution.

Total Number of                                                 Claims Found                   *Data current as of: 3/31/2017
Claims Available to                                             Unpatentable
                      Claims          Claims
be Challenged                                                   by PTAB in Final
                      Challenged      Instituted                Written
within 446
Petitions                                                       Decision

                                                                                                                            13
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                                     703

            Trial Outcomes for Instituted
                Claims, by Technology                                        Narrative:
                                                                             This chart shows claim outcomes
   Mechanical/Business Methods                                               for instituted trials, by technology
                                        47%          9% 10%
         (10422 claims)                                                      area.
     Electrical/Computer (21084
                                         55%             8% 14%
                claims)

                                                                   0%        Note: Claims involved in instituted
              Design (7 claims)                    86%              14%
                                                                             trials that settle or are dismissed are
                                                                             not depicted. Accordingly, a bar
                                                                             may not add up to 100%.
         Chemical (2509 claims)              62%          6% 13%


    Biotechnology/Pharma (2768
                                       36%     7%        39%
              claims)

                                  0%   20%     40%       60%   80%    100%

          Claims Found Unpatentable by PTAB in Final Written Decision        *Data current as of: 3/31/2017
          Claims Cancelled or Disclaimed by Patent Owner
          Claims Found Patentable by PTAB in Final Written Decision



         * Includes IPR and CBM trial outcomes

                                                                                                            14
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                                     704
